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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 JOHN A. CHARRON,                        )
                                         )
              Plaintiff,                 )
                                         )
       v.                                )     2:18-cv-00105-JAW
                                         )
 COUNTY OF YORK et al.,                  )
                                         )
              Defendants.                )

               ORDER ON MOTION FOR SUMMARY JUDGMENT

       A person, arrested, charged, indicted, and later vindicated, brings a lawsuit

 against the county, the arresting deputy, other deputies involved in the investigation,

 the sheriff who publicized the arrest and supervised the sheriff’s office, and a court

 officer. Regarding his federal claims, the Court grants the defendants’ motion for

 summary judgment because, even after viewing contested facts in the light most

 favorable to him, the Court is unable to conclude that the defendants committed a

 constitutional violation against him and, in any event, the defendants are entitled to

 qualified immunity.       Regarding his state law tort claims, the Court similarly

 concludes that he has failed to show that the defendants committed any of the alleged

 state torts against him and, in any event, the defendants are entitled to discretionary

 function immunity under state law.

 I.    PROCEDURAL HISTORY

       On March 8, 2018, John Charron filed a complaint in this Court, bringing a

 civil rights action against York County, Deputy Sheriff Rachel Horning, Deputy
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 Sheriff Darren Cyr, Deputy Sheriff Heath Mains, Sergeant Steven Thistlewood, 1

 York County Sheriff William King, Jr., and Court Officer Wilfred Vachon (County

 Defendants), as well as Christopher Moss and Eric Pilvelait. Compl. at 1 (ECF No.

 1). On June 18, 2018, the County Defendants filed an answer. Answer, Affirmative

 Defenses and Jury Trial Demand (Defs. County of York, William L. King, Jr., Rachel

 Horning, Darren Cyr, Heath Mains, Steven Thistlewood and Bill Vachon) (ECF No.

 14).

         On July 27, 2018, Mr. Charron filed motions for entry of default and default

 judgment against Christopher Moss and Mr. Pilvelait. Pl.’s Appl. to Clerk for Default

 Against Non-County Defs. Christopher Moss and Eric J. Pilvelait (ECF No. 18); Pl.’s

 Verified Mot. for Default J. Against Non-County Defs. Christopher Moss and Eric J.

 Pilvelait (ECF No. 19). The Deputy Clerk of Court granted the Motion for Entry of

 Default on July 30, 2018, Order Granting Mot. for Entry of Default (ECF No. 20), and

 the Court dismissed the Motion for Default Judgment without prejudice on October

 22, 2018, Order (ECF No. 27), because Mr. Charron requested a damages

 determination by the jury at trial. Pl.’s Mot. for Jury Determination of Damages

 Against Defaulted Defs. (ECF No. 24); Order (ECF No. 25).

         After the parties engaged in discovery, the discovery period closed on April 5,

 2019. Order Granting Without Obj. Mot. to Extend Time (ECF No. 51). On April 10,

 2019, the County Defendants filed a notice of intent to file a motion for summary



 1        Mr. Charron refers to Deputy Horning, Deputy Cyr, Deputy Mains, and Sergeant Thistlewood
 as “the four deputies.” See, e.g., Pl.’s Mem. of Law in Opp’n to Summ. J. for the County Defs. at 1 (ECF
 No. 87) (Pl.’s Opp’n).

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 judgment and need for a pre-filing conference per District of Maine Local Rule 56(h).

 County Defs.’ Notice of Intent to File Mot. for Summ. J. (ECF No. 53). The Court held

 a conference and set a Local Rule 56(h) schedule on May 16, 2019. Min. Entry (ECF

 No. 56). On June 20, 2019, the parties jointly filed a stipulated record. Local Rule

 56(h) Joint Stipulated R. (ECF No. 59) (JSR).

        On July 25, 2019, the County Defendants filed a statement of material facts.

 County Defs.’ Statement of Material Facts in Supp. of Mot. for Summ. J. (ECF No. 69)

 (DSMF). On the same day, the County Defendants filed a motion for summary

 judgment. County Defs.’ Mot. for Summ. J. (ECF No. 68) (Defs.’ Mot.). On October

 15, 2019, Mr. Charron filed a response to the County Defendants’ Motion for

 Summary Judgment as well as a response to their statement of material facts, which

 included a statement of additional material facts.                 Pl.’s Opp’n; Pl.’s Opposing

 Statement of Material Facts Including Additional Material Facts Precluding Summ.

 J. for the County Defs. (ECF No. 86) (for paragraphs 1-93, PRDSMF; for paragraphs

 94-199, PSAMF). 2 On December 3, 2019, the County Defendants filed a reply to Mr.


 2       On September 30, 2019, Mr. Charron filed an initial response to the County Defendants’
 statement of material facts. Pl.’s Opposing Statement of Material Facts Including Additional Material
 Facts Precluding Summ. J. for the County Defs. (ECF No. 80). Also on September 30, 2019, Mr.
 Charron filed an unopposed motion to extend his time to file his memorandum of law in response to
 the County Defendants’ Motion for Summary Judgment. Unopposed Verified Mot. by Pl. to Extend
 Time to File Opp’n to Defs.’ Mot. for Summ. J. (ECF No. 81). The Court granted this motion on October
 2, 2019. Order Granting Mot. to Extend Time (ECF No. 82). On October 7, 2019, Mr. Charron filed an
 unopposed motion for a further extension of his time to file his memorandum of law. Unopposed
 Verified Mot. by Pl. to Extend Time to File Opp’n to Defs.’ Mot. for Summ. J. (ECF No. 83). The Court
 granted this additional extension on October 8, 2019. Order Granting Mot. to Extend Time (ECF No.
 84). Mr. Charron did not move to continue his time to file a responsive statement of facts and
 additional facts.
         Then, on October 15, 2019, when Mr. Charron filed his responsive memorandum of law, he
 also filed—without motion—a second responsive statement of facts, PRDSMF ¶¶ 1-93, and an
 additional statement of facts. PSAMF ¶¶ 94-199. He stated in his memorandum of law that this
 document superseded his September 30, 2019, filing. Pl.’s Opp’n at 2 n.1. Mr. Charron should have

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 Charron’s response to their statement of material facts and Mr. Charron’s statement

 of additional material facts as well as a reply to Mr. Charron’s opposition to their

 motion for summary judgment. Consolidated Statements of Material Facts Including

 County Defs.’ Resp. to Pl.’s Additional Material Facts (ECF No. 93) (DRPSAMF);

 County Defs.’ Reply Mem. of Law in Supp. of Mot. for Summ. J. (ECF No. 92) (Defs.’

 Reply).

         On December 17, 2019, Mr. Charron filed a motion to extend the time for him

 to file his response to the County Defendants’ reply to Mr. Charron’s response to their

 statement of material facts and Mr. Charron’s statement of additional material facts

 pursuant to District of Maine Local Rule 56(e). Unopposed Verified Mot. by Pl. to

 Extend Time for Local Rule 56(e) Resp. to Defs.’ Reply Statement of Material Facts

 (ECF No. 94). The Court granted this motion on December 18, 2019. Order Granting

 Mot. to Extend Time (ECF No. 95). On January 2, 2020, Mr. Charron filed his

 response.     Pl.’s Resp. to Defs.’ Reply Statement of Material Facts (ECF No. 96)

 (PRDRPSAMF). 3




 filed a motion for leave to file the late responsive statement of facts and additional statement of facts
 and then simply filed the late document with the Court. Nevertheless, as the County Defendants
 responded to the October 15, 2019, filing, the Court sua sponte grants Mr. Charron’s presumed motion
 for late filing of the superseding responsive statement of facts and statement of additional facts.
 3        Local Rule 56(e) provides that if there is a request to strike a party’s statement of fact, the
 party may respond “in the reply statement of material facts as provided in this rule or, if the request
 was made in a reply statement of material facts, by filing a response within 14 days.” D. ME. LOC. R.
 56(e). It adds that the response “shall be strictly limited to a brief statement of the reason(s) why the
 statement of fact should be considered and the authority or record citation in support.” Id. Mr.
 Charron’s responses extend beyond the limitations of this rule in two ways. First, while most of the
 responses are to requests to strike, he also responds to some qualifications and denials that do not
 contain requests to strike. Second, many of his responses are far from brief. Nonetheless, since the
 County Defendants have not objected to any of Mr. Charron’s responses, the Court considered them.

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 II.     FACTUAL BACKGROUND 4

         A.      Initial 911 Call from Ryan Lemay

         On March 8, 2016, 5 at approximately 10:30 p.m., Ryan Lemay heard squealing

 tires and people yelling hostilities at his neighbor, John Charron. PSAMF ¶ 94;

 DRPSAMF ¶ 94. Mr. Lemay observed a dark vehicle and its occupants pull into Mr.

 Charron’s driveway, yell threats, peel out, come back, yell more threats, and peel out

 again. PSAMF ¶ 95; DRPSAMF ¶ 95. Mr. Lemay did not hear any threats from Mr.

 Charron. PSAMF ¶ 95; DRPSAMF ¶ 95. Mr. Lemay called the police emergency line

 (911) at 10:31 p.m. to report what he saw, providing his phone number and identifying

 the location of his observation as “the second house on the right” on Langley Shores

 Drive, 6 which is Mr. Charron’s residence. 7                  PSAMF ¶ 96; DRPSAMF ¶ 96;


 4        The Court states the facts “in the light most hospitable to [Mr. Charron], consistent with record
 support . . ..” Mancini v. City of Providence ex rel. Lombardi, 909 F.3d 32, 37 (1st Cir. 2018) (citing
 Ahern v. Shinseki, 629 F.3d 49, 51 (1st Cir. 2010); Gillen v. Fallon Ambulance Serv., Inc., 283 F.3d 11,
 17 (1st Cir. 2002)).
 5        All events in this case took place in 2016 unless otherwise specified.
 6        The parties sometimes refer to this road as Langley Shore Drive, not Langley Shores Drive.
 Based on the record, the Court believes that Langley Shores Drive is correct and has referred to the
 road throughout as Langley Shores Drive.
 7        The County Defendants qualify paragraph ninety-six of Mr. Charron’s statement of additional
 material facts because “[t]he cited affidavit testimony does not contain the substance of the assertions
 in this paragraph” and request that the Court strike or disregard the substance of the assertions in
 this paragraph in accordance with Local Rule 56(e) and (f). DRPSAMF ¶ 96. Mr. Charron responds,
 in accordance with Local Rule 56(e), by providing a clearer record citation to the audio file and
 transcript that provide the information contained in the paragraph. PRDRPSAMF ¶ 96. The Court
 reviewed the cited portions of the record and finds that, while paragraph ninety-six did not contain a
 record citation to the fact Mr. Lemay was the 911 caller, Mr. Charron’s response to the County
 Defendants’ qualification does provide a record citation for this information. PRDRPSAMF ¶ 96; see
 Pl.’s Suppl. Summ J. R. Items, Attach. 1, Aff. of Ryan Lemay ¶ 6 (ECF No. 74) (Aff. of Lemay); Letter
 from Gregory McCullough to Nick Gordon, Clerk, Attach. 6 (ECF No. 63) (JSR Ex. 38). The Court
 declines to accept the County Defendants’ qualified response on this basis.
          The County Defendants also argue that the Court should strike or disregard the assertions in
 Mr. Charron’s additional paragraph ninety-six as inadmissible hearsay to the extent that they offer
 out of court statements for the truth of the matter asserted. DRPSAMF ¶ 96. Mr. Charron responds
 by arguing that “[Mr.] Lemay’s statements to the 911 dispatcher as contained in the 911 call audio
 and transcript are adopted by, and incorporated into, paragraph 6 of [Mr.] Lemay’s affidavit” and
 “[t]his is all that is required for summary judgment purposes.” PRDRPSAMF ¶ 96 (citing FED. R. CIV.

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 PRDRPSAMF ¶ 96. The 911 operator informed Mr. Lemay that the police “ha[d] got

 a deputy started that way.” 8 PSAMF ¶ 97; DRPSAMF ¶ 97.

         Deputy Horning was on duty as a patrol deputy for the York County Sheriff’s

 Office on the evening of March 8 and the early morning hours of March 9. DSMF ¶ 1;

 PRDSMF ¶ 1. Deputy Horning’s patrol area that evening included the municipalities

 of Acton and Shapleigh, Maine, and she was the only patrol deputy assigned to that

 specific patrol area at that time. 9 DSMF ¶¶ 2-3, 72; PRDSMF ¶ 2-3, 72.

         At approximately 10:31 p.m. on March 8, Deputy Horning received a report

 from the Sanford Regional Communications Center (SRCC) that an unidentified

 caller complained of cars peeling out their tires, yelling, and threats being made on



 P. 56(c)(4)). He further argues that “even without his affidavit, [Mr.] Lemay’s statements to the 911
 call operator are admissible as present sense impressions and excited utterances. PRDRPSAMF ¶ 96.
          The facts in Mr. Lemay’s statement are admissible on a number of bases. First, the facts are
 within Mr. Lemay’s own personal knowledge and he would be able to testify to them at trial. Second,
 his statements might be admissible as present sense impressions or excited utterances; however, as
 this is not a trial, the record is not sufficiently developed to make a final ruling on those exceptions.
 Viewing the evidence in the light most favorable to Mr. Charron, the Court concludes that for purposes
 of this record, the statements are admissible for their truth under both hearsay exceptions. See FED.
 R. EVID. 803(1), 803(2). Third, to the extent the County Defendants are challenging Mr. Lemay’s
 credibility (and it is not clear that they are, hence it is not clear why they are objecting), the statements
 are admissible to rebut an implied charge of recent fabrication. See FED. R. EVID. 801(d)(1)(B)(i). The
 Court overrules the County Defendants’ evidentiary objection to the statements Mr. Lemay made to
 the dispatcher. See Aff. of Lemay ¶ 6.
 8        The County Defendants qualify Mr. Charron’s additional paragraph ninety-seven, asserting
 that it offers out of court statements for the truth of the matter asserted and the Court should strike
 or disregard it as inadmissible hearsay. DRPSAMF ¶ 97. Mr. Charron responds that the 911
 operator’s statement “is admissible as a present sense impression and as a statement of the
 dispatcher’s then existing state of mind, plan, or intent,” in accordance with Federal Rule of Evidence
 803(1) and (3). PRDRPSAMF ¶ 97. The Court overrules the County Defendants’ objection because it
 does not admit the statement for its truth but only to provide context for what happened next, namely
 that law enforcement proceeded to Langley Shores Drive.
 9        Mr. Charron qualifies paragraph three of the County Defendants’ statement of material facts
 by pointing out that the four deputies “all met at the scene and went together to arrest Mr. Charron.”
 PRDSMF ¶ 3. Although Mr. Charron is correct that all four deputies met at the scene of Mr. Charron’s
 plow truck, JSR, Attach. 6, Dep. of Steven Thistlewood at 12:23-13:1 (Dep. of Thistlewood), this fact
 does not negate the fact that Deputy Horning was the only deputy assigned to the specific patrol area
 containing Acton and Shapleigh. The Court declines to qualify the paragraph but added the word
 “specific” for clarity.

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 Langley Shores Drive in Acton. 10 DSMF ¶ 5; PRDSMF ¶ 5. Deputy Horning and

 Deputy Cyr, who was also on duty as a patrol deputy, responded to this dispatch call

 at 10:32 p.m. and 10:33 p.m., respectively. DSMF ¶ 71; PRDSMF ¶ 71; PSAMF ¶ 98;

 DRPSAMF ¶ 98. Deputy Cyr provided backup to Deputy Horning with regard to this

 dispatch call. DSMF ¶ 73; PRDSMF ¶ 73.

         B.      The Langley Shores Drive Collision and Aftermath

         Before Deputies Horning and Cyr arrived, the dark vehicle which Mr. Lemay

 observed turned left out of Mr. Charron’s driveway and sped up Langley Shores Drive

 toward Buzzell Road. PSAMF ¶ 99; DRPSAMF ¶ 99. Mr. Charron tried to follow the

 vehicle to see who was in it, where it went, and whether its occupants were terrorizing

 anyone else, but the vehicle was out of sight. PSAMF ¶ 100; DRPSAMF ¶ 100. When

 Mr. Charron got to where Langley Shores Drive starts, at its intersection with Buzzell

 Road, he turned around to return to his residence. PSAMF ¶ 100; DRPSAMF ¶ 100.

 As he was driving down Langley Shores Drive back to his residence, Mr. Charron

 noticed the same vehicle coming at a high rate of speed behind him. PSAMF ¶ 101;

 DRPSAMF ¶ 101. He pulled over to get out of the way, but the vehicle rear-ended




 10       Mr. Charron qualifies the County Defendants’ paragraph five by stating that “[t]he call about
 peeling tires on Langley Shore[s] Drive came at 10:31 PM.” PRDSMF ¶ 5. The Court reviewed the
 cited portions of the record and finds that the dispatch log for this call aligns with Mr. Charron’s
 response. See Pl.’s Suppl. Summ J. R. Items, Attach. 4, Aff. of Gregory McCullough at 11 (ECF No.
 74) (Aff. of McCullough). The Court altered the paragraph accordingly.
          Mr. Charron’s further qualification of this statement is argument outside the scope of the facts
 asserted in the statement, PRDSMF ¶ 5, and the Court disregards it as violative of District of Maine
 Local Rule 56(c). See Michaud, 2017 WL 902133, at *1 n.1 (noting that “qualifications” that exceed
 the scope of the original statement are appropriately presented as additional facts rather than
 qualifications).

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 him in front of the home of Mr. Charron’s neighbor, John LeBlanc, the first house on

 the right on Langley Shores Drive. PSAMF ¶ 101; DRPSAMF ¶ 101.

         The hood of the vehicle, which Mr. Charron identified as the Pontiac Sunfire

 occupied by Eric Pilvelait and Christopher Moss, slid under the rear bumper of Mr.

 Charron’s truck; the Sunfire’s broken windshield was consistent with Mr. Charron’s

 memory of the accident and with the Sunfire’s front end striking his truck’s rear

 bumper. 11 PSAMF ¶ 102; DRPSAMF ¶ 102; PRDRPSAMF ¶ 102. Mr. Charron tried



 11       The County Defendants deny Mr. Charron’s additional paragraph one hundred and two and
 request that the Court strike or disregard it because Mr. Charron “testified at his deposition that he
 never got out of his vehicle while the two vehicles were connected and he did not observe how the
 vehicles were connected.” DRPSAMF ¶ 102 (citing Tropigas De P.R. v. Certain Underwriters at Lloyd's
 of London, 637 F.3d 53, 56 (1st Cir. 2011)). They add that Mr. Charron “is not permitted to undermine
 his clear deposition testimony with contradictory information in an affidavit submitted in support of
 an opposition to summary judgment.” DRPSAMF ¶ 102 (citing Colantuoni v. Alfred Calcagni & Sons,
 Inc., 44 F.3d 1, 4-5 (1st Cir. 1994)). Mr. Charron responds that his deposition testimony is consistent
 with his affidavit for various reasons. PRDRPSAMF ¶ 102.
          The County Defendants’ objection is frivolous. The driver of a pickup that is rear-ended by a
 compact car with a low hood like a Pontiac Sunfire in the way Mr. Charron describes, sliding under
 the rear of the pickup and getting stuck under the bumper of the pickup so that the pickup cannot
 disengage from the motor vehicle without rocking back and forth, does not have to get out and inspect
 the scene to know what happened. Although Mr. Charron might not have personal knowledge that
 the windshield of the Sunfire was broken by the accident, he may testify that the broken windshield
 on the Sunfire is consistent with his personal knowledge of the accident. The Court slightly amended
 Mr. Charron’s additional paragraph one hundred and two to respond to the County Defendants’
 objection.
          It is true that “[w]hen an interested witness has given clear answers to unambiguous
 questions, he cannot create a conflict and resist summary judgment with an affidavit that is clearly
 contradictory, but does not give a satisfactory explanation of why the testimony is changed.”
 Colantuoni, 44 F.3d at 4-5. However, the Court agrees with Mr. Charron and does not regard the
 discrepancy here as contradictory. In his deposition testimony, Mr. Charron said that he “never got
 out” of his truck directly after the collision, but he does not give a clear answer to whether he saw “how
 the two cars were connected,” JSR, Attach. 1, Dep. of John Charron at 60:1-3 (Dep. of Charron), and
 other statements in his deposition suggest that he could see how the cars were connected through his
 back window. Id. at 59:8-10, 23-25 (showing that Mr. Charron stated that he could see Christopher
 Moss coming towards his truck because he “do[es] have a window and [he] turned around and looked”
 and that he didn’t “want to drag [the Sunfire] all the way down the road hooked onto [his] bumper”).
          It is also true that “the court “afford[s] no evidentiary weight to conclusory allegations, empty
 rhetoric, unsupported speculation, or evidence which, in the aggregate, is less than significantly
 probative.” Tropigas de P.R., 637 F.3d at 56. However, the Court finds enough evidence to support
 the fact that Mr. Charron could see how the two vehicles were connected and the impact the collision
 had on the Sunfire. See Dep. of Charron at 59:8-10, 23-25. On a motion for summary judgment, taking
 all reasonable inferences in favor of the non-movant, it is clear that the affidavit controls. See Gillen,

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 to leave but his truck was stuck to the Sunfire. PSAMF ¶ 103; DRPSAMF ¶ 103. He

 had to rock his truck back and forth, in forward and reverse, to get free. PSAMF

 ¶ 103; DRPSAMF ¶ 103. While Mr. Charron was doing this, Christopher Moss exited

 the passenger side of the Sunfire and tried to attack him, but Mr. Charron got loose

 and drove away before Christopher Moss could reach him. 12                        PSAMF ¶ 104;

 DRPSAMF ¶ 104; PRDRPSAMF ¶ 104. Mr. Charron could see that Mr. Pilvelait was

 the driver of the Sunfire. PSAMF ¶ 104; DRPSAMF ¶ 104.

        Mr. Charron drove back to his residence and turned right into his driveway.

 PSAMF ¶ 105; DRPSAMF ¶ 105. As he was exiting his truck, he heard the Sunfire

 race past his driveway down to the end of Langley Shores Drive, where he could hear

 it peeling out and see its headlights through the trees. PSAMF ¶ 105; DRPSAMF


 283 F.3d at 26 (noting that “[a] subsequent affidavit that merely explains, or amplifies upon, opaque
 testimony given in a previous deposition is entitled to consideration in opposition to a motion for
 summary judgment”).
 12       The County Defendants qualify the portion of Mr. Charron’s additional paragraph one hundred
 and four that states that Christopher Moss “tried to attack” Mr. Charron, PSAMF ¶ 104, and request
 that the court strike or disregard it as speculation because Mr. Charron “has no personal knowledge
 as to what [Christopher] Moss may have intended in exiting the vehicle” and he testified at his
 deposition that “he saw Christopher Moss get out of the other vehicle while the two vehicles were
 connected but he did not suggest that [Christopher] Moss tried to attack him at that time.” DRPSAMF
 ¶ 104 (citing Tropigas de P.R., 637 F.3d at 56). They add that Mr. Charron “is not permitted to
 undermine his clear deposition testimony with contradictory information in an affidavit submitted in
 support of an opposition to summary judgment.” DRPSAMF ¶ 104 (citing Colantuoni, 44 F.3d at 4-5).
 Mr. Charron responds that his deposition testimony is “consistent with [his] affidavit testimony” for
 various reasons, including that “[o]pposing counsel never asked [Mr.] Charron to explain why he
 testified that [Christopher] Moss ‘jumped out’ of the Sunfire or how [Christopher] Moss appeared when
 he did so.” PRDRPSAMF ¶ 104.
          The Court is not impressed with the County Defendants’ first objection, that Mr. Charron may
 not testify that Christopher Moss was trying to attack him because he does not know what was in
 Christopher Moss’ mind at the time. A person knows of his own personal knowledge whether someone
 else is trying to attack him. That he may not know his attacker’s motive does not mean the victim
 may not testify to the attempted assault.
          The Court further agrees with Mr. Charron that, taking all reasonable inferences in favor of
 the non-movant, the affidavit elaborates on but does not contradict the deposition testimony and Mr.
 Charron could reasonably infer that Christopher Moss was trying to attack him. See Pl.’s Suppl.
 Summ. J. R. Items, Attach. 3, Aff. of John Charron ¶ 11 (ECF No. 74) (Aff. of Charron). The affidavit
 controls here and the Court rejects the qualification.

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  ¶ 105. Mr. Charron next noticed that the lights were not moving, and he could hear

  the engine racing. PSAMF ¶ 106; DRPSAMF ¶ 106. He could tell that the Sunfire

  was not moving and was apparently stuck in the snow. PSAMF ¶ 106; DRPSAMF

  ¶ 106.

           Mr. Charron got back into his truck and went down the hill to the end of

  Langley Shores Drive to get a better look. 13                PSAMF ¶ 107; DRPSAMF ¶ 107;

  PRDRPSAMF ¶ 107. He could see that the Sunfire was stuck in the snowbank, as it

  appears in the digital photos later taken by Deputy Horning.                         PSAMF ¶ 107;

  DRPSAMF ¶ 107. He then put his truck in reverse and backed up the hill to return

  to his residence. PSAMF ¶ 108; DRPSAMF ¶ 108. As he was doing so, he saw

  Christopher Moss exit the Sunfire and start chasing him. PSAMF ¶ 108; DRPSAMF

  ¶ 108. While Christopher Moss continued to chase him, Mr. Charron drove into his

  driveway, exited his truck, ran into his residence, and locked the door. PSAMF ¶ 109;

  DRPSAMF ¶ 109. Christopher Moss banged on the door and yelled, “Come out you

  fucking pussy!” PSAMF ¶ 109; DRPSAMF ¶ 109. Mr. Charron watched through his

  window as Christopher Moss went to his truck and broke its passenger side window.




  13      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and seven
  by arguing that “[t]he cited record evidence does not specify what photos [Mr. Charron] is referring to;
  therefore, the assertion in this paragraph concerning Deputy Horning’s photos should be disregarded
  as not properly supported by record references.” DRPSAMF ¶ 107 (citing D. ME. LOC. R. 56(f)). Mr.
  Charron responds that there is no issue as to which photos this paragraphs refers to because “[t]he
  only digital photos that show the Sunfire at the end of Langley Shore[s] Drive are the digital photos
  that Deputy Horning admittedly took, which show the Sunfire ‘half in the snowbank and half in the
  road,’ and which are attached to [Deputy] Horning’s affidavit as exhibits 5-12.” PRDRPSAMF ¶ 107
  (internal citations omitted). The Court rejects the qualification because the assertion in Mr. Charron’s
  affidavit that the digital pictures Deputy Horning took show the Sunfire stuck in the snowbank, Aff.
  of Charron ¶ 14, is sufficiently specific. Moreover, the Court did not need to search for the pictures
  because the County Defendants themselves cited them. See DSMF ¶¶ 37-38.

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  PSAMF ¶ 110; DRPSAMF ¶ 110. Mr. Lemay later stated that he heard the sound of

  glass breaking from where Mr. Charron’s truck was parked.                            PSAMF ¶ 111;

  DRPSAMF ¶ 111.

          Christopher Moss’ father, Walter Moss, showed up on the road in front of Mr.

  Charron’s house, as Mr. Charron had called him to complain about what Christopher

  Moss and Mr. Pilvelait were doing. PSAMF ¶ 112; DRPSAMF ¶ 112. Mr. Lemay

  later said he heard what he thought was Walter Moss yelling to his son to stop and

  get into the car because Christopher Moss was “drunk.” 14 PSAMF ¶ 113; DRPSAMF

  ¶ 113. Christopher Moss got into his father’s car and they drove off. PSAMF ¶ 114;


  14      The County Defendants deny Mr. Charron’s additional paragraph one hundred and thirteen,
  arguing that the record evidence does not identify either party speaking or what was said, the
  reference to being drunk is an unsupported speculation that should be stricken or disregarded, and
  any reference to hearing someone say someone else was drunk “should be stricken or disregarded as
  inadmissible hearsay.” DRPSAMF ¶ 113. Mr. Charron responds that there is “at least a reasonable
  inference” that the voices Mr. Lemay heard were of Walter and Christopher Moss, the command
  portion of Walter Moss’ statement is not a hearsay statement but rather an imperative statement
  pursuant to Federal Rule of Evidence 801(a), and the “drunk” portion of the statement is Walter Moss’
  present sense impression pursuant to Federal Rule of Evidence 803(1) and thus admissible as an
  exception to hearsay. PRDRPSAMF ¶ 113 (citing United States v. Marshall, 173 F.3d 1312, 1315 (11th
  Cir. 1999); Sineni v. Cumberland Cty. Sheriff’s Office, No. 2:16-cv-00520-JAW, 2018 WL 2122911, at
  *5 (D. Me. May 8, 2018)).
          The Court reviewed the record evidence and finds that, viewing the evidence in the light most
  favorable to Mr. Charron, there is a reasonable inference that what Mr. Lemay heard was Walter Moss
  speaking to Christopher Moss. See Aff. of Lemay ¶ 10. The Court also agrees with Mr. Charron that
  Walter Moss’ command is nonhearsay because it is an imperative statement, see Sineni, 2018 WL
  2122911, at *5, although the Court has removed the quotation marks because the record evidence does
  not support specific words used. An imperative statement cannot be true or false. See Baines v.
  Walgreen Co., 863 F.3d 656, 662 (7th Cir. 2017) ("In other words, [hearsay] statements assert
  propositions that may be true or false. They are distinct from other forms of communication, such as
  questions or commands"); United States v. Rodriguez-Lopez, 565 F.3d 312, 314 (6th Cir. 2009) ("[I]f the
  statements were questions or commands, they could not . . . be offered for their truth because they
  would not be assertive speech at all. They would not assert a proposition that could be true or false");
  see also United States v. Murphy, 193 F.3d 1, 5 (1st Cir. 1999) (pointing out that instructions are non-
  hearsay, because they are not assertions).
          Finally, the Court finds the “drunk” statement admissible not to prove Christopher Moss was
  drunk but to show that Walter Moss thought he was. Furthermore, as other evidence in the record,
  including from Christopher Moss’ mother, confirms that Christopher Moss had been drinking, the
  Court is confused why the County Defendants have found it necessary to object to a fact that does not
  appear to be in dispute. In any event, the Court rejects the County Defendants’ denial but altered the
  quotation marks as described.

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  DRPSAMF ¶ 114. It was quiet for the next twenty minutes, and Mr. Lemay went to

  sleep. PSAMF ¶ 115; DRPSAMF ¶ 115.

         C.      911 Call from Denise Moss and Visit to 250 Buzzell Road

         At approximately 10:52 p.m., while Deputies Horning and Cyr were responding

  to the first 911 call, Deputy Horning received a report from the SRCC that a female

  caller, Denise Moss, wanted her son, Christopher Moss, removed from her home at

  250 Buzzell Road in Acton. 15 DSMF ¶ 4; PRDSMF ¶ 4; PSAMF ¶ 124; DRPSAMF

  ¶ 124. This call diverted Deputy Horning, who proceeded to 250 Buzzell Road and

  spoke with Christopher Moss. 16 DSMF ¶ 6; PRDSMF ¶ 6; PSAMF ¶ 124; DRPSAMF

  ¶ 124; PRDRPSAMF ¶ 124. The call also diverted Deputy Cyr, who responded to the

  dispatch call at 250 Buzzell Road and provided backup to Deputy Horning. 17 DSMF

  ¶ 71; PRDSMF ¶ 71; PSAMF ¶ 124; DRPSAMF ¶ 124; PRDRPSAMF ¶ 124.

  According to the dispatch records, Deputies Horning and Cyr were cleared from the




  15      Mr. Charron’s qualification of the County Defendants’ paragraph four is argument outside the
  scope of the facts asserted in the statement, PRDSMF ¶ 4, and the Court rejects it. See supra note 10.
  16      The County Defendants qualify the portion of Mr. Charron’s additional paragraph one hundred
  and twenty-four that states that Deputy Horning and Deputy Cyr were “diverted.” DRPSAMF ¶ 124.
  Mr. Charron responds that his citations of his additional paragraphs sixty-seven and seventy-one
  provide the requisite record evidence. PRDRPSAMF ¶ 124. The Court reviewed the cited portions of
  the record referred to by Mr. Charron, agrees with Mr. Charron, and rejects the qualification.
  17      Mr. Charron qualifies the County Defendants’ paragraph seventy-one by stating that “Deputy
  Cyr first responded with Deputy Horning to the 911 call about a disturbance on Langley Shore[s] Drive
  at 10:31 PM” and that “[h]e and Deputy Horning were then diverted to 250 Buzzell Road about 20
  minutes later as directed by Sergeant Thistlewood.” PRDSMF ¶ 71. This information does not conflict
  with the County Defendants’ paragraph seventy-one; both parties agree that Deputy Cyr responded to
  the dispatch call at 250 Buzzell Road. Moreover, Mr. Charron’s additional paragraph ninety-eight,
  which the County Defendants admit, addresses Deputy Cyr’s response to the dispatch call at Langley
  Shores Drive. The Court rejects this qualification.

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  first call at the same time that they were dispatched in response to the second call. 18

  PSAMF ¶ 125; DRPSAMF ¶ 125; PRDRPSAMF ¶ 125.

         At some point after Deputy Horning arrived at 250 Buzzell Road, Christopher

  Moss told Deputy Horning

         1.      he and a friend, Mr. Pilvelait, were at Mr. Pilvelait’s house on Langley

         Shores Drive when Mr. Pilvelait’s neighbor, Mr. Charron, came to the house in

         Mr. Charron’s plow truck, 19 DSMF ¶ 7; PRDSMF ¶ 7;

         2.      a long-standing feud existed between Mr. Pilvelait and Mr. Charron over

         the sale of a vehicle and the theft of some tires, DSMF ¶ 8; PRDSMF ¶ 8;

         3.      when Mr. Charron arrived in his plow truck at the end of Mr. Pilvelait’s

         driveway, he started peeling his tires and yelling threats, 20 DSMF ¶ 9;

         PRDSMF ¶ 9;




  18      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and twenty-
  five as speculation and ask the Court to strike or disregard it. DRPSAMF ¶ 125. Mr. Charron
  responds that the County Defendants are ignoring the foundational evidence for the dispatch log it
  cited. PRDRPSAMF ¶ 125 (citing PRDSMF ¶ 5). The Court reviewed the cited portions of the record,
  agrees with Mr. Charron, and rejects the qualification.
  19      Mr. Charron’s qualification of the County Defendants’ paragraph seven is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 7, and the Court rejects it. See supra note
  10.
  20      Paragraph one hundred and thirty-five of Mr. Charron’s statement of additional material facts
  states, “Christopher Moss’[] allegation that Mr. Charron was ‘peeling his tires at the end of [Mr.
  Pilvelait’s] driveway’ was also contradicted by the person who called 911 on March 8 . . . at 10:31 PM,
  as this person referred to Mr. Charron’s residence (‘the second house on the right’) as the location
  where the ‘tires burning out, spinning out,’ was occurring.” PSAMF ¶ 135 (citing PSAMF ¶¶ 94-96).
  The County Defendants deny this paragraph because it is argument and there is no conflict between
  the two statements. DRPSAMF ¶ 135. Mr. Charron responds that, at a minimum, a jury could find
  that the two reported locations of peeling tires were contradictory. PRDRPSAMF ¶ 135. The Court
  agrees with the County Defendants and does not see any contradiction between the two accounts of
  peeling tires at different locations by different people. The Court struck the paragraph.

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          4.      Christopher Moss and Mr. Pilvelait then got in Mr. Pilvelait’s car and

          drove down to Mr. Charron’s driveway, at which point Mr. Charron came at

          them with his plow tilted and in the air, 21 DSMF ¶ 10; PRDSMF ¶ 10;

          5.      Mr. Charron’s plow truck struck Mr. Pilvelait’s car and the plow scraped

          over the hood of the car, 22 DSMF ¶ 11; PRDSMF ¶ 11;




  21       Mr. Charron denies the County Defendants’ paragraph ten because, according to Mr. Charron,
  Christopher Moss told Deputy Horning that he and Mr. Pilvelait were at the end of Mr. Pilvelait’s
  driveway, not Mr. Charron’s driveway, when Mr. Charron came at them. PRDSMF ¶ 10. The Court
  reviewed the cited portions of the record, as well as evidence surrounding the cited portions, and
  disagrees with Mr. Charron that the evidence presents an inconsistency as to where the collision took
  place. See JSR, Attach. 2, Dep. of Rachel A. Horning at 8:20-12:16 (Dep. of Horning). Deputy Horning’s
  arrest report may not provide clarity on this point, but her deposition testimony is clear and not, on
  its face, inconsistent with her report. Even viewed in the light most favorable to Mr. Charron, the
  evidence establishes that Christopher Moss told Deputy Horning that the collision occurred at the end
  of Mr. Charron’s driveway. Accordingly, the Court rejects Mr. Charron’s denial.
           Paragraph one hundred and thirty-seven of Mr. Charron’s statement of additional material
  facts alleges that Christopher Moss’ description “implied that the Sunfire was parked in Mr. Pilvelait’s
  driveway when ‘he and [Mr. Pilvelait] got into [Mr. Pilvelait]’s car and were at the end of the driveway’
  when Mr. Charron “came at them with his plow tilted and in the air.” PSAMF ¶ 137. It adds that
  “[t]his description further implied that the rear of the Sunfire was facing the street, as people normally
  park front first in their driveways as opposed to backing in.” PSAMF ¶ 137. The County Defendants
  deny this paragraph, asserting that it contains arguments rather than facts and is speculation, and
  ask the Court to strike or disregard it pursuant to Local Rule 56(e). DRPSAMF ¶ 137. Mr. Charron
  responds by referring to previous arguments and by stating that it is not argument to point out
  something that is fact. PRDRPSAMF ¶ 137. Applying the same logic as above, the Court disagrees
  with Mr. Charron regarding the implications of the phrase “the driveway.” The Court further agrees
  that the inference that the description implied the Sunfire was facing the street does not have record
  support. The Court struck this paragraph.
  22       Mr. Charron’s qualification of the County Defendants’ paragraph eleven is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 11, and the Court rejects it. See supra
  note 10.
           Paragraph one hundred and thirty-eight of Mr. Charron’s statement of additional material
  facts states, “Christopher Moss’s description, as reported by Deputy Horning, that Mr. Charron ‘struck
  [Mr. Pilvelait]’s car with his plow truck and the plow scraped over the hood’ of the Sunfire is not
  plausible if the Sunfire was parked front first in [Mr. Pilvelait]’s driveway,” and “could have occurred
  only if the Sunfire was parked rear first (with its front facing the street) as would be the case if the
  Sunfire had backed into [Mr. Pilvelait]’s driveway to park.” PSAMF ¶ 138. The County Defendants
  deny this paragraph, asserting that it contains arguments rather than facts and is speculation, and
  ask the Court to strike or disregard is pursuant to Local Rule 56(e). DRPSAMF ¶ 138. Mr. Charron
  responds by referring to previous arguments and stating that it is not argument to point out something
  that is “inherently implausible.” PRDRPSAMF ¶ 138. The Court concludes that this paragraph is
  argument and, pursuant to Local Rule 56(e), struck it.

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          6.      the air bags of Mr. Pilvelait’s car deployed and Christopher Moss

          sustained a blow to his head that caused a bump, a laceration, and bruising,

          DSMF ¶ 12; PRDSMF ¶ 12;

          7.      Mr. Charron proceeded to use his plow truck to push the car containing

          Christopher Moss and Mr. Pilvelait down Langley Shores Drive and then off

          the road into the snowbank where the Sunfire was found, 23 DSMF ¶ 13;

          PRDSMF ¶ 13; PSAMF ¶ 140; DRPSAMF ¶ 140; PRDRPSAMF ¶ 140;

          8.      as a result of these events, Christopher Moss was in fear for his life, 24

          DSMF ¶ 14; PRDSMF ¶ 14;




  23      Mr. Charron’s qualification of the County Defendants’ paragraph thirteen is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 13, and the Court rejects it. See supra
  note 10.
          The County Defendants qualify Mr. Charron’s additional paragraph one hundred and forty,
  asserting that Deputy Horning’s testimony states the Sunfire was pushed off the road but does not
  refer to the snowbank. DRPSAMF ¶ 140. Mr. Charron responds that the assertion has full support
  because Deputy Horning was responding in the affirmative to a question about whether she was told
  the Sunfire was pushed by the plow truck into the snowbank. PRDRPSAMF ¶ 140. The Court
  reviewed the cited portions of the record and, viewing the facts in the light most favorable to Mr.
  Charron, agrees with Mr. Charron. Thus, the Court rejects the County Defendants’ qualification.
          Paragraph one hundred and thirty-nine of Mr. Charron’s statement of additional material
  facts states that “[i]f Mr. Charron had struck the Sunfire as alleged, it is not plausible that he could
  have ‘continued to push [Mr. Pilvelait]’s car with the two of them inside down to the end’ of Langley
  Shore[s] Drive,” and that “[i]nstead, the Sunfire would have been pushed into the driveway.” PSAMF
  ¶ 139. It adds that “it would not be possible to push the Sunfire rear-first from the end of [Mr.]
  Pilvelait’s driveway to the end of Langley Shore[s] Drive because the roadway contains several curves,
  and the rear tires would have caused the Sunfire to travel in a straight line.” PSAMF ¶ 139. As above,
  the County Defendants deny this paragraph, asserting that it contains arguments rather than facts
  and is speculation, and asks the Court to strike or disregard it pursuant to Local Rule 56(e).
  DRPSAMF ¶ 139. Mr. Charron responds by referring to his response to the County Defendants’
  paragraph one hundred and thirty-eight and stating that “[t]hese are facts a jury is entitled to find.”
  PRDRPSAMF ¶ 139. For the same reasons as above, the Court struck Mr. Charron’s additional
  paragraph one hundred and thirty-nine.
  24      Mr. Charron’s qualification of the County Defendants’ paragraph fourteen is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 14, and the Court rejects it. See supra
  note 10.

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         9.      when the vehicles got to the end of Langley Shores Drive, Mr. Charron

         yelled to Christopher Moss and Mr. Pilvelait that “you guys are fucking dead,”

         DSMF ¶ 15; PRDSMF ¶ 15;

         10.     at that point, Mr. Charron drove his plow truck back to his house, DSMF

         ¶ 16; PRDSMF ¶ 16;

         11.     Mr. Charron’s plow truck was a dark-colored, older-model GMC, DSMF

         ¶ 17; PRDSMF ¶ 17; and

         12.     Christopher Moss believed Mr. Charron was capable of killing him and

         Mr. Pilvelait and he was in fear for his life. 25 DSMF ¶ 18; PRDSMF ¶ 18.

         Deputy Horning took photographs of Christopher Moss’ alleged injuries, and

  true and accurate copies of the photographs are attached to Deputy Horning’s

  affidavit as Exhibits One and Two. 26 DSMF ¶¶ 19, 20; PRDSMF ¶¶ 19, 20. Mr.

  Charron was not present for Deputy Horning’s conversation with Christopher Moss.

  DSMF ¶ 23; PRDSMF ¶ 23.

         Also on the evening of March 8, Deputy Horning spoke with Christopher Moss’

  father, Walter Moss. DSMF ¶ 24; PRDSMF ¶ 24. Walter Moss told Deputy Horning




  25      Mr. Charron’s qualification of the County Defendants’ paragraph eighteen is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 18, and the Court rejects it. See supra
  note 10.
  26      Mr. Charron qualifies the County Defendants’ paragraph nineteen by arguing that the upload
  times of the photographs indicate that they were not taken on March 8. PRDSMF ¶ 19. The Court
  reviewed the cited portions of the record and finds this argument speculative rather than based on the
  record. Accordingly, the Court rejects this qualification. Mr. Charron’s further qualifications of the
  County Defendants’ paragraph nineteen are argument outside the scope of the facts asserted in the
  statement, PRDSMF ¶ 19, and the Court rejects them. See supra note 10.
          Mr. Charron qualifies the County Defendants’ paragraph twenty for the same reasons he
  qualifies the County Defendants’ paragraph nineteen. PRDSMF ¶ 20. Accordingly, the Court rejects
  these qualifications.

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  that Mr. Charron had called him that evening and told him that Mr. Pilvelait and

  Christopher Moss were laying rubber strips in Mr. Charron’s driveway and that

  someone was going to get hurt. 27 DSMF ¶ 25; PRDSMF ¶ 25. He told Deputy

  Horning that Mr. Charron had called him again later that evening and that Mr.

  Charron stated that he had a plow truck and that he was going to take Mr. Pilvelait

  and Christopher Moss into the ditch. 28 DSMF ¶ 26; PRDSMF ¶ 26. He further told

  Deputy Horning that after his second discussion with Mr. Charron he went to get Mr.

  Pilvelait and Christopher Moss, but that when he arrived Mr. Pilvelait’s vehicle had

  already been pushed down the road. 29 DSMF ¶ 27; PRDSMF ¶ 27. Mr. Charron was

  not present for Deputy Horning’s conversation with Walter Moss.                       DSMF ¶ 30;

  PRDSMF ¶ 30.

         Christopher Moss did not end up getting removed from the house at 250

  Buzzell Road because his mother was fine with him by the time Deputy Horning and

  Deputy Cyr arrived. Dep. of Horning at 8:03-12. Deputy Horning later said that she

  “could understand why [Christopher Moss’] mother would want him removed from



  27      Paragraph one hundred and thirty-four of Mr. Charron’s statement of additional material facts
  states that this statement by Walter Moss (and a similar one about laying rubber strips in his written
  statement) contradict Christopher Moss’ oral allegation that Mr. Charron was “peeling his tires at the
  end of [Mr. Pilvelait’s] driveway.” PSAMF ¶ 134. The County Defendants deny this paragraph
  because it is argument and there is no conflict between the two statements. DRPSAMF ¶ 134. Mr.
  Charron responds that, at a minimum, a jury could find that they are contrary reports. PRDRPSAMF
  ¶ 134. The Court agrees with the County Defendants and does not see any contradiction between Mr.
  Charron peeling his tires in Mr. Pilvelait’s driveway and Christopher Moss and Mr. Pilvelait laying
  rubber strips in Mr. Charron’s driveway. The Court rejects the County Defendants’ denial.
  28      Mr. Charron’s qualifications of the County Defendants’ paragraph twenty-six are argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 26, and the Court rejects them.
  See supra note 10.
  29      Mr. Charron’s qualifications of the County Defendants’ paragraph twenty-seven are argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 27, and the Court rejects them.
  See supra note 10.

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  the house because he was so worked up, and she was like, I don't want to deal with

  him like this at this level.” 30 PSAMF ¶ 126; DRPSAMF ¶ 126; PRDRPSAMF ¶ 126.

  According to her report, when Deputy Horning spoke with Christopher Moss, she

  “could see and smell that he had been drinking.” 31 PSAMF ¶ 133; DRPSAMF ¶ 133.

  Also, concerning where Christopher Moss told her the collision took place, Deputy

  Horning later said that it was “irrelevant” which driveway was involved. 32 PSAMF

  ¶ 136; DRPSAMF ¶ 136; PRDRPSAMF ¶ 136.




  30       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and twenty-
  six by adding context to Deputy Horning’s quote from her deposition. DRPSAMF ¶ 126. Mr. Charron
  responds by stating that the complete quote “does not change the gist” of the paragraph. PRDRPSAMF
  ¶ 126. The Court reviewed the cited portions of the record, agrees with Mr. Charron, and rejects the
  qualification. The Court adds the sentence prior to this fact to clarify that Denise Moss no longer
  wanted Christopher Moss removed from the house by the time Deputy Horning and Deputy Cyr
  arrived.
           Paragraph one hundred and twenty-seven of Mr. Charron’s statement of additional material
  facts asserts that “Christopher Moss garnered sympathy and deflected attention from himself as a
  trouble maker by alleging that he was a victim.” PSAMF ¶ 127. The County Defendants deny this
  paragraph as “entirely argument.” DRPSAMF ¶ 127. Mr. Charron responds that the statement is a
  reasonable inference from Deputy Horning’s cited deposition testimony. PRDRPSAMF ¶ 127. The
  Court reviewed the cited portions of the record and determines that the paragraph is argument rather
  than fact. Deputy Horning does not mention feeling sympathy for Christopher Moss, and the shift of
  attention and identification of Christopher Moss as a victim is clear from the County Defendants’
  paragraphs seven through eighteen. Therefore, the Court struck this paragraph.
  31       Paragraph one hundred and thirty-three of Mr. Charron’s statement of additional material
  facts states that Deputy Horning observed that Christopher Moss had been drinking when she “spoke
  with Christopher Moss and collected his handwritten statement . . ..” PSAMF ¶ 133. Given the
  ambiguity about when she collected the written statements discussed below, the Court struck the
  reference to the handwritten statement in this paragraph.
  32       The County Defendants deny Mr. Charron’s additional paragraph one hundred and thirty-six
  by arguing that “Deputy Horning clearly testified as to what she was told by Christopher Moss—that
  the collision occurred near the end of [Mr.] Charron’s driveway” and that “[t]he testimony cited by [Mr.
  Charron] clearly refers to his counsel’s argument that the Deputy did not specify which driveway she
  was told the collision occurred,” meaning that “the lack of specificity in her report,” not the driveway
  involved, was irrelevant. DRPSAMF ¶ 136. Mr. Charron responds that, at a minimum, a jury could
  find that “[i]t is clear from [Deputy] Horning’s report that Christopher Moss told her that Mr. Charron
  was peeling his tires at the end of [Mr.] Pilvelait’s driveway, contrary to the location of the peeling
  tires provided by Christopher [Moss’] father, Walter Moss, and by the 911 caller, Ryan Lemay.”
  PRDRPSAMF ¶ 136. The Court reviewed the cited portions of the record and agrees that Deputy
  Horning used the word “irrelevant” regarding which driveway was involved. See Dep. of Horning at
  11:21. The remainder of this paragraph is not supported by the record, and the Court struck it.

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          D.      Written Witness Statements

          Christopher Moss completed a written witness statement at some point, and a

  true and accurate copy of it is attached to Deputy Horning’s affidavit as Exhibit

  Three. 33 DSMF ¶¶ 21, 22. Walter Moss also completed a written witness statement

  for Deputy Horning at some point after she spoke with him, and a true and accurate

  copy of the witness statement is attached to Deputy Horning’s affidavit as Exhibit

  Four. 34 DSMF ¶¶ 28-29; PRDSMF ¶¶ 28-29.

          Deputy Horning’s report states that she “collected a witness statement” from

  Christopher Moss when she met with him. 35                   PSAMF ¶ 129; DRPSAMF ¶ 129;

  PRDRPSAMF ¶ 129. However, the dispatch log and dispatch audio indicate that,

  after Deputy Horning spoke with Christopher Moss, she and Deputy Cyr went to the

  end of Langley Shores Drive to inspect the Sunfire and were “out with the vehicle




  33      Paragraph twenty-one of the County Defendants’ statement of material facts states that
  “Christopher Moss completed a witness statement for Deputy Horning after she spoke with him on
  March 8, 2016.” DSMF ¶ 21. Mr. Charron qualifies this paragraph by pointing out, among other
  things, that “[a]lthough Deputy Horning’s report states that she ‘collected a witness statement’ from
  Christopher when she met with him, the dispatch audio indicates that she left a witness statement
  form at his residence minutes before midnight, without waiting for him to complete it, if he was even
  home at the time, which is not apparent from the audio.” PRDSMF ¶ 21. The Court reviewed the
  cited portions of the record and, drawing all reasonable inferences in favor of the non-movant, finds
  that the record does not support Christopher Moss completing his witness statement on March 8. The
  Court altered paragraph twenty-one accordingly.
  34      Mr. Charron qualifies the County Defendants’ paragraph twenty-eight for the same reasons
  he qualifies the County Defendants’ paragraph twenty-one. PRDSMF ¶ 28. The Court altered
  paragraph twenty-eight in the same manner.
  35      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and twenty-
  nine by stating that the record evidence “does not specify at what point during the evening Deputy
  Horning physically received Christopher Moss’s written witness statement.” DRPSAMF ¶ 129. Mr.
  Charron responds that the report is in chronological order and there is “at least a reasonable inference,
  based on [Deputy Horning’s] report, that she obtained [Christopher] Moss’s handwritten statement
  when she first met with him.” PRDRPSAMF ¶ 129. The Court reviewed the cited portions of the
  record, agrees with Mr. Charron that the inference that Deputy Horning was referring to the time she
  first met with him is reasonable, and rejects the qualification.

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  that ha[d] been struck” at approximately 11:21 p.m. 36 PSAMF ¶ 130; DRPSAMF

  ¶ 130; PRDRPSAMF ¶ 130. The audio indicates that afterwards, Deputy Horning

  went back to 250 Buzzell Road to drop off a witness statement form, whereupon she

  returned quickly to the end of Langley Shores Drive. PSAMF ¶ 130; DRPSAMF

  ¶ 130. At this time, 11:35 p.m., a fellow deputy, apparently Deputy Cyr, informed

  Deputy Horning, “I’m gonna stick around down here while you go collect that

  statement. There’s a gentleman . . . operating a snowmobile. . . . I don’t know if he’s

  coming back to the car . . ..” PSAMF ¶ 131 (alterations in original); DRPSAMF ¶ 131.

  Five minutes later, the same deputy said the person was “riding in a suspicious

  nature” and then “disappeared,” and the deputy asked Deputy Horning, “Did your

  witness [Christopher Moss] say how old he [the suspect] was? Because [our] records

  show a 20-year-old.” 37 PSAMF ¶ 132 (some alterations in original); DRPSAMF ¶ 132;

  PRDRPSAMF ¶ 132.


  36      Paragraph one hundred and thirty of Mr. Charron’s statement of additional material facts also
  states that, after returning to the end of Langley Shores Drive, Deputy Horning “went with [Sergeant]
  Thistlewood, [Deputy] Mains, and [Deputy] Cyr to arrest Mr. Charron.” PSAMF ¶ 130. The County
  Defendants qualify this paragraph by stating that the recordings “reflect that Deputy Horning went
  to Christopher Moss’s residence to collect a statement after she and Deputy Cyr had looked at the
  vehicle that had been in the accident” and further “reflect[] that she went to ‘106 Langley Shores’ after
  she collected the statement.” DRPSAMF ¶ 130. The County Defendants conclude that “[t]he
  remaining assertions are not supported by the cited record materials and should therefore be
  disregarded.” DRPSAMF ¶ 130. Mr. Charron responds that “[t]he record materials cited, together
  with all reasonable inferences to which [Mr. Charron] is entitled, fully support PSMF ¶ 130.”
  PRDRPSAMF ¶ 130. The Court does not see any difference between Mr. Charron’s and the County
  Defendants’ accounts of these events besides the last assertion of the paragraph. The Court reviewed
  the cited portions of the record, finds that the statement regarding arresting Mr. Charron is not
  supported by the record citations, and accordingly struck it.
  37      Paragraph one hundred and thirty-two of Mr. Charron’s statement of additional material facts
  quotes the audio dispatch recording and makes the inference that the “he” referred to in the quote
  above was Mr. Pilvelait. PSAMF ¶ 132. The County Defendants qualify this paragraph by asserting
  that the deputy was asking Deputy Horning to confirm “the suspect’s age,” not Mr. Pilvelait’s age.
  DRPSAMF ¶ 132. Mr. Charron responds:
          There is at least a reasonable inference that the deputy was referring to [Mr.] Pilvelait,
          who was 20 years old at the time, when he said a person was ‘riding in a suspicious

                                                    20
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         Christopher Moss’ first handwritten statement said, “we went down [and Mr.

  Charron] pushed us against a snow b[]ank with his plow truck—then yelled you guys

  are fucking dead”; this information differed in part from Christopher Moss’ oral

  statement that, after striking them, Mr. Charron “continued to push [Mr. Pilvelait’s]

  car with the two of them inside down to the end of Langley Shore[s] Drive” and pushed

  them off the road into a snowbank. 38 PSAMF ¶¶ 128, 140; DRPSAMF ¶¶ 128, 140;

  PRDRPSAMF ¶ 128.

         Christopher Moss completed a second handwritten witness statement, which

  is undated and appears to be signed by Christopher Moss but is written in different

  handwriting. 39     PSAMF ¶ 147; DRPSAMF ¶ 147; PRDRPSAMF ¶ 147.                              Deputy



          manner,’ as this was ‘the suspect’s age,’ to use the [County Defendants’] own words in
          their reply statement.
  PRDRPSAMF ¶ 132.
          The Court reviewed the audio recording and finds that, although the facts must be viewed in
  the light most favorable to the non-moving party, there is no reasonable inference that the deputy was
  referring to Mr. Pilvelait, given that Deputy Horning had previously said that Christopher Moss said
  the person on the snowmobile was Mr. Charron and Deputy Horning responded to the question by
  saying that she believes he (meaning Mr. Charron) is in his fifties. JSR Ex. 38 at 25:40-26:45. Thus,
  the Court altered the paragraph to reflect that the “he” the deputy was asking about was the suspect,
  not Mr. Pilvelait.
  38      Paragraph one hundred and twenty-eight of Mr. Charron’s statement of additional material
  facts also states that Christopher Moss’ handwritten statement contradicted his oral account of the
  events to Deputy Horning because of the location of the cars after the collision and the amount of
  pushing alleged, and it adds that by “went down” Christopher Moss meant to the end of Langley Shores
  Drive. The County Defendants deny this paragraph, calling it argument rather than fact and stating
  that Mr. Charron adds information not contained in the record quotes, particularly concerning the
  driveway discussion. DRPSAMF ¶ 128. Mr. Charron responds that the contradiction between the two
  accounts is clear and “it is not ‘argument’ to point this out with reference to the actual words used.”
  PRDRPSAMF ¶ 128. The Court agrees with the County Defendants regarding the references to the
  driveway discussion, see supra note 21, and struck this portion of the paragraph. Regarding the
  pushing facts, the Court agrees with Mr. Charron and rejects the denial. The Court reworked the
  structure of the paragraph to account for these findings.
  39      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and forty-
  seven, asserting that it contains speculative arguments and should be stricken or disregarded.
  DRPSAMF ¶ 147. Mr. Charron responds that “[i]t is clear” the second handwritten statement
  contradicts Christopher Moss’ earlier statements and that the handwriting is different, or at least
  there is a reasonable inference that this is the case. PRDRPSAMF ¶ 147. The Court reviewed the
  cited portions of the record and agrees with Mr. Charron regarding the handwriting inference. The

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  Horning’s name appears to be in the same handwriting as her name on the first

  handwritten witness statement, implying that she wrote her name on the statement

  at some point. 40 PSAMF ¶ 148; DRPSAMF ¶ 148; PRDRPSAMF ¶ 148. The York

  County District Attorney’s Office supplied Mr. Charron’s attorney with Christopher

  Moss’ and Mr. Pilvelait’s second witness statements on April 12. 41 PSAMF ¶ 149;

  DRPSAMF ¶ 149; PRDRPSAMF ¶ 149.

         According to Mr. Pilvelait’s second witness statement, Mr. Charron “had

  driven by yelling,” then Mr. Pilvelait and Christopher Moss “drove down to his house,”

  then Mr. Charron “proceeded to push” them “down the hill,” then they “went to his

  driveway” and “yelled,” then “[h]e didn’t come out,” and then they left. PSAMF ¶ 150;

  DRPSAMF ¶ 150. In Christopher Moss’ second handwritten witness statement, he

  alleges, consistent with Mr. Pilvelait’s second witness statement, that Mr. Charron



  Court agrees with the County Defendants regarding the portion of additional paragraph one hundred
  and forty-seven stating that Christopher Moss’ statements were contradictory because Mr. Charron
  did not point to any specific contradictions and the Court did not find any. The Court struck this
  portion of the paragraph.
  40      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and forty-
  eight, asserting that it contains speculative arguments and should be stricken or disregarded.
  DRPSAMF ¶ 148. Mr. Charron responds that there is a reasonable inference that Deputy Horning’s
  name is written in the same handwriting on each statement and that this inference leads to the further
  inference that Deputy Horning collected the second written statement from Christopher Moss.
  PRDRPSAMF ¶ 148. The Court reviewed the cited portion of the record and agrees with Mr. Charron
  regarding the first inference but not the second. The Court rejects the qualification, but the Court
  modified the paragraph to eliminate the second inference regarding Deputy Horning retrieving the
  statement.
  41      Paragraph one hundred and forty-nine of Mr. Charron’s statement of additional material facts
  also states, “Deputy Horning appears to have collected Christopher [Moss’] second handwritten
  witness statement on or about March 30, 2016, when she collected a second witness statement from
  [Mr.] Pilvelait, as both witness statements were supplied to the prosecutor at the same time.” PSAMF
  ¶ 149. The County Defendants qualify this portion of the paragraph as argument and speculation that
  should be stricken or disregarded. DRPSAMF ¶ 149. Mr. Charron responds that it is a reasonable
  inference that Deputy Horning collected Christopher Moss’ second handwritten witness statement on
  March 30, when she collected Mr. Pilvelait’s second statement. PRDRPSAMF ¶ 149. The Court
  reviewed the cited portions of the record, agrees with the County Defendants, and struck this portion
  of the paragraph.

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  “drove by multiple times revving his motor and yelling out his window,” then

  Christopher Moss and Mr. Pilvelait “drove by his house and turned around and on

  the way back up[]hill he hit [them] and pushed [them] down the hill,” and then they

  “got out” and “walked up to his house,” where they “yelled for him to come out . . ..”

  PSAMF ¶ 151; DRPSAMF ¶ 151. This allegation indicates that the Sunfire would

  have been struck in the front and pushed rear first into the snowbank if the allegation

  were true, contrary to the orientation of the Sunfire in the snowbank. 42 PSAMF

  ¶ 152; DRPSAMF ¶ 152; PRDRPSAMF ¶ 152.

         E.      Investigation of Eric Pilvelait’s Pontiac Sunfire and John
                 Charron’s Plow Truck

                 1.      Eric Pilvelait’s Pontiac Sunfire

         After going to 250 Buzzell Road on the evening of March 8, Deputies Horning

  and Cyr went to the location of Mr. Pilvelait’s vehicle on Langley Shores Drive. 43

  DSMF ¶ 31; PRDSMF ¶ 31. The Sunfire was positioned front first in the snowbank.

  PSAMF ¶ 141; DRPSAMF ¶ 141. If Mr. Charron had struck the front of the Sunfire

  as alleged and pushed it into the snowbank as alleged, it is likely that the Sunfire

  would have been pushed rear first into the snowbank, not front-end first, as depicted




  42       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-
  two, asserting that it contains speculative arguments rather than facts and that the Court should
  strike or disregard it. DRPSAMF ¶ 152. Mr. Charron responds that pointing out necessary or
  reasonable inferences is not argument, referring to his reasoning in his response to the County
  Defendants’ objection to his additional paragraph one hundred and forty-one. PRDRPSAMF ¶ 152.
  The Court reviewed the cited portions of the record, agrees with Mr. Charron that this paragraph is a
  reasonable inference from Christopher Moss’ description of the incident, and rejects the County
  Defendants’ qualified response.
  43       Mr. Charron’s qualification of the County Defendants’ paragraph thirty-one is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 31. See supra note 10. The court
  rejects it but added that Deputy Cyr went with Deputy Horning for clarity purposes.

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  in the post-incident photographs. 44 PSMF ¶ 141; DRPSMF ¶ 141; PRDRPSAMF

  ¶ 141. Deputy Horning observed (1) markings on the ground that appeared to her

  consistent with a vehicle that had been struck by a plow truck and pushed into a

  snowbank down the street, (2) vehicle parts in the road somewhere on Langley Shores

  Drive, likely the same debris observed by Mr. LeBlanc, (3) deployed air bags on both

  the driver side and passenger side of Mr. Pilvelait’s vehicle, and (4) extensive damage

  to Mr. Pilvelait’s vehicle, including scrape marks on the hood of the vehicle down from

  the windshield. 45 DSMF ¶¶ 32-36; PRDSMF ¶¶ 32-36; PSAMF ¶ 122; DRPSAMF


  44       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and forty-
  one, asserting that it contains speculative arguments rather than facts, and ask the Court to strike or
  disregard it pursuant to Local Rule 56(e). DRPSAMF ¶ 141. Mr. Charron responds by stating it is
  “not ‘argument’ to point out the necessary or reasonable inference from [Christopher] Moss’ allegation
  as reported by [Deputy] Horning.” PRDRPSAMF ¶ 141. The Court agrees with Mr. Charron that this
  paragraph is a reasonable inference from Christopher Moss’ description of the incident. The Court
  declines to accept the County Defendants’ qualified response.
  45       Mr. Charron denies the County Defendants’ paragraph thirty-two, referring to his additional
  paragraphs one hundred and thirty-seven through one hundred and forty-six and one hundred and
  fifty-three through one hundred and fifty-seven. PRDSMF ¶ 32. The Court reviewed these responses
  and the cited portions of the record and finds no inconsistencies that provide a basis for the denial.
  The Court altered the paragraph to more clearly reflect that the consistency was Deputy Horning’s
  subjective belief, not necessarily objective fact.
           Mr. Charron denies the County Defendants’ paragraph thirty-three and argues that “[t]he only
  vehicle parts in the road were adjacent to Mr. LeBlanc’s residence” and that “Deputy Horning’s
  affidavit contradicts her deposition testimony in this respect . . ..” PRDSMF ¶ 33. The Court reviewed
  the cited portions of the record and does not find a direct contradiction but, in looking at the facts in
  the light most favorable to Mr. Charron, altered the paragraph to more accurately reflect Deputy
  Horning’s deposition testimony about where she saw the vehicle parts.
           Mr. Charron’s additional reason for denying the County Defendants’ paragraph thirty-three is
  argument outside the scope of the facts asserted in the statement, PRDSMF ¶ 33, and the Court rejects
  it. See supra note 10.
           Paragraph one hundred and twenty-two of Mr. Charron’s statement of additional material
  facts states that “Deputy Horning saw and noted this debris [the same debris that Mr. LeBlanc saw],
  although she does not recall where along Langley Shore[s] Drive she saw it.” PSAMF ¶ 122. The
  County Defendants qualify this paragraph by recounting Deputy Horning’s exact deposition testimony
  and including her report statement that “as she ‘drove down the street [sh]e could see vehicle parts
  from the car.’” DRPSAMF ¶ 122. Mr. Charron responds by reiterating that “[t]here is a reasonable
  inference that the debris observed by Deputy Horning and Deputy Cyr was the same debris observed
  by [Mr.] LeBlanc and Mr. Charron.” PRDRPSAMF ¶ 122. Viewing disputed facts in the light most
  favorable to Mr. Charron, the Court finds that, given the short time between Mr. LeBlanc’s observation
  and Deputy Horning’s observation and in the absence of evidence of an intervening incident, the Court
  declines to accept the County Defendants’ qualified response.

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  ¶ 122; PRDRPSAMF ¶ 122. Deputy Cyr also saw and noted vehicle debris, likely the

  same debris observed by Mr. LeBlanc, although he did not inspect it or say where it

  was located. 46 PSAMF ¶ 123; DRPSAMF ¶ 123; PRDRPSAMF ¶ 123.

          Deputy Horning took photographs of Mr. Pilvelait’s vehicle showing the

  conditions she observed on March 8; true and accurate copies of these photographs

  are attached to her affidavit as Exhibits Five through Twelve. 47 DSMF ¶¶ 37-38;

  PRDSMF ¶¶ 37-38. One of these photographs is of the rear of the Sunfire in the

  snowbank and shows a tread in the snow behind the right rear tire from apparently

  traveling through the snow and a dent in the right rear bumper of the Sunfire; based

  on the position of the vehicle and the tire track, the Sunfire appears to have gone

  front first into the snowbank. 48           PSAMF ¶¶ 142, 144; DRPSAMF ¶¶ 142, 144;


          Mr. Charron’s qualifications of the County Defendants’ paragraphs thirty-five and thirty-six
  are argument outside the scope of the facts asserted in the statements, PRDSMF ¶¶ 35-36, and the
  Court rejects them. See supra note 10.
  46      The County Defendants’ qualify Mr. Charron’s additional paragraph one hundred and twenty-
  three on the same grounds they qualify Mr. Charron’s additional paragraph one hundred twenty-two—
  the inference that Deputy Cyr saw the same car parts as Mr. LeBlanc is unsupported. DRPSAMF
  ¶ 123. Mr. Charron responds that the inference is reasonable. PRDRPSAMF ¶ 123. For the same
  reasons expressed about paragraph one hundred and twenty-two in note 45 above, the Court agrees
  with Mr. Charron.
  47      Mr. Charron’s qualification of the County Defendants’ paragraph thirty-eight is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 38, and the Court rejects it. See
  supra note 10.
  48      Paragraph one hundred and forty-two of Mr. Charron’s statement of additional material facts
  asserts in part that “[t]he Sunfire appears to have driven front first into the snow bank, as indicated
  by the tire tread behind the right rear wheel and the path through the snow behind the right front
  tire.” PSAMF ¶ 142.
          The County Defendants qualify this part of the paragraph, asserting it is speculative argument
  and the Court should strike or disregard it. DRPSAMF ¶ 142. Mr. Charron states it is not argument
  but rather a reasonable inference. PRDRPSAMF ¶ 142. The Court agrees for the most part with Mr.
  Charron. Looking at the photograph in the light most favorable to Mr. Charron, it is a reasonable
  inference that the Sunfire went headfirst into the snowbank. But it is not a reasonable inference that
  the driver deliberately drove the vehicle into the snowbank as opposed to losing control of the vehicle
  or being pushed into the snowbank. In other words, the photograph does not allow an inference about
  the operator’s intentions. Nor does the tire track alone allow the inference that the operator drove the
  Sunfire into the snowbank as opposed to someone pushing the vehicle into the snowbank. Absent
  expert testimony about how the rear wheel of the Sunfire would respond to being pushed and whether

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  PRDRPSAMF ¶¶ 142, 144. Deputy Horning later testified that the tire tread was

  “irrelevant” to her in assessing the damages to the Sunfire. 49 Dep. of Horning at 27:6-

  9; PSAMF ¶ 143; DRPSAMF ¶ 143; PRDRPSAMF ¶ 143.                               Deputy Horning also




  being pushed as opposed to driven would leave a different tire mark, the Court concludes that the
  inference that the Sunfire was driven as opposed to was pushed into the snowbank is not reasonable
  from the tire track alone.
           The County Defendants qualify Mr. Charron’s additional paragraph one hundred and forty-
  four “to the extent the assertions intend to characterize aspects of the photo” but admit the photograph
  shows the rear of the Sunfire. DRPSAMF ¶ 144. Mr. Charron responds that, in the light most
  favorable to him, the photograph shows a dent in the right rear bumper. PRDRPSAMF ¶ 144. The
  Court reviewed the photograph, agrees with Mr. Charron, and rejects the qualification.
           Paragraph one hundred and forty-five of Mr. Charron’s statement of additional material facts
  asserts that “[a]part from the fact that there was no allegation that Mr. Charron’s plow struck the
  Sunfire from the rear, the dent is not consistent with the Sunfire being pushed into the snowbank by
  Mr. Charron’s plow truck, as the front, straight-line edge of the plow would have created a
  corresponding impression on the bumper or rear of the Sunfire if the plow had struck that portion of
  the Sunfire. PSAMF ¶ 145. The County Defendants qualify this paragraph, stating that it is
  speculative argument and the Court should strike or disregard it. DRPSAMF ¶ 145. Mr. Charron
  responds this his assertion is not argument. PRDRPSAMF ¶ 145. The Court finds that whether the
  plow would have created a similar dent if it had been used to push the Sunfire is speculative, especially
  as the County Defendants are not arguing that the dent is consistent with the Sunfire being pushed
  by the plow. The Court struck this paragraph.
           Paragraph one hundred and forty-six of Mr. Charron’s statement of additional material facts
  asserts that “’[i]nstead, the dent on the right rear bumper of the Sunfire is consistent with that portion
  of the bumper hitting the planter barrel in front of [Mr.] LeBlanc’s house.” PSAMF ¶ 146. The Count
  Defendants qualify this paragraph, stating that it is speculative argument and the Court should strike
  or disregard it. DRPSAMF ¶ 146. Mr. Charron states that his assertion is a reasonable inference the
  jury could draw. PRDRPSAMF ¶ 146. The Court finds that this inference is speculative given that
  Mr. Charron provides no evidence for it other than the picture of the dent. Accordingly, the Court
  struck this paragraph.
  49       Paragraph one hundred and forty-three of Mr. Charron’s statement of additional material facts
  also states, “Deputy Horning and her fellow deputies (Cyr and Mains) and her sergeant (Thistlewood)
  could clearly see and understand this.” PSAMF ¶ 143. By “this,” Mr. Charron is presumably referring
  to his theory set forth in the preceding paragraph that the tire treads disprove Christopher Moss’
  version of the accident. The County Defendants deny this paragraph as speculative argument that
  the Court should strike or disregard. DRPSAMF ¶ 143. Mr. Charron responds that the cited
  testimony supports that the four deputies could see and understand that the Sunfire was driven into
  the snowbank because a jury could properly disregard Deputy Horning’s testimony to the contrary.
  PRDRPSAMF ¶ 143. The Court reviewed the cited portions of the record and agrees with the County
  Defendants except as to Deputy Horning’s use of the word “irrelevant.” See Dep. of Horning at 27:06-
  09. The Court altered the paragraph to clarify the “irrelevant” comment and struck all other portions
  of this paragraph as speculation.

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  attempted to make contact with Mr. Pilvelait at his home on the evening of March 8,

  but no one answered the door. 50 DSMF ¶ 39; PRDSMF ¶ 39.

          Later on the same evening, Sergeant Steven Thistlewood, who was on duty as

  a patrol sergeant, received a call from Deputy Horning concerning the dispatch call

  she was responding to in the area of Langley Shores Drive. DSMF ¶ 75; PRDSMF

  ¶ 75.    Deputy Horning requested Sergeant Thistlewood’s assistance in making

  contact with Mr. Charron, and Sergeant Thistlewood provided backup to Deputy

  Horning. 51    DSMF ¶¶ 76, 78; PRDSMF ¶¶ 76, 78.                  Sergeant Thistlewood asked

  Deputy Heath Mains, who was on duty as a patrol deputy, to provide backup to

  Deputy Horning by responding to Langley Shores Drive as well, and Deputy Mains

  did so. 52 DSMF ¶¶ 67, 69; PRDSMF ¶¶ 67, 69. Sergeant Thistlewood and Deputy



  50       Mr. Charron’s qualification of the County Defendants’ paragraph thirty-nine is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 39, and the Court rejects it. See
  supra note 10.
  51       Mr. Charron qualifies the County Defendants’ paragraph seventy-six by stating that “[t]here
  was no intent to have any discussion with Mr. Charron” and that “[i]instead, all four deputies made
  contact with Mr. Charron with the sole purpose of arresting him.” PRDSMF ¶ 76. The Court reviewed
  the relevant portions of Sergeant Thistlewood’s deposition and affidavit. See Dep. of Thistlewood at
  10:01-05, 13:03-05; Aff. of Steven Thistlewood ¶ 4 (ECF No. 64) (Aff. of Thistlewood). Though there is
  no clear conflict between “making contact” and “having a discussion,” or for that matter “making
  contact” and “immediately arresting,” the Court altered the paragraph to reflect the deposition
  testimony, which Mr. Charron finds more favorable.
           Mr. Charron’s qualification of the County Defendants’ paragraph seventy-eight is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 78, and the Court rejects it. See
  supra note 10.
  52       Paragraph sixty-seven of the County Defendants’ statement of material facts asserts that
  Deputy Mains “was asked to assist Deputy Rachel Horning with regard to a call she was dealing with
  in the area of Buzzell Road in Acton, Maine.” DSMF ¶ 67. Mr. Charron qualifies this part of the
  paragraph because Deputy Mains reported to Langley Shores Drive with Sergeant Thistlewood rather
  than 250 Buzzell Road with Deputy Horning. PRDSMF ¶ 67. The Court reviewed the cited portions
  of the record, agrees with Mr. Charron, and altered the paragraph accordingly.
           Paragraph sixty-nine of the County Defendants’ statement of material facts states, “Deputy
  Mains provided backup to Deputy Horning with regard to the dispatch call for an incident in the area
  of Buzzell Road.” DSMF ¶ 69. Mr. Charron qualifies this statement for the same reason he qualifies
  the County Defendants’ paragraph sixty-seven. PRDSMF ¶ 69. The Court altered this statement to
  reflect the finding that Deputy Mains provided backup on Langley Shores Drive, not Buzzell Road.

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  Mains met up with Deputies Horning and Cyr at Mr. Pilvelait’s vehicle. Dep. of

  Thistlewood at 12:12-13:01.

         Looking at the evidence objectively after-the-fact, the two large gouge marks

  on the hood of the Sunfire do not correspond with any protrusions on Mr. Charron’s

  plow blade, which is a straight line where it allegedly scraped over the hood of the

  Sunfire. 53   PSAMF ¶ 153; DRPSAMF ¶ 153; PRDRPSAMF ¶ 153.                              During his

  deposition, Sergeant Thistlewood had no explanation for how Mr. Charron’s plow

  blade could have made the gouge marks on the hood of the Sunfire. 54 PSAMF ¶ 154;

  DRPSAMF ¶ 154. The two gouge marks do correspond to the two bolts and nuts that

  protrude from the underside of the rear bumper of Mr. Charron’s plow truck, and the

  two lines on the left and right of the gouge marks correspond to other protrusions on

  the underside of the truck’s rear bumper. 55 PSAMF ¶¶ 155-56; DRPSAMF ¶¶ 155-



  53       Mr. Charron asserts that the fact above “showed unmistakably that the allegations against
  Mr. Charron were false.” PSAMF ¶ 153. The County Defendants deny the whole paragraph, arguing
  that it contains speculative arguments rather than facts and that the Court should strike or disregard
  it. DRPSAMF ¶ 153. Mr. Charron responds that pointing out factual inconsistency is not argument.
  PRDRPSAMF ¶ 152. The Court agrees with the County Defendants that the inferences are
  speculative and not supported by the record. Accordingly, the Court struck this portion of Mr.
  Charron’s additional paragraph one hundred and fifty-three.
           The County Defendants’ additional reasons for denying Mr. Charron’s additional paragraph
  one hundred and fifty-three are argument outside the scope of the facts asserted in the statement,
  DRPSAMF ¶ 153, see supra note 10, and do not address whether the marks corresponded with the
  plow blade. The Court rejects them but altered the paragraph to make it clear this was not the stated
  observation of any of the deputies on the scene at the time.
  54       The County Defendants’ qualification of Mr. Charron’s additional paragraph one hundred and
  fifty-four is argument outside the scope of the facts asserted in the statement, DRPSAMF ¶ 154, and
  the Court rejects it. See supra note 10.
  55       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-
  five, arguing that it contains speculative arguments rather than facts and the Court should strike or
  disregard it. DRPSAMF ¶ 155. Mr. Charron responds that this paragraph “points out an obvious
  factual congruence.” PRDRPSAMF ¶ 155. The Court reviewed the cited portions of the record, agrees
  with Mr. Charron, and denies this qualification.
           The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-six,
  arguing that it contains speculative arguments rather than facts and the Court should strike or
  disregard it. DRPSAMF ¶ 156. Mr. Charron responds that this fact is “an obvious factual congruence

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  56; PRDRPSAMF ¶¶ 155-56. Sergeant Thistlewood later testified that he thought

  anyone could make the measurements regarding the marks on the Sunfire’s hood and

  the protrusions on the underside of the truck’s rear bumper. 56 Dep. of Thistlewood at

  42:24-43:25; PSAMF ¶ 157; DRPSAMF ¶ 157; PRDRPSAMF ¶ 157.

                  2.      John Charron’s Pickup Truck

          The four deputies then went to Mr. Charron’s residence, also on Langley

  Shores Drive, and observed a plow truck in Mr. Charron’s driveway that matched

  Christopher Moss’ description. 57 DSMF ¶ 40; PRDSMF ¶ 40. Deputy Horning took

  photographs of the plow attached to the truck in Mr. Charron’s driveway, and true

  and accurate copies of these photographs are attached to Deputy Horning’s affidavit

  as Exhibits Thirteen through Nineteen. DSMF ¶¶ 41-42; PRDSMF ¶¶ 41-42; PSAMF

  ¶ 160; DRPSAMF ¶ 160.

          Deputy Horning looked at the plow on Mr. Charron’s pickup. PSAMF ¶ 160;

  DRPSAMF ¶ 160. There was no damage to the front of Mr. Charron’s plow, including

  the plow blade. 58 PSAMF ¶ 159; DRPSAMF ¶ 159; PRDRPSAMF ¶ 159. Deputy



  . . ..” PRDRPSAMF ¶ 156. The Court reviewed the cited portions of the record, agrees with Mr.
  Charron, and rejects the qualification.
  56       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-
  seven, arguing that it contains speculative arguments rather than facts and that the Court should
  strike or disregard it. DRPSAMF ¶ 157. The County Defendants add that “the cited record evidence
  does not support the argument asserted by” Mr. Charron. DRPSAMF ¶ 157. Mr. Charron responds
  that, viewing the evidence in the light most favorable to him, the record supports this paragraph.
  PRDRPSAMF ¶ 157. The Court reviewed the cited portions of the record and found support for the
  general idea the paragraph conveys rather than the specific reference to an accident reconstructionist.
  The Court altered the paragraph accordingly.
  57       Mr. Charron qualifies the County Defendants’ paragraph forty by stating that all four
  deputies, rather than just Deputy Horning, went to Mr. Charron’s residence. PRDSMF ¶ 40. While
  the Court views this qualification as outside the scope of the facts, see supra note 10, the Court altered
  the paragraph for clarity purposes.
  58       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-
  nine, asserting that it contains speculative arguments and the Court should strike or disregard it.

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  Horning did not check to see how high the plow could be raised by asking Mr. Charron

  to demonstrate this, although she could have if he had not been immediately

  arrested. 59 PSAMF ¶ 161; DRPSAMF ¶ 161; PRDRPSAMF ¶ 161. Mr. Charron later

  showed that the maximum height of his plow’s lift mechanism does not reach the

  hood of another Pontiac Sunfire of the same make and model as the one involved in

  the present case. Local Rule 56(h) Joint Stipulated R., Attach. 3 at 18-20 (ECF No.

  61); PSAMF ¶ 159; DRPSAMF ¶ 159; PRDRPSAMF ¶ 159.

         Mr. Charron’s plow truck window was broken and there was glass on the

  ground beneath it, corresponding with Mr. Charron’s statement before his arrest that

  the other individuals had broken his truck’s window. 60 PSAMF ¶ 158; DRPSAMF



  DRPSAMF ¶ 159. Mr. Charron responds that the evidence shows no damage to the plow and that the
  plow cannot be lifted high enough to reach the hood of the Sunfire. The Court reviewed the cited
  portions of the record and, viewing the evidence in the light most favorable to Mr. Charron, agrees
  with Mr. Charron on both accounts. The Court denies the qualification and altered the second half of
  this paragraph slightly for clarity.
  59       The County Defendants qualify the part of Mr. Charron’s additional paragraph one hundred
  and sixty-one that states Deputy Horning could have asked Mr. Charron about the plow height if he
  had not been immediately arrested, arguing that it contains speculative arguments rather than facts
  and the Court should strike or disregard it. DRPSAMF ¶ 161. Mr. Charron responds that the cited
  evidence “fully supports the fact that she could have asked Charron to show how high his plow could
  be raised if he had not been immediately arrested.” The Court reviewed the cited portion of the record,
  agrees with Mr. Charron, and rejects the denial.
           Paragraph one hundred and sixty-two of Mr. Charron’s statement of additional material facts
  states, “[Deputy Horning’s] supervisor, Sergeant Thistlewood, knew from his own pickup with a
  hydraulic Fisher plow that the bottom of the plow blade cannot be raised high enough to be seen by
  him through his windshield.” PSAMF ¶ 162. The County Defendants deny this paragraph because
  the cited record testimony does not support its assertion. DRPSAMF ¶ 162. Mr. Charron responds
  that the record evidence fully supports the assertion. PRDRPSAMF ¶ 162. The Court reviewed the
  cited portion of the record, agrees with the County Defendants, and struck Mr. Charron’s additional
  paragraph one hundred and sixty-two.
  60       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and fifty-
  eight on the grounds that Mr. Charron’s affidavit cannot override his deposition testimony that he did
  not tell the four deputies that evening how his truck window was broken. DRPSAMF ¶ 158. They add
  that Mr. Charron’s statement is inadmissible hearsay and that this paragraph is argument the Court
  should strike or disregard. DRPSAMF ¶ 158. Mr. Charron’s response states that Deputy Cyr (though
  the Court infers from the portion of the record cited that Mr. Charron is actually referring to Deputy
  Mains) confirmed that Mr. Charron made this statement in his report and deposition. PRDRPSAMF
  ¶ 158. The Court reviewed the cited portions of the record, agrees with Mr. Charron, and denies the

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  ¶ 158; PRDRPSAMF ¶ 158. There was also glass from the windshield of the Sunfire

  on the rear bumper of Mr. Charron’s plow truck, which is visible in one of the photos

  that Deputy Shaw took and emailed to Deputy Horning. 61 PSAMF ¶ 163; DRPSAMF

  ¶ 163; PRDRPSAMF ¶ 163.

          F.      John Charron’s Arrest

          Deputy Horning spoke with Mr. Charron on the evening of March 8 and

  observed the odor of alcohol, bloodshot and glassy eyes, thick and slurred speech, and

  difficulty balancing while walking. 62 DSMF ¶¶ 43-44; PRDSMF ¶¶ 43-44; DRPSAMF

  ¶ 43; PRDRPSAMF ¶ 43.              Based on the totality of the circumstances and the

  information Deputy Horning had at the time she arrested Mr. Charron, Deputy

  Horning determined that she had probable cause to believe that Mr. Charron had


  qualification. The Court reworded the paragraph to better reflect the record. See JSR, Attach. 7, Dep.
  of Heath Mains at 37:14-16 (Dep. of Mains); Additional Attachs. at 91 (ECF No. 67).
  61       The County Defendants deny Mr. Charron’s additional paragraph one hundred and sixty-
  three, arguing that it contains speculative arguments rather than facts and the Court should strike or
  disregard it. DRPSAMF ¶ 163. The County Defendants add that “the cited record evidence does not
  support the argument asserted by” Mr. Charron. DRPSAMF ¶ 163. Mr. Charron responds that,
  viewed in the light most favorable to the non-movant, the record fully supports the assertion.
  PRDRPSAMF ¶ 163. The Court reviewed the record, agrees with Mr. Charron, and rejects the denial.
  See Local Rule 56(h) Joint Stipulated R., Attach. 4 at 25 (ECF No. 61).
  62       Mr. Charron denies the County Defendants’ paragraph forty-three, arguing that Deputy
  Horning made no claim during her deposition that Mr. Charron appeared intoxicated and that he was
  not intoxicated at the time. PRDSMF ¶ 43. He adds that none of the deputies spoke with Mr. Charron
  before he was arrested. PRDSMF ¶ 43. The County Defendants reply that the Court should strike or
  disregard the added statements in Mr. Charron’s denial pursuant to Local Rule 56(c). DRPSAMF
  ¶ 43. Mr. Charron further responds that his denial is responsive to the County Defendants’ paragraph
  forty-three. PRDRPSAMF ¶ 43. Concerning whether Mr. Charron spoke to the deputies prior to his
  arrest, Mr. Charron cannot assert contradictory facts to suit him in different circumstances. Since Mr.
  Charron asserted that he told Deputy Mains that Christopher Moss had broken his window before he
  was arrested, see supra note 60, the Court rejects his argument here that the four deputies did not
  hear him speak prior to his arrest. The cited portions of the record, as well as Deputy Horning’s arrest
  report, Horning Narrative at 1-2, support the statements in the paragraph, and Mr. Charron’s denial
  on the basis of new facts is argument outside the scope of the facts asserted in the statement. See
  supra note 10. The Court rejects the denial.
           Mr. Charron denies the County Defendants’ paragraph forty-four for similar reasons as he
  denies the County Defendants’ paragraph forty-three. PRDSMF ¶ 44. For the same reasons, the Court
  rejects this denial.

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  committed two offenses: aggravated reckless conduct, pursuant to 17-A M.R.S. § 213,

  and criminal threatening, pursuant to 17-A M.R.S. § 209. 63 DSMF ¶ 48; PRDSMF

  ¶ 48. Deputy Horning arrested Mr. Charron for aggravated reckless conduct and

  criminal threatening at approximately midnight between March 8 and March 9 and

  advised Mr. Charron that she was placing him under arrest for aggravated reckless

  conduct and criminal threatening. 64 DSMF ¶¶ 45, 49; PRDSMF ¶¶ 45, 49. Mr.

  Charron protested that he was innocent. 65                 PSAMF ¶ 188; DRPSAMF ¶ 188;

  PRDRPSAMF ¶ 188.             Deputy Horning wrote aggravated reckless conduct and

  criminal trespass, rather than criminal threatening, on the bail bond form she filled

  out at the York County Jail and wrote only aggravated reckless conduct on the

  Uniform Summons and Complaint. Additional Attachs. at 68-69 (ECF No. 67).




  63       Mr. Charron denies the County Defendants’ paragraph forty-eight by pointing to the lack of
  reference to “probable cause” in the criminal discovery, Deputy Horning’s deposition, or Sergeant
  Thistlewood’s deposition. PRDSMF ¶ 48. Mr. Charron’s assertion fails to challenge the paragraph
  because whether an officer has the subjective belief that she possesses probable cause does not depend
  on whether she wrote those words in her report. Thus, the Court rejects this denial.
  64       Mr. Charron denies the County Defendants’ paragraph forty-five, asserting that “Mr. Charron
  was immediately arrested without being told that he was being arrested for any particular crime” and
  that “Deputy Horning charged him with aggravated reckless conduct only.” PRDSMF ¶ 45. The
  accompanying citations may support Mr. Charron’s second assertion but not his first. Regardless,
  what Deputy Horning actually charged Mr. Charron with according to the bail bond form and the
  Uniform Summons and Complaint, see Additional Attachs. at 68-69 (ECF No. 67), does not establish
  what she told him during his arrest. Given the lack of direct contradictory evidence, the Court rejects
  the denial. The Court added a fact to this section to address the inconsistency on the paperwork.
           Mr. Charron’s qualification of the County Defendants’ paragraph forty-nine is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 49, and the Court rejects it. See
  supra note 10.
  65       Mr. Charron asserts in his additional paragraph one hundred and eighty-eight that Mr.
  Charron made protestations of innocence. PSAMF ¶ 188. The County Defendants qualify this
  paragraph, stating that it is argument and that the Court should strike or disregard it. DRPSAMF
  ¶ 188. Mr. Charron responds that his assertions are reasonable inferences. PRDRPSAMF ¶ 188. The
  Court notes that, while Mr. Charron does not cite to his affidavit here, he does elsewhere in his
  responses. See PRDSMF ¶ 43. The Court incorporates this citation and finds that, viewing the facts
  in the light most favorable to Mr. Charron, it supports the assertion that he told the four deputies he
  was innocent and “didn’t do anything” when they arrested him. See Aff. of Charron ¶ 20.

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          Deputies Mains and Cyr understood that Deputy Horning was the lead

  investigator with regard to the dispatch call for the incident in the area of Buzzell

  Road. DSMF ¶¶ 68, 72; PRDSMF ¶¶ 68, 72. Sergeant Thistlewood understood that

  Deputy Horning was the lead investigator with regard to the dispatch call for the

  incident in the area of Langley Shores Drive. DSMF ¶ 77; PRDSMF ¶ 77. Deputy

  Mains, Deputy Cyr, and Sergeant Thistlewood did not make the probable cause

  determination with regard to Mr. Charron’s arrest—to the best of their knowledge,

  Deputy Horning made that determination. 66 DSMF ¶¶ 70, 74, 79; PRDSMF ¶¶ 70,

  74, 79.

          Court Officer Wilfred Vachon was not present for the events of March 8 and 9

  in Acton surrounding Mr. Charron’s arrest, was not involved in these events, and had

  no contact with Mr. Charron on either day. DSMF ¶¶ 80-82; PRDSMF ¶¶ 80-82.

          G.      Post-Arrest Proceedings

                  1.     Post-Arrest Imprisonment and Conditions of Release

          After the arrest, Deputy Horning transported Mr. Charron from his residence

  to the York County Jail. DSMF ¶ 46; PRDSMF ¶ 46. Before his arrest, Mr. Charron

  did not make a statement to Deputy Horning and after his arrest, while at the jail,

  Deputy Horning asked Mr. Charron whether he would like to give a statement to her




  66      Mr. Charron qualifies the County Defendants’ paragraph seventy by asserting that “no
  probable cause determination was made by any of the deputies.” PRDSMF ¶ 70. The Court reviewed
  the cited portions of the record, agrees with the County Defendants, and rejects this qualification. See
  also supra note 63.
          Mr. Charron qualifies the County Defendants’ paragraphs seventy-four and seventy-nine for
  the same reasons he qualifies the County Defendants’ paragraph seventy. PRDSMF ¶¶ 74, 79.
  Applying the same logic, the Court rejects these qualifications.

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  and he declined. 67 DSMF ¶ 47; PRDSMF ¶ 47. The York County Jail released Mr.

  Charron the following morning, on March 9. 68 DSMF ¶ 52; PRDSMF ¶ 52. Following

  this release, Mr. Charron was not incarcerated or in custody at any point. DSMF

  ¶ 52; PRDSMF ¶ 52. Mr. Charron’s conditions of release included a $3000 bail and

  requirements that he not use or possess alcohol, drugs, or dangerous weapons

  including firearms and that he submit to searches of his person, vehicle, and

  residence at any time without articulable suspicion or probable cause. Additional

  Attachs. at 68 (ECF No. 67).

                  2.     Prosecution Proceedings

          York County Assistant District Attorney (ADA) Kyle Myska received the

  assignment of prosecuting the charges against Mr. Charron in this matter. DSMF

  ¶ 53; PRDSMF ¶ 53. Mr. Charron’s initial appearance in court on the charges in the

  initial criminal complaint occurred on April 25. 69 DSMF ¶ 54; PRDSMF ¶ 54. On



  67       The facts in the County Defendants’ paragraph forty-seven are very hard to piece together
  given the parties’ objections, citations to the record, and qualifications. DSMF ¶ 47; PRDSMF ¶ 47.
  What appears from the record is that Mr. Charron did not make a statement to Deputy Horning before
  his arrest. Dep. of Horning at 29:01-30:08. When he was at the police station, Deputy Horning asked
  him whether he would like to talk to her and he declined. Id. at 30:02-14; Pl.’s Second Suppl. Summ.
  J. R. Items, Attach. 1, Second Aff. of John Charron ¶ 2 (ECF No. 79) (Second Aff. of Charron).
           The parties have obscured this sequence of events. For example, the County Defendants say
  that Mr. Charron refused to provide a written sworn statement to Deputy Horning. DSMF ¶ 47. This
  is consistent with Deputy Horning’s sworn declaration. But it is not limited to time or place. Nor is it
  entirely consistent with Deputy Horning’s deposition testimony in which she testified that she asked
  Mr. Charron whether he would like to speak with her and he declined. In her deposition, she does not
  say that she asked him to give her a sworn statement, oral or written. Viewing the evidence in the
  light most favorable to Mr. Charron, the Court has rewritten the facts to conform to the record.
  68       Mr. Charron’s qualification of the County Defendants’ paragraph fifty-two is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 52. See supra note 10. Given the
  importance of the bail amount and conditions of release in Mr. Charron’s response to the analysis of
  this motion, however, the Court altered the paragraph to include these conditions.
  69       Mr. Charron’s qualification of the County Defendants’ paragraph fifty-four is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 54, and the Court rejects it. See supra
  note 10.

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  June 7, the grand jury returned a six-count indictment against Mr. Charron arising

  out of the events in this case. DSMF ¶ 55; PRDSMF ¶ 55. At the time ADA Myska

  submitted the case to the grand jury, the following facts were true:

         1.      ADA Myska was aware of Mr. Charron’s theory of the case—that Mr.

         Pilvelait’s car had hit Mr. Charron’s truck from behind, 70 DSMF ¶ 56;

         PRDSMF ¶ 56;

         2.      ADA Myska was aware of the location of the Sunfire, 71 DSMF ¶ 57;

         PRDSMF ¶ 57; and

         3.      the Sunfire was in the possession of Mr. Charron’s attorney, Gregory

         McCullough. DSMF ¶ 58; PRDSMF ¶ 58.

  ADA Myska dismissed the criminal case against Mr. Charron on July 22. DSMF

  ¶ 59; PRDSMF ¶ 59. Consequently, Mr. Charron never stood trial for the charges at

  issue in this case. 72 DSMF ¶ 60; PRDSMF ¶ 60.




  70      Mr. Charron’s qualification of the County Defendants’ paragraph fifty-six is argument outside
  the scope of the facts asserted in the statement, PRDSMF ¶ 56, and the Court rejects it. See supra
  note 10.
  71      Mr. Charron denies the County Defendants’ paragraph fifty-seven on the grounds that “there
  is no evidence indicating when the prosecutor submitted his case against Mr. Charron to the grand
  jury.” PRDSMF ¶ 57. The Court reviewed the cited portions of the record and notes that when ADA
  Myska sent his email regarding the Sunfire, he also discussed whether he was going to have Mr.
  Charron testify before the grand jury. Additional Attachs., Attach. 2 at 19 (ECF No. 67). The Court
  finds that ADA Myska had not yet submitted the case to the jury at the time of this email based on
  this discussion about Mr. Charron testifying. Accordingly, the court rejects the rationale for this
  denial.
          The reasoning of the remainder of Mr. Charron’s denial is argument outside the scope of the
  facts asserted in the statement, and the Court rejects it. See supra note 10.
  72      Mr. Charron qualification of the County Defendants’ paragraph sixty is argument outside the
  scope of the facts asserted in the statement, PRDSMF ¶ 60, and the Court rejects it. See supra note
  10.

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                 3.      Probable Cause Affidavits

         ADA Myska solicited probable cause affidavits from the four deputies in

  response to Attorney McCullough’s request for a probable cause hearing in the

  criminal case; these affidavits did not mention Mr. Charron saying he was innocent

  or other evidence that might have pointed to his innocence. 73                     PSAMF ¶ 188;

  DRPSAMF ¶ 188; PRDRPSAMF ¶ 188. The four deputies’ affidavits included, among

  others, the following statements:

         1.      Sergeant Thistlewood wrote that Deputy Horning told him she wanted

         the deputies “to speak” with Mr. Charron about the accident and that Mr.

         Charron was “refusing to cooperate” during his arrest, but Sergeant

         Thistlewood did not include that the four deputies did not interview Mr.

         Charron before the arrest and Mr. Charron said he was innocent at the scene, 74

         PSAMF ¶ 189; DRPSAMF ¶ 189; PRDRPSAMF ¶ 189;


  73       The second half of Mr. Charron’s additional paragraph one hundred and eighty-eight states,
  “but those affidavits failed to disclose the exculpatory evidence and circumstances known to the
  deputies, as noted above, including Mr. Charron’s protestations of innocence, and they falsely
  characterized what transpired.” PSAMF ¶ 188. The County Defendants qualify this part of the
  paragraph by referring to this portion of the paragraph as argument and asking the Court to strike or
  disregard it. DRPSAMF ¶ 188. Mr. Charron responds as he does to paragraphs one hundred and
  seventy-nine and one hundred and eighty. PRDRPSAMF ¶ 188. The Court rejects the County
  Defendant’s qualification because the affidavits do not in fact mention Mr. Charron’s claim of
  innocence or any other potentially exculpatory evidence. The Court altered this part of the paragraph
  to eliminate the unsupported claim that the affidavits “falsely characterized what transpired.”
  74       Paragraph one hundred and eighty-nine of Mr. Charron’s statement of additional material
  facts states, “For example, like Deputy Horning, Sergeant Thistlewood falsely stated that the deputies
  wanted ‘to speak’ with Mr. Charron when they went to his residence to arrest him, and falsely implied
  that they ‘spoke with’ or interviewed him prior to arresting him. In so doing, [Sergeant] Thistlewood
  falsely stated that Mr. Charron was ‘refusing to cooperate’ when the deputies immediately arrested
  him despite his protestations of innocence, which the physical evidence corroborated, unlike the
  implausible allegations against him.” PSAMF ¶ 189. The County Defendants qualify this paragraph,
  asserting that it is argument and that the Court should strike or disregard it. DRPSAMF ¶ 189. Mr.
  Charron responds as he does to paragraphs 179 and 180. PRDRPSAMF ¶ 189; see infra notes 95 and
  96. The Court reviewed the cited portion of the record, agrees with the County Defendants that some
  of the assertions are argument, and altered the paragraph accordingly. In particular, the Court

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         2.       Deputy Horning wrote that Mr. Charron was “slow to follow commands,”

         although she previously testified that she was not one of the deputies who

         physically made the arrest, PSAMF ¶ 190; DRPSAMF ¶ 190; PRDRPSAMF

         ¶ 190;

         3.       Deputy Mains wrote that he “observed” the Sunfire “pushed into the

         snow bank,” PSAMF ¶ 191; DRPSAMF ¶ 191; PRDRPSAMF ¶ 191;

         4.       Deputy Horning wrote that she could see that the Sunfire “had been

         struck by a plow and pushed into a snow banking down the street,” PSAMF

         ¶ 191; DRPSAMF ¶ 191; PRDRPSAMF ¶ 191;

         5.       Deputy Mains wrote that Mr. Charron was “very confrontational,”

         refused to provide any details about the events of the evening besides that

         people broke his truck’s window, and was unwilling “to speak” further about

         what happened to his truck window, but did not mention that Mr. Charron

         said he was innocent on the scene, PSAMF ¶¶ 192-93; DRPSAMF ¶¶ 192-93;

         PRDRPSAMF ¶¶ 192-93;

         6.       Deputy Cyr wrote about the collision without mentioning that

         Christopher Moss said Mr. Charron’s plow truck hit the Sunfire front first,

         PSAMF ¶ 194; DRPSAMF ¶ 194; PRDRPSAMF ¶ 194;




  eliminated all uses of the word “falsely” since the cited portions of the record do not support these
  statements being false.
          The Court applies the same logic to the County Defendants’ qualifications and Mr. Charron’s
  responses to those qualifications for Mr. Charron’s additional paragraphs one hundred and ninety
  through one hundred and ninety-nine. The Court altered these paragraphs to reflect the facts in the
  affidavits without the added argumentative language.

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          7.       Deputies Cyr and Horning wrote about the vehicle debris without

          specifying where they saw it, PSAMF ¶ 195; DRPSAMF ¶ 195; PRDRPSAMF

          ¶ 195;

          8.       Deputy Cyr wrote that the “damage on the hood” of the Sunfire

          “appeared to be consistent with Christopher[] [Moss’] account of the event,”

          PSAMF ¶ 196; DRPSAMF ¶ 196; PRDRPSAMF ¶ 196;

          9.       Deputy     Cyr     wrote     that     Mr.    Charron      was     “argumentative,”

          “confrontational,” and “smelled of intoxicants,” and did not mention any

          contradictions between Walter Moss’ and Christopher Moss’ statements,

          PSAMF ¶¶ 197-98; DRPSAMF ¶¶ 197-98; PRDRPSAMF ¶¶ 197-98; and

          10.      Deputy Horning wrote that she was attaching witness statements from

          Mr. Pilvelait and Christopher Moss to her affidavit. PSAMF ¶ 199; DRPSAMF

          ¶ 199; PRDRPSAMF ¶ 199.

                   4.     Sheriff William King’s Press Release and Facebook Post

          Sheriff William King prepared a press release pertaining to Mr. Charron’s

  arrest on March 8 or March 9. 75 DSMF ¶ 61; PRDSMF ¶ 61. He posted the press


  75      Paragraph sixty-one of the County Defendants’ statement of material facts asserts that Sheriff
  King prepared the press release “at approximately midnight between March 8, 2016 and March 9,
  2016.” DSMF ¶ 61. Mr. Charron qualifies this paragraph by stating that “[t]here is no evidence cited
  as to when the press release was prepared” but that “Sheriff King asked Deputy Horning by email on
  March 9, 2016, at 9:14 PM to ‘fact-check’ the press release and to provide a photo of the Sunfire for it”
  and “[t]he press release . . . was posted on the York County Sheriff’s Facebook page and in the Portland
  Press Herald on [March 9].” PRDSMF ¶ 61. The Court reviewed the cited portions of the record,
  agrees with Mr. Charron as to the lack of evidence about when the press release was prepared and the
  publication date of the Facebook post, and altered the paragraph to reflect this qualification. As to the
  email, while Sheriff King did send an email to Deputy Horning asking her to fact check the press
  release on the evening of March 9, Dep. of Horning at 80:5-13, this fact does not mean that Sheriff
  King did not prepare a draft of the press release on March 8.
          Mr. Charron’s further qualification of paragraph sixty-one is argument outside the scope of
  the facts asserted in the statement, PRDSMF ¶ 61, and the Court rejects it. See supra note 10.

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  release information about Mr. Charon’s arrest on the York County Sheriff’s Office’s

  Facebook page on March 9. 76 DSMF ¶ 63; PRDSMF ¶ 63. True copies of the press

  release prepared by Sheriff King and the Facebook post are attached to Sheriff King’s

  deposition as Exhibits Seven and Two, respectively. 77 DSMF ¶¶ 62, 64; PRDSMF

  ¶¶ 62-64. The York County Sheriff’s Office habitually puts news releases on the

  Office’s Facebook page for transparency and to let people know the Office’s activities;

  Sheriff King made his March 9 post about Mr. Charron pursuant to an office policy

  to keep the public informed of the office’s activities. 78 DSMF ¶¶ 65-66; PRDSMF

  ¶¶ 65-66.

                 5.      Recovery of the Sunfire

         Rankin Towing towed the Pontiac Sunfire from where it was found. 79 DSMF

  ¶ 50; PRDSMF ¶ 50. None of the County Defendants claims to know who took the



  76       Paragraph sixty-three of the County Defendants’ statement of material facts asserts that
  Sheriff King posted the press release on the Facebook page “at approximately midnight between March
  8, 2016 and March 9, 2016 . . ..” DSMF ¶ 63. Mr. Charron qualifies this paragraph for the same reason
  he qualifies the County Defendants’ paragraph sixty-one. PRDSMF ¶ 63; see supra note 75. The Court
  finds that the Facebook post is dated March 9, Local Rule 56(h) Joint Stipulated R., Attach. 6 at 1
  (ECF No. 62) (Dep. of King Exs.), and altered the paragraph accordingly.
  77       Paragraph sixty-four of the County Defendants’ statement of material facts states that the
  copy of the Facebook post “was marked as Exhibit 7 to Sheriff King’s deposition.” DSMF ¶ 64. Mr.
  Charron qualifies this statement by pointing out that “[t]he York County Sheriff’s Office Facebook
  posting is marked as Exhibit 2 to Sheriff King’s deposition.” PRDSMF ¶ 64. The Court reviewed the
  cited portions of the record, agrees with Mr. Charron, and altered the paragraph accordingly.
  78       Mr. Charron’s denials of the County Defendants’ paragraphs sixty-five and sixty-six are
  argument outside the scope of the facts asserted in the statements, PRDSMF ¶¶ 65-66, and the Court
  rejects them. See supra note 10.
  79       Paragraph fifty-one of the County Defendants’ statement of material facts states that “[t]he
  fact that the Pontiac Sunfire was towed from where it was found by Rankin Towing was noted in
  Deputy Horning’s arrest report.” DSMF ¶ 51. Mr. Charron qualifies this statement by pointing out
  that “[t]he only reference to Rankin Towing in the arrest report is in connection with Mr. Charron’s
  truck.” PRDSMF ¶ 51. The Court reviewed the cited portions of the record and agrees with Mr.
  Charron that Deputy Horning’s arrest report does not state that Rankin Towing towed the Pontiac
  Sunfire. Additional Attachs. at 70-75 (ECF No. 67). The Court finds that, even if Mr. Charron is right
  that the connection between Rankin Towing and Mr. Charron’s truck is a “clerical error,” PRDSMF
  ¶ 51, it is an error nonetheless. Accordingly, the Court struck paragraph fifty-one.

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  daytime photos of the Sunfire that Deputy Horning uploaded into the Sheriff’s Office

  Information Management Corporation (IMC) system on March 11 at 6:29-6:30 p.m.

  PSAMF ¶ 164; DRPSAMF ¶ 164.

          Mr. Charron knew that the Sunfire would prove his innocence, if found, but it

  could not be located even with the assistance of ADA Myska and the court in the

  criminal case. PSAMF ¶ 165; DRPSAMF ¶ 165; PRDRPSAMF ¶ 165.                                       Deputy

  Horning testified that when she was asked to check on the whereabouts of the Sunfire

  by a superior officer, she contacted Mr. Pilvelait and he told her that he did not want

  to pay the storage fees so he sold it for salvage. 80 PSAMF ¶ 165; DRPSAMF ¶ 165;

  PRDRPSAMF ¶ 165. Deputy Horning and Court Officer Vachon told ADA Myska

  that Mr. Pilvelait sold it to a junkyard as salvage. 81 PSAMF ¶ 165; DRPSAMF ¶ 165;

  PRDRPSAMF ¶ 165. ADA Myska asked, “which junkyard,” but he never received a

  response, and Deputy Horning testified that she had “no idea” at which junkyard the

  Sunfire was located. 82 PSAMF ¶ 166; DRPSAMF ¶ 166; PRDRPSAMF ¶ 166.


  80        Mr. Charron objects to this statement by Mr. Pilvelait on the ground that it is hearsay if offered
  for the truth of the matter asserted. PRDRPSAMF ¶ 165. The Court has not included this statement
  for its truth. Deputy Horning would presumably not have known whether what Mr. Pilvelait told her
  about the Sunfire was true. Rather, the Court included the statement because it is the foundation for
  why Deputy Horning told ADA Myska that Mr. Pilvelait had sold the Sunfire for salvage.
  81        The County Defendants qualify Mr. Charron’s additional paragraph one hundred and sixty-
  five, stating that Mr. Pilvelait told Deputy Horning he had sold the Sunfire for salvage and Court
  Officer Vachon relayed this information to ADA Myska, but that everything else in the paragraph is
  argument that the Court should strike or disregard. DRPSAMF ¶ 165. Mr. Charron responds that
  the County Defendants’ qualification relies on hearsay and that none of it changes his assertions.
  PRDRPSAMF ¶ 165; see supra note 80.
            The Court reviewed the cited portions of the record and finds support for all assertions in the
  paragraph except the words “falsely” and “gone,” which the Court struck.
  82        The County Defendants qualify Mr. Charron’s additional paragraph one hundred and sixty-
  six, stating that the evidence does not support the assertion that ADA Myska did not receive a response
  and that Deputy Horning did know the Sunfire was sold for salvage. DRPSAMF ¶ 166. Mr. Charron
  responds that ADA Myska’s question was the end of an email thread and it is reasonable to infer that
  he did not get a response. PRDRPSAMF ¶ 166. The Court reviewed the cited portions of the record
  and agrees with Mr. Charron as to the response inference. The Court views Deputy Horning’s

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         Mr. Charron contacted the tow truck operator, Jack Rankin, in an effort to find

  out where the Sunfire might be; Mr. Rankin and his son said they did not know where

  it was, and Mr. Charron would never find it. 83 PSAMF ¶ 167; DRPSAMF ¶ 167;

  PRDRPSAMF ¶ 167. Mr. Charron was suspicious, so he spoke with someone who

  informed him that Mr. Rankin has garage space at Moody’s Collision in Sanford,

  Maine. PSAMF ¶ 167; DRPSAMF ¶ 167; PRDRPSAMF ¶ 167. Mr. Charron went to

  Moody’s Collision in Sanford after court on April 25 and discovered the Sunfire in the

  rear of one of the two garage bays used by Mr. Rankin at that location. 84 PSAMF

  ¶ 168; DRPSAMF ¶ 168; PRDRPSAMF ¶ 168. Deputy Horning and Sheriff King both

  believed that Mr. Charron was trespassing when he discovered the Sunfire. 85

  PSAMF ¶ 169; DRPSAMF ¶ 169; PRDRPSAMF ¶ 169.


  statement as taken out of context and altered the paragraph to reflect more clearly what Deputy
  Horning meant when she said she did not know where the Sunfire was.
  83       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and sixty-
  seven, arguing that the statements within the paragraph are inadmissible hearsay and the Court
  should strike or disregard them. DRPSAMF ¶ 167. Mr. Charron responds that the statements are
  not being admitted for the truth of the matter asserted because other facts show these statements to
  be true. PRDRPSAMF ¶ 167. While not argued by Mr. Charron, the Court sees the purpose of these
  statements as showing the effect on the listener since they motivated Mr. Charron to investigate
  further. Thus, the Court views them in this way and allows them, though not for their truth.
  84       Paragraph one hundred and sixty-eight of Mr. Charron’s statement of additional material facts
  states that the Sunfire was “hidden” in the rear of the garage. PSAMF ¶ 168. The County Defendants
  qualify this portion of the paragraph, asserting that the word “hidden” is argumentative and that the
  Court should strike or disregard the word. DRPSAMF ¶ 168. Mr. Charron responds that he is entitled
  to the inference that the Sunfire was “hidden” based on the evidence cited in paragraphs one hundred
  and sixty-eight through one hundred and seventy-three. PRDRPSAMF ¶ 168. The Court agrees with
  the County Defendants that the word “hidden” is argumentative and there is no direct evidence
  proving the Sunfire was hidden intentionally. In fact, Mr. Charron himself provides an alternative
  reason for the Sunfire being inside. See PSAMF ¶ 172. The Court also notes that even if Mr. Rankin
  had been hiding the Sunfire, this fact would have no bearing on the analysis of Mr. Charron’s malicious
  prosecution claims against the County Defendant unless there were evidence that Mr. Rankin did so
  at the direction of the County Defendants, and there is no such evidence. The Court struck the word
  “hidden” from the paragraph.
  85       Paragraph one hundred and sixty-nine of Mr. Charron’s statement of additional material facts
  states in full, “Deputy Horning and Sheriff King both confirmed that the Sunfire was effectively
  hidden, as they believed that Mr. Charron was trespassing when he discovered the Sunfire.” PSAMF
  ¶ 169. The County Defendants deny this paragraph, arguing that “the cited record evidence does not

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          The tow truck operator, Mr. Rankin, testified that he did not know where the

  daytime photos of the Sunfire were taken, even though he believed the Sunfire stayed

  in his possession at Moody’s Collision after he towed it from the scene. PSAMF ¶ 170;

  DRPSAMF ¶ 170. He added that he was “not going to incriminate himself” regarding

  the daytime photographs. PSAMF ¶ 173; DRPSAMF ¶ 173. He testified that he kept

  the Sunfire outside for a few days and then put it inside the garage where Mr.

  Charron found it because he had to keep it that way after he learned that this was

  “going to turn into a—probably a legal thing . . ..” PSAMF ¶¶ 171-72; DRPSAMF

  ¶¶ 171-72; PRDRPSAMF ¶ 172. Mr. Rankin said he could not remember who he

  learned this from. 86 PSAMF ¶ 172; DRPSAMF ¶ 172; PRDRPSAMF ¶ 172.

          Mr. Charron was concerned that the Sunfire might be moved or destroyed, so

  he did his best to keep a constant eye on it, risking a trespassing charge, while his

  attorney did what he could do to secure the Sunfire. PSAMF ¶ 174; DRPSAMF ¶ 174.

  After issuing a subpoena, Attorney McCullough purchased the Sunfire from Mr.




  support the assertion that Deputy Horning or Sheriff King confirmed that the vehicle was hidden” and
  that the assertions are argument the Court should disregard or strike. DRPSAMF ¶ 169. Mr. Charron
  responds that a jury could infer that the belief of trespassing meant the Sunfire was hidden.
  PRDRPSAMF ¶ 169. The Court agrees with the County Defendants and struck the portion of this
  paragraph related to the Sunfire being hidden. The Court finds record support for the remainder of
  the paragraph and keeps it.
  86       Paragraph one hundred and seventy-two of Mr. Charron’s statement of additional material
  facts also asserts that Mr. Rankin “could not explain who, other than the Sheriff’s Office, he could have
  learned this from.” PSAMF ¶ 172. The County Defendants qualify this paragraph, arguing that “the
  cited record evidence does not support the assertion that ‘[Mr. Rankin] could not explain who, other
  than the Sheriff’s Office, he could have learned this from.’” DRPSAMF ¶ 172. Mr. Charron responds
  that he is entitled to the inference made in his assertion. PRDRPSAMF ¶ 172. The Court agrees with
  the County Defendants and struck this portion of the paragraph as unsupported, even when viewing
  it in the light most favorable to Mr. Charron.

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  Rankin, who Mr. Charron believed planned to scrap it, so that it could be preserved. 87

  PSAMF ¶ 174; DRPSAMF ¶ 174; PRDRPSAMF ¶ 174.

          In June, ADA Myska showed a willingness to inspect the Sunfire but requested

  time to arrange this with a sheriff’s deputy. 88 PSAMF ¶ 175; DRPSAMF ¶ 175;

  PRDRPSAMF ¶ 175. At around the same time, ADA Myska also sought to disqualify

  Attorney McCullough as counsel for Mr. Charron. PSAMF ¶ 175; DRPSAMF ¶ 175;

  PRDRPSAMF ¶ 175. A month later, on July 22, ADA Myska dismissed the case “in

  the interest of justice” after the State Police agreed that the Sunfire rear-ended Mr.

  Charron’s truck. 89 PSAMF ¶ 176; DRPSAMF ¶ 176; PRDRPSAMF ¶ 176.


  87       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and seventy-
  four by arguing that the statement about Mr. Rankin’s plan to scrap the vehicle is inadmissible
  hearsay the Court should disregard or strike. DRPSAMF ¶ 174. Mr. Charron responds that Mr.
  Rankin’s plan to scrap the Sunfire is admissible under the state of mind exception to the hearsay rule.
  PRDRPSAMF ¶ 174 (citing FED. R. EVID. 803(3)). The Court views the question of whether Mr. Rankin
  did in fact intend to scrap the Sunfire as hearsay if offered for the truth of the statement. However,
  the Court included the statement, not for its truth, but for its influence on Mr. Charron’s state of mind,
  because it explains his conduct in reaction to his concern that the Sunfire would be destroyed.
  88       Paragraph one hundred and seventy-five of Mr. Charron’s statement of additional material
  facts asserts that “[a]fter receiving the bound document on June 13, 2016, including photos
  establishing that the Sunfire rear-ended Mr. Charron’s truck, the prosecutor showed a willingness to
  inspect the vehicle, but he needed more time to arrange this with a deputy.” PSAMF ¶ 175. It
  continues, “[a]t the same time, [ADA Myska] sought to disqualify defense counsel, expressing
  skepticism about the information supplied.” PSAMF ¶ 175. The County Defendants qualify this
  paragraph by stating that, other than ADA Myska moving to disqualify Attorney McCullough, the
  assertions are speculative argument the Court should strike or disregard. DRPSAMF ¶ 175. They
  add that ADA Myska’s motion to disqualify “reflects that [he] understood [Mr. Charron’s] arguments
  in defense of the charges.” DRPSAMF ¶ 175. Mr. Charron responds to this added fact but not the
  other qualifications. PRDRPSAMF ¶ 175. The Court reviewed the cited portions of the record and
  does not find support for multiple assertions. The cited emails were sent before June 13. Pl.’s Second
  Suppl. Summ. J. R. Items, Attach. 2, Second Aff. of Gregory McCullough at 54-55 (ECF No. 79). Also,
  ADA Myska based his motion to disqualify on the likelihood that Attorney McCullough would have to
  testify at trial because of his involvement in procuring evidence. Additional Attachs. at 7-8 (ECF No.
  67). The Court altered the paragraph accordingly.
  89       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and seventy-
  six by stating that the State Police agreeing that the Sunfire rear-ended Mr. Charron’s truck is
  inadmissible hearsay the Court should strike or disregard. DRPSAMF ¶ 176. Mr. Charron responds
  that this statement “is not offered for the truth of the matter asserted, but to show that the prosecutor
  needed to hear this from law enforcement to accept it.” PRDRPSAMF ¶ 176. The Court agrees with
  Mr. Charron that the State Police’s view of the crash is being used here to show its effect on ADA
  Myska. The Court rejects the qualification accordingly.

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                  6.      John LeBlanc’s Observations

          Mr. LeBlanc was not present when the Sunfire rear-ended Mr. Charron’s truck

  in front of Mr. LeBlanc’s house, but he observed physical evidence of the collision the

  next day. 90         PSAMF ¶¶ 116-17; DRPSAMF ¶ 116-17; PRDRPSAMF ¶ 117.

  Specifically, a planter barrel at the corner of his driveway was knocked from this

  location into the middle of Mr. LeBlanc’s driveway and the damage to the Sunfire’s

  right rear bumper was consistent with striking the planter barrel. 91 PSAMF ¶ 118;

  DRPSAMF ¶ 118; PRDRPSAMF ¶ 118. There were tire tracks in this location and

  there was glass in the road, which Mr. LeBlanc and Mr. Charron attributed to being

  from the windshield of the Sunfire where it broke when the Sunfire crashed into Mr.

  Charron’s truck’s rear bumper. 92 PSAMF ¶¶ 102, 119-20; DRPSAMF ¶¶ 102, 119-


  90       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and
  seventeen by stating that “[s]ince Mr. LeBlanc admits he was not present for the accident, he has no
  personal knowledge upon which to identify ‘physical evidence’ of the accident.” DRPSAMF ¶ 117.
  They ask the Court to strike or disregard the statement as speculation. DRPSAMF ¶ 117. Mr.
  Charron responds that the County Defendants’ objection “ignores their admission of the facts stated
  in paragraph 101 . . . and the summary judgment standard,” that “[p]aragraph 3 of [Mr.] LeBlanc’s
  affidavit incorporates by reference the information in the email attached to his affidavit as Exhibit A,”
  and that “[t]hat information, coupled with the other record evidence . . ., supports the inference that
  he observed physical evidence of the collision that had occurred the night before.” PRDRPSAMF ¶ 117.
  The Court reviewed the cited portions of the record, agrees with Mr. Charron that one can reasonably
  infer from the location of the collision and the photos of Mr. LeBlanc that Mr. LeBlanc saw physical
  evidence of the collision, and rejects the County Defendants’ qualification.
  91       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and eighteen
  by arguing that it is both hearsay and speculation and the Court should strike or disregard it.
  DRPSAMF ¶ 118. They add that Mr. Charron’s “assertions pertaining to what the referenced
  photograph shows [are] nothing more than argument, which should be stricken or disregarded as
  immaterial for the purposes of summary judgment.” DRPSAMF ¶ 118. Mr. Charron responds that
  there is no hearsay issue and “it is not ‘speculative’ or ‘argument’ to infer that the dent in the right
  corner of the Sunfire’s rear bumper came from the plant barrel being knocked from its location prior
  to the collision, or that the dent is ‘consistent with’ this inference.” PRDRPSAMF ¶ 118. The Court
  finds that, given Mr. LeBlanc’s affidavit, Pl.’s Suppl. Summ J. R. Items, Attach. 2, Aff. of John LeBlanc
  ¶ 3 (ECF No. 74), the statement is not hearsay. The Court agrees with Mr. Charron that a factfinder
  could permissibly infer that the damage to the Sunfire was consistent with striking the planter barrel
  and therefore rejects the County Defendants’ qualification.
  92       Paragraph one hundred and nineteen of Mr. Charron’s statement of additional material facts
  also states that the tire tracks are “consistent with the Sunfire backing into and through the planter

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  20; PRDRPSAMF ¶¶ 102, 119-20. There was also debris on both sides of Langley

  Shores Drive adjacent to Mr. LeBlanc’s property, which Mr. LeBlanc attributed to the

  Sunfire. 93 PSAMF ¶ 121; DRPSAMF ¶ 121; PRDRPSAMF ¶ 121.




  barrel as the Sunfire and Mr. Charron’s truck pulled away from each other after being connected
  during the collision.” PSAMF ¶ 119. The County Defendants qualify this paragraph for the same
  reasons as paragraph one hundred and eighteen, and Mr. Charron responds by referring to paragraphs
  one hundred and seventeen and one hundred and eighteen and arguing that Mr. Charron “is entitled
  to” the reasonable inference contained in this paragraph. DRPSAMF ¶ 119; PRDRPSAMF ¶ 119.
  Applying the same reasoning as above in footnote 91, the Court reviewed the cited portions of the
  record and finds that the statement is not hearsay but the record does not contain sufficient evidence
  to support a reasonable inference that the tire tracks were necessarily caused by any particular vehicle
  at any particular moment. The Court struck the part of the paragraph that posits that tire tracks are
  consistent with the Sunfire backing into the planter barrel and Mr. Charron’s truck pulling away from
  the collision.
           Paragraph one hundred and twenty of Mr. Charron’s statement of additional material facts
  states that the glass was “apparently from the windshield of the Sunfire, where its windshield broke
  when it crashed into the rear bumper of Mr. Charron’s truck.” PSAMF ¶ 120. The County Defendants
  qualify this paragraph by arguing that “[s]ince Mr. LeBlanc admits he was not present for the accident,
  he has no personal knowledge upon which to identify ‘physical evidence’ of the accident.” DRPSAMF
  ¶ 120. They ask the Court to strike or disregard the statement as speculation. DRPSAMF ¶ 120.
  They add that “since [Mr. Charron] never exited his vehicle at the time of the collision and did not
  view the area in question until after he was[ ]released from jail, he is speculating as to the source of
  the glass on the road.” DRPSAMF ¶ 120. Mr. Charron responds by referring to his responses to the
  County Defendants’ objections to paragraphs one hundred and two and one hundred and seventeen
  through one hundred and nineteen and asserting that “[t]here is a reasonable inference that the glass
  in the road which [Mr.] Charron observed the day after the collision came from the Sunfire.”
  PRDRPSAMF ¶ 120. The Court reviewed the cited portions of the record and finds that it is reasonable
  for Mr. Charron and Mr. LeBlanc to infer that the glass they saw was from the Sunfire and that, given
  Mr. Charron’s additional paragraph one hundred and two, it is reasonable to infer that the glass was
  from when the windshield broke after the Sunfire crashed into Mr. Charron’s truck’s rear bumper.
  The Court edited the paragraph to clarify that Mr. Charron and Mr. LeBlanc are the people attributing
  the glass to the Sunfire’s windshield.
  93       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and twenty-
  one as speculation and hearsay and ask the Court to strike or disregard it. DRPSAMF ¶ 121. Mr.
  Charron responds by citing his responses to the County Defendants’ objections to his additional
  paragraphs one hundred and seventeen through one hundred and twenty and arguing that the
  statement is a reasonable inference. PRDRPSAMF ¶ 121. While Mr. Charron does not cite Mr.
  LeBlanc’s affidavit in this paragraph, he cites the same document attachment and cites the affidavit
  in additional paragraph one hundred and twenty. Thus, the Court finds that the paragraph is not
  hearsay. See supra note 91. Moreover, the Court determines that it is a reasonable inference to
  assume the debris is from the Sunfire, especially given Mr. Charron’s additional paragraph one
  hundred and twenty-two and the corresponding record citations. See supra note 45. The Court altered
  the paragraph to clarify that Mr. LeBlanc is the person making this inference.

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         H.      York County’s Member Coverage Certificate

         For the entirety of 2016, York County was a member of the Maine County

  Commissioners’ Association Self-Funded Risk Management Pool.                           DSMF ¶ 83;

  PRDSMF ¶ 83. The Member Coverage Certificate issued to York County for this time

  period describes the coverage available to York County under the Risk Management

  Pool, and a true and accurate copy of the Coverage Certificate for 2016 is attached to

  Greg Zinser’s affidavit as Exhibit One. DSMF ¶¶ 84-85; PRDSMF ¶¶ 84-85. The

  Coverage Certificate contains a provision that states that the coverage it provides

  does not extend to areas in which York County is immune under the Maine Tort

  Claims Act.      DSMF ¶ 86; PRDSMF ¶ 86.               In addition, the Coverage Certificate

  provides that the coverage does not effect a waiver of the immunities afforded to York

  County under the Maine Tort Claims Act. DSMF ¶ 87; PRDSMF ¶ 87. Apart from

  the coverage afforded by the Risk Management Pool, York County (including its

  operations at the York County Sheriff’s Office) did not have any liability insurance

  coverage for the calendar year 2016. DSMF ¶ 88; PRDSMF ¶ 88.

         I.      York County Policies

         When an allegation of misconduct against the York County Sheriff’s Office is

  filed, County Manager Gregory Zinser does not determine whether the allegation is

  true or false. 94 PSAMF ¶ 178; DRPSAMF ¶ 178; PRDRPSAMF ¶ 178. Similarly, Mr.


  94       Paragraph one hundred and seventy-eight of Mr. Charron’s statement of additional material
  facts states, “The County does not concern itself with whether allegations of misconduct by the Sheriff
  and his deputies are true.” PSAMF ¶ 178. The County Defendants deny this paragraph, asserting
  that it is argument and unsupported by the record and the Court should strike or disregard it.
  DRPSAMF ¶ 178. The County Defendants also mention that the adjudicatory process makes
  determinations regarding whether anything improper occurred. DRPSAMF ¶ 178. Mr. Charron
  responds that a jury could infer from the cited evidence that York County has a policy of deliberate

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  Zinser does not personally review allegations against Sheriff King when they come in

  to see if he thinks Sheriff King acted properly. 95 PSAMF ¶ 180; DRPSAMF ¶ 180;

  PRDRPSAMF ¶ 180. Rather, he sends the notice of claim to the risk pool and it goes

  through an adjudicative process in court. Dep. of Zinser at 13:2-5, 42:17-21.




  indifference in this context. PRDRPSAMF ¶ 178. The Court reviewed the cited portions of the record,
  finds that Mr. Charron misstates what Mr. Zinser said, and altered the paragraph accordingly. The
  paragraph still asserts a fact so the Court rejects the complete denial.
           Paragraph one hundred and seventy-seven of Mr. Charron’s statement of additional material
  facts states, “As a result of discovery in this case, [Mr. Charron] has learned that the County of York
  has a policy of deliberate indifference relative to allegations of misconduct against the York County
  Sheriff and his deputies.” PSAMF ¶ 177. The County Defendants deny this paragraph, asserting that
  it is argument and unsupported by the record and the Court should strike or disregard it. DRPSAMF
  ¶ 177. The County Defendants also mention what happens when the Sheriff’s Office receives an
  allegation of misconduct. DRPSAMF ¶ 177. Mr. Charron responds that a jury could infer from the
  cited evidence that York County has a policy of deliberate indifference in this context. PRDRPSAMF
  ¶ 177. The Court reviewed the cited portions of the record, agrees with the County Defendants, and
  struck this paragraph as argument.
  95       Paragraph one hundred and eighty of Mr. Charron’s statement of additional material facts
  attributes the lack of review to York County as a whole. PSAMF ¶ 180. The County Defendants
  qualify this paragraph by asserting that “Mr. Zinser testified that allegations of misconduct by the
  Sheriff’s Department are promptly forwarded to the County’s risk pool for review and action” and “Mr.
  Zinser also indicated that when notices of claims are received, determinations as to whether anything
  improper occurred are made through the adjudicatory process in court.” DRPSAMF ¶ 180. Mr.
  Charron responds that this qualification does not contradict his additional paragraph one hundred
  and eighty if viewed in the light most favorable to him. PRDRPSAMF ¶ 180. The Court reviewed the
  cited portion of the record and agrees with the County Defendants that Mr. Charron is misattributing
  Mr. Zinser’s role to the whole County and leaving out measures York County takes in reviewing these
  allegations. See Local Rule 56(h) Joint Stipulated R., Attach. 2, Dep. of Gregory T. Zinser at 12:03-
  13:05, 16:05-16; 42:17-21 (ECF No. 60) (Dep. of Zinser). The Court altered and supplemented the
  paragraph to more accurately reflect Mr. Zinser’s testimony.
           Paragraph one hundred and eighty-one asserts that “[w]hen the County of York receives a
  notice of claim alleging misconduct by the Sheriff or his deputies, the County does not share the notice
  or the allegations with the Sheriff. Thus, the Sheriff is not made aware of any such misconduct when
  a notice of claim is not served upon him, as in this case. As a result, no correction or remedial action,
  that would otherwise occur, can occur.” PSAMF ¶ 181 (internal citations omitted). The County
  Defendants qualify this paragraph, arguing that the cited record materials do not support its
  assertions because “Sheriff King testified that he generally receives the notices of claim served on the
  County that involve the sheriff’s office,” the paragraph contains speculative argument, and the Court
  should strike or disregard it. DPRSAMF ¶ 181. Mr. Charron responds that Sheriff King said he gets
  “some” of the notices and “[t]here is a reasonable inference that he only gets the ones with which he is
  formally served.” PRDRPSAMF ¶ 181. The Court reviewed the cited portions of the record, finds no
  support for any of the assertions in the paragraph, and struck it.

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          Mr. Zinser is aware of Sheriff King’s policy of posting information on Facebook

  and is indifferent to whether this information is on the internet. 96 PSAMF ¶ 179;

  DRPSAMF ¶ 179; PRDRPSAMF ¶ 179. Additionally, Mr. Zinser does not involve

  himself in the internal investigations of Sheriff King’s deputies unless there is an

  employee grievance. 97 PSAMF ¶ 182; DRPSAMF ¶ 182; PRDRPSAMF ¶ 182. Mr.

  Zinser testified that he is unaware of any meritorious claims against Sheriff King or

  his deputies currently or in the past. 98                  PSAMF ¶ 183; DRPSAMF ¶ 183;

  PRDRPSAMF ¶ 183.


  96       Paragraph one hundred and seventy-nine of Mr. Charron’s statement of additional material
  facts states in full, “Similarly, the County is aware of the Sheriff’s policy of posting information on
  Facebook, but the County is ‘indifferent’ as to whether that information is true or false.” PSAMF
  ¶ 179. The County Defendants deny this paragraph, arguing that it is argument the Court should
  strike or disregard and that Mr. Charron is misinterpreting the use of “indifferent.” DRPSAMF ¶ 179.
  Mr. Charron responds that a reasonable inference supports his interpretation of the use of
  “indifferent.” PRDRPSAMF ¶ 179. The Court reviewed the record, agrees with the County
  Defendants, and altered the paragraph to clarify the context of the word “indifferent.” See Dep. of
  Zinser at 49:21-55:16. Otherwise, the Court rejects the County Defendants’ complete denial based on
  argument grounds.
  97       Paragraph one hundred and eighty-two of Mr. Charron’s statement of additional material facts
  states in full that “[i]f the County learns of allegations in a notice of claim that a deputy engaged in
  misconduct, it will not involve itself in the matter unless there is an employee grievance.” PSAMF
  ¶ 182. The County Defendants deny this paragraph by clarifying that the County relies on the
  department head, such as Sheriff King for the Sheriff’s Office, to conduct the internal review.
  DRPSAMF ¶ 182. Mr. Charron responds as he does to the County Defendants’ objections to additional
  paragraphs one hundred and seventy-nine and one hundred and eighty. PRDRPSAMF ¶ 182. The
  Court reviewed the cited portions of the record, agrees with the County Defendants as to the accurate
  reflection of the record, and altered the paragraph accordingly rather than striking it.
  98       The County Defendants qualify Mr. Charron’s additional paragraph one hundred and eighty-
  three by restating what Mr. Zinser testified. DRPSAMF ¶ 183. Mr. Charron responds as he does to
  the County Defendants’ objections to additional paragraphs one hundred and seventy-nine and one
  hundred and eighty. PRDRPSAMF ¶ 183. The Court reviewed the cited portions of the record, agrees
  with Mr. Charron that his addition of “currently or in the past” is a reasonable inference, and rejects
  the qualification.
           Paragraph one hundred and eighty-four of Mr. Charron’s statement of additional material
  facts states, “[h]owever, discovery on this issue is incomplete.” PSAMF ¶ 184. The County Defendants
  deny this paragraph, stating it is argument and the Court should strike or disregard it. DRPSAMF
  ¶ 184. Mr. Charron responds as he does to paragraphs one hundred and seventy-nine and one hundred
  and eighty. The Court reviewed the cited portion of the record, agrees with the County Defendants,
  and struck this paragraph.
           Regarding Mr. Charron’s claim that discovery is still ongoing, the Court notes that under the
  Magistrate Judge’s Order dated January 14, 2019, the discovery deadline was fixed at April 5, 2019.

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          Sheriff King expects his deputies to investigate a case to the best of their

  training and ability. 99         PSAMF ¶ 186; DRPSAMF ¶ 186; PRDRPSAMF ¶ 186.

  Despite the notice of claim filed in this case, he does not know what his deputies asked

  or what investigation, if any, they conducted at the scene or thereafter. PSAMF

  ¶ 186; DRPSAMF ¶ 186; PRDRPSAMF ¶ 186.                           By not taking the Sunfire into

  evidence, Deputy Horning acted pursuant to a policy against doing so unless there is

  a fatality or a search warrant is needed. 100                  PSAMF ¶ 185; DRPSAMF ¶ 185;



  Order Granting Without Obj. Mot. to Extend Time (ECF No. 51). Mr. Charron points to the deposition
  of Mr. Zinser during which there is a discussion about information held by the risk pool and specific
  information about two cases that York County settled. PSAMF ¶ 184 (citing Dep. of Zinser at 35:05-
  39:19). The deposition suggests that counsel agreed to decide later how to proceed with these matters.
  Dep. of Zinser at 39:01-19. Since Mr. Zinser’s February 28, 2018, deposition, the parties have
  presented no discovery dispute on this issue to the Court and have filed no motion to extend the
  discovery deadline. The issue of ongoing discovery was not raised at the Local Rule 56(h) conference
  and Mr. Charron filed no Federal Rule of Civil Procedure 56(d) motion requesting the Court extend
  time to complete discovery necessary to the resolution of the motion for summary judgment. In sum,
  the Court disagrees that discovery is ongoing. The discovery period is over. Finally, if counsel had a
  side agreement to allow continued discovery, they should have resolved any dispute by now. The Court
  declines to include Mr. Charron’s additional paragraph one hundred and eighty-four in the statement
  of facts and struck it.
  99       Paragraph one hundred and eighty-six of Mr. Charron’s statement of additional material facts
  also states that Sheriff King “has a policy of non-supervision” and that he expects his deputies to
  investigate a case “in whatever manner they determine.” PSAMF ¶ 186. The County Defendants
  qualify this paragraph by asserting that these statements are speculative argument, Sheriff King said
  he expects his deputies to “conduct their investigation to the best of their training and ability,” and
  the Court should strike or disregard them. DRPSAMF ¶ 186. Mr. Charron responds as he does to the
  County Defendants’ objections to additional paragraphs one hundred and seventy-nine and one
  hundred and eighty. PRDRPSAMF ¶ 186. The Court reviewed the cited portions of the record, agrees
  with the County Defendants, and altered the paragraph accordingly.
           Paragraph one hundred and eighty-seven of Mr. Charron’s statement of additional material
  facts states, “Sheriff King is not even aware of his office’s policies ‘having to do with arrest procedures,
  probable cause, preservation of physical evidence, [and] collection of physical evidence.’” PSAMF
  ¶ 187. The County Defendants deny this paragraph, asserting that the cited material does not support
  the factual assertion and the Court should strike or disregard it. DRPSAMF ¶ 187. Mr. Charron
  responds as he does to the County Defendants’ objections to additional paragraphs one hundred and
  seventy-nine and one hundred and eighty. PRDRPSAMF ¶ 187. The Court reviewed the cited portion
  of the record and its close surroundings, agrees with the County Defendants that Sheriff King did not
  say he did not know the policies, and struck this paragraph.
  100      The County Defendants qualify Mr. Charron’s additional paragraph one hundred and eighty-
  five by asserting that the parts not directly based on testimony are argumentative and speculative and
  the Court should strike or disregard them. DRPSAMF ¶ 185. Mr. Charron responds as he does to the
  County Defendants’ objections to additional paragraphs one hundred and seventy-nine and one

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  PRDRPSAMF ¶ 185. In a felony allegation of this sort, Sheriff King would expect the

  Sunfire to contain important physical evidence and be photographed, but not

  necessarily preserved, even though critical exculpatory evidence could be lost.

  PSAMF ¶ 185; DRPSAMF ¶ 185; PRDRPSAMF ¶ 185.

         J.      Mr. Charron’s Interrogatory Answers

         In his interrogatory answers, Mr. Charron indicated that his federal law claims

  were essentially based on four allegations: one, that he was arrested without probable

  cause; two, that the deputies “failed to disclose and take steps to preserve the 2002

  Pontiac Sunfire that rear-ended [him]”; three, that the County Defendants

  perpetuated false allegations and prosecution against him; and four, that Sheriff King

  published information concerning Mr. Charron’s arrest on the internet. 101 DSMF

  ¶ 89; PRDSMF ¶ 89. Mr. Charron further indicated in his interrogatory responses

  that his state law claims against the County Defendants were based on the same

  conduct alleged in support of his federal law claims. DSMF ¶ 90; PRDSMF ¶ 90. In

  these answers, Charron did not identify any specific policies or customs of York




  hundred and eighty. PRDRPSAMF ¶ 185. The Court agrees with Mr. Charron that the inferences he
  makes are reasonable when viewing the facts in the light most favorable to him and rejects the
  qualification.
  101      Mr. Charron qualifies the County Defendants’ paragraph eighty-nine by stating that “Mr.
  Charron’s interrogatory answers speak for themselves and are not as limited as stated in DSMF ¶ 89.”
  PRDSMF ¶ 89. The Court reviewed the cited portions of the record and finds that, while the
  interrogatories provide examples and evidence backing up the allegations, the answers boil down to
  the four allegations the County Defendants list in their paragraph eighty-nine. Dep. of Charron at 84-
  88. The Court rejects this qualification accordingly.
           Mr. Charron’s further qualification of the County Defendants’ paragraph eighty-nine is
  argument outside the scope of the facts asserted in the statement, PRDSMF ¶ 89, and the Court rejects
  it. See supra note 10.

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  County related to arrests or handling of evidence that he claimed were a moving force

  behind the alleged constitutional violations. 102 DSMF ¶ 91; PRDSMF ¶ 91.

         In his interrogatory answers, Mr. Charron described his mental and emotional

  injuries as follows:

         See previous answer. [Mr. Charron] suffered physical pain, discomfort,
         and severe emotional distress from the time of his arrest until his
         release from jail. He experienced fear, embarrassment, humiliation,
         despair, despondency, helplessness, outrage, social alienation and
         indignation during and long after his release from jail. Although some
         of these conditions ended or waned when the felony charges against him
         were dismissed on July 22, 2016, [Mr. Charron] still experiences them
         as the false allegations against him remain on the Internet, and
         defendants have shown no willingness or inclination to remove or correct
         them, even after receiving notice of claim and being served with the
         present lawsuit. [Mr. Charron] believes the stress of the events
         beginning with his false arrest and malicious prosecution contributed to
         his recent heart attack and deteriorating physical condition. 103

  DSMF ¶ 92; PRDSMF ¶ 92. Mr. Charron did not receive any treatment for physical

  or emotional issues as a result of the actions of the County Defendants. DSMF ¶ 93;

  PRDSMF ¶ 93.




  102     Mr. Charron denies the County Defendants’ paragraph ninety-one and cites to paragraph ten
  of Mr. Charron’s interrogatory answers. PRDSMF ¶ 91. The Court reviewed the cited paragraph and
  finds that, although it mentions that the County Defendants “acted on behalf of the County of York in
  accordance with its customs and policies” and lists examples of actions York County took that Mr.
  Charron contends violated his rights, it does not mention any specific policies or customs. Dep. of
  Charron at 88. Mr. Charron’s previous answers do not mention any specific policies or customs either.
  Id. at 83-88. The Court rejects this denial.
          Mr. Charron’s further denial of the County Defendants’ paragraph ninety-one is argument
  outside the scope of the facts asserted in the statement, PRDSMF ¶ 91, and the Court rejects it. See
  supra note 10.
  103     Mr. Charron qualifies the County Defendants’ paragraph ninety-two by stating that “Mr.
  Charron’s description of his mental and emotional injuries has not been reproduced in its entirety in
  DSMF ¶ 92, which only starts with ‘See previous answer.’” PRDSMF ¶ 92. The Court reviewed the
  cited portions of the record and finds that the previous interrogatory answer addresses Mr. Charron’s
  damages claims but does not detail his mental or emotional injuries. Dep. of Charron at 95-96.
  Therefore, the Court rejects this qualification.

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  III.   THE PARTIES’ POSITIONS

         A.    The County Defendants’ Motion for Summary Judgment

         The County Defendants identify four allegations on which they believe Mr.

  Charron bases his federal law claims: (1) that he was arrested without probable

  cause; (2) that the County Defendants perpetuated false allegations and prosecution

  against him; (3) that the four deputies “failed to disclose and take steps to preserve

  the 2002 Pontiac Sunfire that rear-ended [him]”; and (4) that Sheriff King published

  information concerning Mr. Charron’s arrest on the internet. Defs.’ Mot. at 2 (quoting

  Dep. of Charron at 84-85). They add that Mr. Charron’s interrogatory responses

  indicate that his state law claims are based on the same conduct. Id.

         The County Defendants assert that neither Deputy Horning’s conclusion that

  probable cause existed to arrest Mr. Charron on charges of aggravated reckless

  conduct and criminal threatening nor Sheriff King’s issuance of a press release and a

  Facebook post about Mr. Charron’s arrest consistent with the York County Sheriff’s

  Office’s policy of transparency “give rise to any viable state or federal claims.” Id. at

  1. The County Defendants also assert that they are all protected by immunity. Id.

               1.     Constitutional Claims Under 42 U.S.C. § 1983

         The County Defendants assert that a claim under 42 U.S.C. § 1983 may be

  brought only against persons who, under the color of law, “act to deprive another of

  ‘rights, privileges, or immunities’ secured by either the United States Constitution or

  federal statutes.” Id. at 3 (quoting 42 U.S.C. § 1983). They cite First Circuit caselaw

  that defines two aspects of the deprivation prong: “(1) [T]here must have been a



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  deprivation of federally protected rights, privileges or immunities, and (2) the conduct

  complained of must have been causally connected to the deprivation.” Id. (emphasis

  omitted) (quoting Gutierrez-Rodriguez v. Cartagena, 882 F.2d 553, 559 (1st Cir.

  1989)). The County Defendants add that “Section 1983 ‘is not itself a source of

  substantive rights, but merely provides a method for vindicating federal rights

  elsewhere conferred.’” Id. (quoting Graham v. Connor, 490 U.S. 386, 389-94 (1989)).

                      a.     Four Claims

                             i.     Arrest Without Probable Cause Claim

        The County Defendants assert that the Fourth Amendment governs Mr.

  Charron’s claim of arrest without probable cause because “[i]n order to conform to the

  Fourth Amendment’s guaranty against unreasonable seizures of the person, a police

  officer is required to base arrests on probable cause.” Id. at 4. They state that the

  First Circuit has established the following rules regarding probable cause: (1) Its

  analysis “entails an objective assessment of the officer’s actions in light of the facts

  and circumstances confronting him at the time” rather than an assessment of “the

  officer’s state of mind at the time the challenged action was taken,” id. at 4 (alteration

  in original) (quoting Alexis v. McDonald’s Rests. of Mass., Inc., 67 F.3d 341, 349 (1st

  Cir. 1995)); (2) its existence “is based on the facts and circumstances known by the

  arresting officer at the time of the arrest” rather than “from the perspective of

  hindsight,” id. (citing Roche v. John Hancock Mut. Life Ins. Co., 81 F.3d 249, 254 (1st

  Cir. 1996)); (3) it exists “if ‘the facts and circumstances within [the officer’s]

  knowledge and of which [he] had reasonably trustworthy information were sufficient



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  to warrant a prudent [person] in believing that the [defendant] had committed or was

  committing an offense,’” id. (quoting Rivera v. Murphy, 979 F.2d 259, 263 (1st Cir.

  1992)); and (4) it “requires more than mere suspicion” but “does not require the same

  quantum of proof as is needed to convict.” Id. (quoting Logue v. Dore, 103 F.3d 1040,

  1044 (1st Cir. 1997)).

        The County Defendants claim that, based on the totality of circumstances,

  Deputy Horning believed she had probable cause to arrest Mr. Charron and the

  information she had at the time of the arrest supported this belief because it satisfied

  the elements of the crimes she based the arrest on: aggravated reckless conduct and

  criminal threatening. Id. at 4-7. They lay out the elements of both crimes. Id. at 4-

  5 (quoting 17-A M.R.S. § 213(1); 17-A M.R.S. § 209(1)).

        The County Defendants then list the information Deputy Horning had at the

  time of Mr. Charron’s arrest, arguing that she had “ample information to warrant a

  reasonable person in believing that Mr. Charron had committed the offenses for

  which she charged him.” Id. at 5. They assert that she heard or personally observed

        1.       a call to SRCC from an unidentified person who complained of cars

        peeling out their tires, yelling, and threats being made on Langley Shores

        Drive;

        2.       Christopher Moss’ oral statements to Deputy Horning;

        3.       Christopher Moss’ written statement;

        4.       Walter Moss’ oral statement to Deputy Horning;

        5.       Walter Moss’ written statement;



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         6.     “excessive and extensive” damage to Mr. Pilvelait’s car including scrape

         marks on the hood, vehicle parts in the road, and markings on the ground “that

         appeared consistent with a vehicle that had been struck by a plow truck and

         pushed into a snow banking down the street in the manner described by

         Christopher Moss”;

         7.     deployed airbags on both the driver and passenger sides of Mr.

         Pilvelait’s car;

         8.     a plow truck in Mr. Charron’s driveway that matched the description

         given by Christopher Moss; and

         9.     Mr. Charron’s refusal to provide a written sworn statement to Deputy

         Horning that evening.

  See id. at 5-7.

         The County Defendants also point out that a grand jury returned a six-count

  indictment, including counts of aggravated reckless conduct and criminal

  threatening, against Mr. Charron arising out of the events in this case. Id. at 7 n.2.

  They add that at the time of indictment, “ADA Myska was aware of Mr. Charron’s

  theory of the case (that Mr. Pilvelait’s car had hit Mr. Charron’s truck from behind)

  and he was aware of the location of Mr. Pilvelait’s Pontiac Sunfire.” Id.

                              ii.   Malicious Prosecution Claim

         The County Defendants argue that, to the extent Mr. Charron is “attempting

  to assert a constitutional claim based on alleged malicious prosecution,” “such a claim

  fails as a matter of law.” Id. at 7. They state that, according to the First Circuit, for



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  a plaintiff to bring a suit under section 1983 to redress “malicious prosecution”

  premised on the Fourth Amendment, the plaintiff must establish that “the defendant

  (1) caused (2) a seizure of the plaintiff pursuant to legal process unsupported by

  probable cause, and (3) criminal proceedings terminated in plaintiff's favor.” Id. at

  7-8 (quoting Hernandez-Cuevas v. Taylor, 723 F.3d 91, 101 (1st Cir. 2013)). They add

  that a warrantless arrest cannot constitute the Fourth Amendment seizure for this

  claim and that “a plaintiff must, at a minimum, demonstrate a post-arraignment

  deprivation of liberty consistent with the concept of a seizure.” Id. at 8 (citing Nieves

  v. McSweeney, 241 F.3d 46, 54 (1st Cir. 2001)).

        The County Defendants assert that “[t]he undisputed facts preclude any

  Fourth Amendment ‘malicious prosecution’ claim.” Id. They claim that “Deputy

  Horning effected Mr. Charron’s arrest without a warrant” and there was no post-

  arraignment deprivation of liberty since York County Jail released Mr. Charron on

  March 9, Mr. Charron was not incarcerated or in custody again afterwards, and Mr.

  Charron’s first court appearance was over a month and a half after the March 9

  release. Id.

                             iii.   Failure to Disclose or Preserve Evidence
                                    Claim

        The County Defendants place Mr. Charron’s claims of “failing to disclose or

  preserve evidence” and “failing to influence the district attorney to drop the charges”

  under a Due Process Clause of the Fourteenth Amendment right to a fair trial

  analysis. Id. at 8-9. They state that a prosecutor withholding or destroying evidence

  only violates a criminal defendant’s constitutional rights if the withholding or

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  destroying denies the defendant a fair trial. Id. at 9. In sum, they assert, “the right

  to a fair trial is not implicated—and, therefore, no cause of action exists under Section

  1983—in cases in which all criminal charges were dismissed prior to trial.” Id.

        According to the County Defendants, Mr. Charron’s right to a fair trial “was

  never imperiled” because “it is undisputed that the charges against Mr. Charron were

  dismissed before trial.” Id. Moreover, the County Defendants argue, Mr. Pilvelait’s

  Sunfire—the evidence in question—was available before the prosecutor submitted

  the case to the grand jury, so there was no constitutional deprivation. Id. Finally,

  the County Defendants assert that their obligation to preserve the evidence is an

  obligation to the prosecutor, not to Mr. Charron. Id. at 9-10 (citing Campbell v.

  Maine, 632 F. Supp. 111, 121 (D. Me. 1985)). The County Defendants claim that these

  arguments dispense with Mr. Charron’s claim concerning their failure to convince the

  district attorney to drop the case sooner because the prosecutor makes the decision

  and, in any event, the district attorney did dismiss the case before any trial. Id. at

  10 n.6.

                             iv.    Defamation Claim

        The County Defendants state that Mr. Charron cannot make a viable claim of

  defamation against Sheriff King that can be redressed under section 1983 because “a

  procedural due process claim cannot rest upon reputational harm alone.” Id. at 10

  (citing Paul v. Davis, 424 U.S. 693, 701 (1976)). According to the County Defendants,

  “[a] plaintiff who asserts a violation of his or her procedural due process rights based

  on reputational harm must also show that the challenged governmental action



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  adversely affected some right or status he or she previously enjoyed under

  substantive state or federal law.” Id. They assert that the First Circuit clarified that

  to be sufficient, the alleged harm to a right or status must arise out of substantive

  state or federal law and must be caused directly by the challenged government action.

  Id.

        The County Defendants argue that Mr. Charron’s possible claim—that Sheriff

  King’s defamatory statements in a Facebook post and press release presented a due

  process violation—fails as a matter of law. Id. at 11. They state that there is no

  actionable reputational injury from the statements because they accurately described

  the allegations and, in any event, Mr. Charron has not, in his interrogatories or

  elsewhere, “identif[ied] any right or status he previously enjoyed under substantive

  state or federal law that he no longer enjoys, the loss of which was caused directly by

  the County Defendants’ actions.” Id.

                      b.     Qualified Immunity

        The County Defendants claim that each individual defendant is protected from

  liability because “officers are entitled to qualified immunity under [section] 1983

  unless (1) they violated a federal statutory or constitutional right, and (2) the

  unlawfulness of their conduct was clearly established at the time.” Id. (quoting

  District of Columbia v. Wesby, 138 S. Ct. 577, 589 (2018)). They add that “qualified

  immunity protects ‘all but the plainly incompetent or those who knowingly violate

  the law.’” Id. (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).




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        They then lay out the two-prong approach to applying qualified immunity,

  mentioning that a court has discretion on the order in which it conducts its inquiry.

  Id. at 12. Discussing the “clearly established” requirement, they cite First Circuit

  caselaw establishing that “[t]he question is not whether the official actually abridged

  the plaintiff's constitutional rights but, rather, whether the official’s conduct was

  unreasonable, given the state of the law when he acted,” id. at 13 (quoting Alfano v.

  Lynch, 847 F.3d 71, 75 (1st Cir. 2017)), stating that this requirement “affords ‘some

  breathing room for a police officer even if he has made a mistake (albeit a reasonable

  one) about the lawfulness of his conduct.’” Id. (quoting Conlogue v. Hamilton, 906

  F.3d 150, 155 (1st Cir. 2018)). They add that “[t]he [Supreme] Court has instructed

  that ‘this inquiry must be undertaken in light of the specific context of the case, not

  as a broad general proposition.’” Id. (quoting Brosseau v. Haugen, 543 U.S. 194, 198

  (2004)).

        Applying the law to the facts, the County Defendants argue qualified immunity

  protects the individual County Defendants because (1) “[e]ven if Deputy Horning was

  incorrect in her assessment of the information she had, a reasonable officer in her

  position could have believed that the information supported the existence of probable

  cause with regard to either or both of the crimes with which she charged Mr.

  Charron,” (2) “a reasonable officer in Sheriff King’s position could have believed that

  he would not be violating Mr. Charron’s constitutional rights by reporting to the

  public the activities of deputies in his department with regard to an arrest that was

  made and the allegations behind that arrest,” and (3) due to Deputy Horning’s



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  photographs of the Sunfire and Mr. Charron’s ability to locate and secure it before

  any trial occurred, “a reasonable officer could have believed that their disclosure or

  preservation of evidence did not violate Mr. Charron’s constitutional rights.” Id. at

  13-14.

                       c.     Governmental Entity Liability Claim Against York
                              County

           The County Defendants state that “a governmental entity cannot be held liable

  under Section 1983 unless there was an underlying constitutional violation by its

  employees.” Id. at 15 (citing Kennedy v. Town of Billerica, 617 F.3d 520, 531 (1st Cir.

  2010)). They also assert that the municipality itself must cause the constitutional

  violation at issue to be liable and that a plaintiff must “demonstrate that a policy or

  custom of the governmental entity led to the constitutional deprivation alleged.” Id.

  at 14 (citing Monell v. New York City Dept. of Soc. Servs., 436 U.S. 658, 694 (1978)).

  They state that the plaintiff must show “both the existence of a policy or custom and

  a causal link between that policy and the constitutional harm” and that “the policy

  or custom must be the result of acts or omissions of the municipality’s policymakers

  that exhibit ‘deliberate indifference’ to the rights of the municipality’s inhabitants.”

  Id. The County Defendants list three elements a plaintiff must show to meet the

  deliberate indifference standard: “(1) a grave risk of harm, (2) the defendant’s actual

  or constructive knowledge of that risk, and (3) his failure to take easily available

  measures to address the risk.” Id. at 14-15 (quoting Camilo-Robles v. Hoyos, 151 F.3d

  1, 7 (1st Cir. 1998)).




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        The County Defendants argue that York County cannot be liable regardless of

  policy because “none of York County’s officers or officials caused Mr. Charron to suffer

  any constitutional deprivation.” Id. at 15. In any event, they claim, York County is

  not liable because “Mr. Charron has presented no evidence of a custom or policy of

  York County that was a moving force behind any constitutional violations,” in

  interrogatory responses or elsewhere. Id.

                      d.     Supervisory Liability Claim Against Sheriff King

        The County Defendants list two ways supervisory liability can arise under

  section 1983: (1) The supervisor may be a “primary violator or direct participant in

  the right-violating incident” or (2) may “supervise[], train[], or hire[] a subordinate

  with deliberate indifference toward the possibility that deficient performance of the

  task eventually may contribute to a civil rights deprivation.” Id. at 15-16 (quoting

  Sanchez v. Pereira-Castillo, 590 F.3d 31, 49 (1st Cir. 2009)). The County Defendants

  state that the second method focuses on whether the supervisor’s actions displayed

  the deliberate indifference required and had some causal connection to the right-

  violating tort. Id. at 16. They add that for either method, the plaintiff must show an

  affirmative link between the actor and the underlying violation. Id. Based on these

  two types of supervisory liability, the County Defendants argue, Sheriff King cannot

  be held liable under this theory based on the arrest because “[i]t is undisputed that

  Sheriff King did not participate in the events of March 8 and March 9” and “there is

  no record evidence to suggest that he was aware of—and therefore condoned or tacitly

  authorized—any conduct directed at Mr. Charron as part of the arrest.” Id.



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         In listing these two methods, the County Defendants do not waive the

  argument that “the First Circuit’s ‘supervisory liability’ paradigm has been

  superseded—if not overruled—by [Ashcroft v. Iqbal, 556 U.S. 662 (2009)].” Id. at 16

  n.7. Yet, the County Defendant assert, they do not discuss the issue at length because

  they “believe that Mr. Charron cannot meet the First Circuit’s pre-Iqbal test” and so

  “the Court need not decide whether that test is still viable.” Id.

                 2.      State Law Claims

         The County Defendants identify the following state tort claims asserted by Mr.

  Charron and arising out of the arrest or the Facebook post and press release: false

  arrest, false imprisonment, malicious prosecution, defamation per se, and intentional

  or negligent infliction of emotional distress. 104 Id. at 17. The County Defendants

  claim that “[n]one of these claims are legally viable based on the summary judgment

  record” and that the Maine Tort Claims Act provides them with immunity. Id. (citing

  14 M.R.S. §§ 8101-8118).

                         a.     Tort Claims

         The County Defendants assert that, in order to survive summary judgment,

  Mr. Charron must “demonstrate a triable issue of fact with regard to all elements of

  his . . . claims.” Id. (citing Noveletsky v. Metro Life Ins. Co., No. 2:12-cv-00021-NT,

  2013 WL 2945058, at *9 (D. Me. June 14, 2013)). They state that he cannot meet this

  requirement with regard to any of his torts claims. Id.




  104    Mr. Charron’s response does not assert a claim for intentional or negligent infliction of
  emotional distress, so the County Defendants’ discussion of this tort is not included in this Order.

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                             i.     False Arrest and False Imprisonment Claims

           The County Defendants assert that “[t]he Maine Law Court has held that

  ‘[f]alse imprisonment involves the unlawful detention or restraint of an individual

  against his will.’” Id. (some alternations in original) (quoting Nadeau v. State, 395

  A.2d 107, 116 (Me. 1978)). They state that an arrest supported by probable cause

  cannot give rise to a false imprisonment or false arrest tort claim.         Id. (citing

  Jordan v. Town of Waldoboro, No. 2:17-cv-00025-JHR, 2018 WL 4688724, at *22 (D.

  Me. Sept. 28, 2018), aff’d in part and rev’d in part on other grounds, 943 F.3d 532 (1st

  Cir. 2019)). Thus, they argue, since Mr. Charron’s arrest was supported by probable

  cause, his false arrest and false imprisonment claims “fail as a matter of law.” Id. at

  17-18.

                             ii.    Malicious Prosecution Claim

           The County Defendants list three elements to a malicious prosecution claim:

  “(1) [T]he defendant initiated, procured or continued a criminal action without

  probable cause; (2) [t]he defendant acted with malice; and (3) [t]he plaintiff received

  a favorable termination of the proceedings.” Id. at 18 (some alterations in original)

  (quoting Trask v. Devlin, 2002 ME 10, ¶ 11, 788 A.2d 179). They state that Mr.

  Charron’s claim fails because his arrest was supported by probable cause. Id.

                             iii.   Defamation Claim

           According to the County Defendants, there are four elements to a defamation

  claim under Maine state law: “[1] a false and defamatory statement concerning

  another; [2] an unprivileged publication to a third party; [3] fault amounting at least



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  to negligence on the part of the publisher; and [4] either actionability of the statement

  irrespective of special harm or the existence of special harm caused by the

  publication.” Id. (quoting Rice v. Alley, 2002 ME 43, ¶ 19, 791 A.2d 932). They argue

  that Sheriff King’s Facebook post and press release are not defamatory because the

  information in the statements is not false as they “accurately reflect that Mr. Charron

  had been accused of using his plow truck to hit another vehicle and that he had been

  charged with crimes as a result.” Id. The County Defendants quote caselaw holding

  that “quotations by law enforcement officers reported in the newspaper describing

  the allegations against a criminal defendant were not false because ‘they accurately

  reflected the nature of the case against the plaintiff, which was a matter of public

  interest.’” Id. at 18-19 (quoting Jordan, 2018 WL 4688724, at *24).

                      b.     Immunity for Individual County Defendants

        The County Defendants state that the Maine Tort Claims Act “confers upon

  governmental employees absolute discretionary function immunity.” Id. at 21 (citing

  14 M.R.S. § 8111(1)(C); Carroll v. City of Portland, 1999 ME 131, ¶ 6, 736 A.2d 279).

  They assert that both an officer’s decision to effectuate a warrantless arrest and a

  county sheriff’s issuance of public statements “for the purposes of fostering

  transparency in the operations of the sheriff’s office” are discretionary functions. Id.

  at 21-22 (discussing similar cases, including Hilderbrand v. Washington County

  Commissioners, 2011 ME 132, 33 A.3d 425, in which District of Maine judges and

  Maine Supreme Judicial Court judges applied discretionary function immunity).

  Thus, they argue, “the individual County Defendants are entitled to summary



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  judgment on all of Mr. Charron’s tort claims because they are protected by absolute

  immunity.” Id. at 22.

                      c.    Immunity for York County

        The County Defendants refer to the Maine Tort Claims Act, which provides

  that “all governmental entities shall be immune from suit on any and all tort claims

  seeking recovery of damages.” Id. at 23 (quoting 14 M.R.S. § 8103(1)). They state

  that governmental entities include counties “by definition.” Id. (citing 14 M.R.S.

  § 8102). Further, they assert that the only exceptions to the immunity appear in title

  14, section 8104-A of the Maine Revised Statutes and that despite section 8104-A, “a

  governmental entity retains its immunity if the acts alleged constitute a discretionary

  function.” Id. (citing 14 M.R.S. § 8104-B(3)). They add that the Maine Supreme

  Judicial Court “has applied Section 8104-B(3) consistent with the concept of

  discretionary function immunity afforded to governmental employees by Section

  8111.” Id. (citing Roberts v. State, 1999 ME 89, ¶ 7, 731 A.2d 855).

        The County Defendants argue that York County has immunity against Mr.

  Charron’s tort claims based on the above Maine Tort Claims Act provisions and that

  none of the exceptions to immunity apply to claims arising out of a warrantless arrest

  or defamation. Id. They add that even if an exception did apply, section 8104-B(3)

  would re-establish immunity because “all of the County Defendants’ alleged actions

  constitute discretionary functions.” Id. at 24. Finally, they state, York County has

  not waived its immunity by the purchase of insurance because—apart from a

  coverage certificate that did not waive the immunities afforded under Maine Tort



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  Claim Act—the County did not have any liability insurance coverage effective on the

  date of Mr. Charron’s alleged injury. Id.

               3.     Punitive Damages

        The County Defendants assert that, to the extent Mr. Charron seeks an award

  of punitive damages, the Court should grant summary judgment to the County

  Defendants with regard to such damages. Id. Regarding York County, they claim

  that “[p]unitive damages are not recoverable against the County under state tort law

  or under 42 U.S.C. § 1983.” Id. Regarding the individual County Defendants, they

  state that there is no record evidence suggesting that “any of the individual County

  Defendants were motivated by evil motive or intent” or “acted with reckless or callous

  indifference to Mr. Charron’s federally-protected rights,” one of which is required for

  punitive damages against an individual in a section 1983 action. Id. at 24-25.

        B.      John Charron’s Opposition

        Mr. Charron makes the following federal claims against the County

  Defendants: arrest without probable cause in violation of his Fourth Amendment

  rights, malicious prosecution in violation of his Fourth Amendment rights, and

  failure to preserve evidence and active concealment of evidence. Pl.’s Opp’n at 1. His

  state law claims are for false arrest, false imprisonment, malicious prosecution, and

  defamation per se. Id. He adds that his damage claim includes compensatory and

  punitive damages. Id. at 2.




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                 1.    Constitutional Claims Under 42 U.S.C. § 1983

                       a.    Three Claims

                             i.     Arrest Without Probable Cause Claim

           Mr. Charron claims that “he was arrested by four sheriff deputies” and “held

  for 14 hours” without probable cause in violation of his Fourth Amendment rights.

  Id. at 1. He highlights two First Circuit cases that he says apply to the determination

  of probable cause in this case: Acosta v. Ames Dep’t Stores, Inc., 386 F.3d 5 (1st Cir.

  2004), and B.C.R. Transport Co. v. Fontaine. 727 F.2d 7 (1st Cir. 1984); Pl.’s Opp’n

  at 7.

           Mr. Charron explains that B.C.R. Transport concerned a police officer who

  obtained search and arrest warrants based on an incoherent and unreliable alleged

  victim’s statements and that the First Circuit disagreed that the victim’s information

  alone provided probable cause as a matter of law. Id. He quotes the First Circuit:

  “While it is undoubtedly true that probable cause determinations predicated on

  information furnished by a victim are generally considered to be reliable, no court to

  our knowledge has ever adopted the per se approach which [the officer] advocates

  here.”    Id. (quoting B.C.R. Transp., 727 F.2d at 10).     He further quotes B.C.R.

  Transport for the holding that “whether or not probable cause exists in any given case

  invariably depends on the particular facts and circumstances of that case, a question

  to be resolved by the trier of fact.” Id. (quoting B.C.R. Transp., 727 F.2d at 10).

           Mr. Charron then addresses Acosta, a case in which the First Circuit found

  probable cause as a matter of law when a store detective called the police to report a



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  shoplifting incident and the police officer arrested the alleged shoplifter based on the

  store detective’s information. Id. at 8-9. He mentions the First Circuit’s statements

  that “probable cause must be objectively determined based ‘upon apparently

  trustworthy information,’” that the “cogency” of the source of information matters,

  and that information is not unreliable simply because the officer has never met the

  source before. Id. at 9 (quoting Acosta, 386 F.3d at 9-10).

        Mr. Charron argues that the present facts align with B.C.R. Transport rather

  than Acosta for the following reasons: (1) Christopher Moss was “initially viewed as

  a suspect or perpetrator as a result of someone else’s complaint, who then garnered

  sympathy by painting himself as a victim” because his mother called 911 to have him

  removed; (2) Deputy Horning could see and smell that Christopher Moss had been

  drinking, making him similar to the alleged victim in B.C.R. Transport who “might

  be on drugs”; (3) “the decision to arrest was made and implemented without speaking

  with or considering any information from” Mr. Charron; and (4) Christopher Moss’

  account could not be squared with what the deputies observed at the scene. Id. at 9-

  10.

        Mr. Charron further argues that his case is “actually stronger than was the

  plaintiff’s in B.C.R. Transport.”    Id. at 10.   He claims that (1) “there was no

  determination of probable cause by any of the deputies,” (2) Mr. Charron gave

  information to the four deputies by saying he did not do anything and the alleged

  victims rear-ended him, came to his house, and terrorized him, (3) Christopher Moss’

  written statement contradicted his oral statement regarding the location of the cars



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  during the collision—Mr. Pilvelait’s driveway or the end of Langley Shores Drive—

  and how far the Sunfire was pushed; and (4) Christopher Moss’ allegations regarding

  the location of the collision and push were implausible given the physical evidence,

  including the Sunfire being positioned front first in the snowbank, a broken window

  on Mr. Charron’s truck, vehicle debris in the road, and marks on the Sunfire’s hood.

  Id. at 9-12.

         Mr. Charron concludes that “the absence of probable cause is established as a

  matter of law,” id. at 12, because “existence of probable cause, or lack thereof, is

  amenable to summary judgment if material facts as to what police knew, their source

  of knowledge, and leads that they pursued or eschewed, are not in dispute.” Id. at 12

  (citing Acosta, 386 F.3d at 9). In other words, Mr. Charron seems to be asserting that

  there are no disputed material facts and that the Court should deny the County

  Defendants’ Motion for Summary Judgment because the undisputed facts show there

  was no probable cause rather than because the circumstances require the jury to

  determine an issue of fact.

                            ii.    Malicious Prosecution Claim

         Mr. Charron makes a malicious prosecution claim based on his fourteen-hour

  stay at York County Jail and the conditions placed on his release. Id. at 13-15. He

  lists the same requirements for a malicious prosecution claim under section 1983 that

  the County Defendants provide. Id. at 13-14. However, Mr. Charron argues, there

  is a seizure here due to factors besides the warrantless arrest. Id. at 14. He cites

  caselaw from other circuits in which courts have found a seizure based on various



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  conditions of release, such as reporting requirements, restriction of travel, provision

  of financial and identifying information, and bond amounts. Id. (citing Evans v. Ball,

  168 F.3d 856 (5th Cir.1999); Gallo v. City of Philadelphia, 161 F.3d 217 (3d Cir. 1998);

  Murphy v. Lynn, 118 F.3d 938 (2d Cir.1997), cert. denied, 522 U.S. 1115 (1998)).

         Mr. Charron equates the present case to these examples due to the “$3,000

  cash bail with conditions including no use or possession of alcohol or weapons,

  surrendering his firearms, and submitting to searches of his person, vehicle, and

  residence ‘at any time without articulable suspicion or probable cause.’” Id. He

  asserts that these conditions were “significant deprivations of liberty as contemplated

  by Nieves . . . and Britton[ v. Maloney, 196 F.3d 24 (1st Cir.1999)]—and by this Court

  [in Wellines v. City of Portland, No. CIV. 98-395-P-C, 1999 WL 33117076 (D. Me. Sept.

  29, 1999)].” Id. at 14-15, 15 n.2. Thus, according to Mr. Charron, since he suffered a

  seizure, there was no probable cause for the arrest, and the deputies acted with

  malice and bad faith, he has an action against “the four deputies who arrested

  him . . ..” Id. at 15.

                             iii.   Failure to Disclose or Preserve Evidence
                                    Claim

         Mr. Charron clarifies that his due process claim is not based on the deprivation

  of his right to a fair trial; rather, it is based on a deprivation of his liberty more

  generally “as a result of the failure to preserve and active concealment of exculpatory

  evidence.” Id. at 15-16. He lists two elements of this claim developed in the Seventh

  Circuit: “(1) [T]he defendant destroyed exculpatory evidence in bad faith or engaged

  in other misconduct (2) that caused a deprivation of the plaintiff's liberty.” Id. at 16

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  (quoting Armstrong v. Daily, 786 F.3d 529, 551 (7th Cir. 2015)). He adds that,

  “[t]hough the most common liberty deprivation cases are based on post-trial

  incarceration after a wrongful conviction, the essential elements of this constitutional

  claim are more general and not limited to wrongful convictions.”           Id. (quoting

  Armstrong, 786 F.3d at 551).

        Continuing the parallel to the claim against the prosecutor in Armstrong, Mr.

  Charron claims that “‘a reasonable prosecutor . . . would not have moved forward with

  the charges’ if the exculpatory evidence had been preserved and ‘provided to [the

  prosecutor and] the defense . . ..’” Id. (alterations in original) (quoting Armstrong,

  786 F.3d at 553-54). He says the exculpatory evidence is the digital and measurement

  photos of the Sunfire, which the prosecutor did not receive until two and three months

  after the arrest respectively, and the Sunfire itself. Id. The harm, according to Mr.

  Charron, comes in the form of his bail conditions. Id. Therefore, Mr. Charron

  maintains, he has an action against “the deputies” for depriving him of his liberty

  through the bail conditions without due process of law. Id.

                             iv.   Defamation Claim

        Mr. Charron does not discuss a constitutional defamation claim against Sheriff

  King in his response.

                      b.     Qualified Immunity

        Mr. Charron again looks to B.C.R. Transport in asserting that the County

  Defendants are not protected by qualified immunity. Id. at 12. He provides the First

  Circuit’s language in B.C.R. Transport: “Here again . . . the question of qualified



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  immunity is one of reasonableness—would a reasonable person in the shoes of [the

  officer] have known he was violating another's constitutional rights?” Id. (quoting

  B.C.R. Transp., 727 F.2d at 10). He states that the First Circuit found this inquiry

  to be a proper jury question in B.C.R. Transport due to evidence of bad faith because

  the officer contacted gypsy truck drivers for corroboration without exhausting readily

  available first-hand sources (including the alleged victim’s wife) and “‘saw fit to

  embellish’ with a ‘gratuitous statement’ that the alleged victim seemed ‘to be an

  upstanding citizen.’” Id. at 12-13 (quoting B.C.R. Transp., 727 F.2d at 10-11).

        Mr. Charron uses the First Circuit’s analysis in B.C.R. Transport to support

  his argument that “no reasonable officer could have believed that [Mr.] Charron’s

  arrest was consistent with his constitutional rights.” Id. at 13 (citing Murphy, 979

  F.2d 259). He states that there is evidence of bad faith here because “t[h]e deputies

  tried unsuccessfully to make contact with [Mr.] Pilvelait” and “showed no interest in

  what [Mr.] Charron had to say or in the exculpatory physical evidence in front of

  them.”   Id.   Mr. Charron adds that Deputy Horning’s “skepticism” toward the

  evidence that contradicted Christopher Moss’ allegations, expressed by calling it

  “irrelevant” during her deposition, also demonstrated bad faith. Id. It seems that,

  as above with probable cause, Mr. Charron is arguing that the Court should deny the

  County Defendants’ Motion for Summary Judgment because there is no qualified

  immunity as a matter of law rather than because the circumstances require the jury

  to determine an issue of fact.




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        Mr. Charron separately argues that qualified immunity does not apply to his

  claim of failure to disclose evidence. Id. at 17. He states that, rather than looking at

  whether a remedy is available, “[t]he qualified immunity defense focuses instead on

  whether the official defendant's conduct violated a clearly established constitutional

  right.” Id. (quoting Armstrong, 786 F.3d at 556). He applies logic from Armstrong—

  in which the prosecutor was a defendant—to the present case, stating that “[n]o

  reasonable police officer ‘could have believed in 1980 that if he possessed exculpatory

  evidence, he had an obligation to disclose it . . . unless he deliberately destroyed it

  first.’” Id. (quoting Armstrong, 786 F.3d at 550). Thus, he argues, the individual

  County Defendants violated a clearly established constitutional right. Id.

                      c.     Governmental Liability Against York County and
                             Supervisory Liability Against Sheriff King

        Mr. Charron discusses municipal liability and supervisory liability together

  because, he maintains, both municipal and supervisory officials are “only liable for

  [their] own misconduct.” Id. at 17 (quoting Ashcroft, 556 U.S. at 662). He states that

  both forms of liability require the plaintiff to show that the acts and omissions of the

  municipality or supervisor evidence “deliberate indifference” to the constitutional

  rights of others. Id. He argues that York County exhibited deliberate indifference in

  not reviewing allegations of misconduct or sharing them with Sheriff King unless

  there was an employee grievance. Id. at 18. According to Mr. Charron, this system

  prevents corrective or remedial action that would otherwise occur. Id. Mr. Charron

  adds that Sheriff King has also demonstrated deliberate indifference through his

  policy of “non-supervision, leaving his subordinates free to conduct themselves as

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  they see fit—indeed, as they did in this case—without training or corrective action.”

  Id. According to Mr. Charron, Deputy Horning’s decision to not take the Sunfire into

  evidence was pursuant to policy. Id. Thus, Mr. Charron claims, York County and

  Sheriff King “are responsible for the underlying constitutional violations in their own

  right.” Id. at 18-19.

               2.     State Law Claims

                      a.    Tort Claims

        Mr. Charron asserts false arrest and false imprisonment state law tort claims

  against the four deputies. Id. at 19. He asserts a malicious prosecution state law tort

  claim against the four deputies and Court Officer Vachon.          Id.   He asserts a

  defamation per se claim against Deputy Horning and Sheriff King. Id. He does not

  assert any state law claims against York County due to its immunity as a

  “government entity” under the Maine Tort Claims Act. Id. (citing 14 M.R.S. § 8103).

                            i.     False Arrest and Imprisonment Claims

        Mr. Charron argues that his false arrest and false imprisonment claims turn

  on two elements: (1) the existence or non-existence of probable cause and (2) whether

  discretionary function immunity is available under the Maine Tort Claims Act. Id.

  at 19-20. He claims that, since there was no probable cause in this case as a matter

  of law, there is also no discretionary function immunity because deputies “have no

  discretion to make arrests without probable cause, at least when the existence of

  probable cause is not ‘ambiguous.’” Id. at 20 (quoting Blackstone v. Quirino, 309 F.

  Supp. 2d 117, 130 (D. Me. 2004)).



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                            ii.    Malicious Prosecution Claim

        Mr. Charron applies the same elements as in the false arrest and

  imprisonment claims above to his malicious prosecution claim. Id. He puts forward

  the conclusion that the four deputies and Court Officer Vachon do not have

  discretionary function immunity because “there is no discretion to withhold ‘clearly

  exculpatory information from prosecutors resulting in the continuation of criminal

  proceedings.’” Id. (quoting Trafton v. Devlin, 43 F. Supp. 2d 56, 61 (D. Me. 1999)).

  The deputies, Mr. Charron asserts, withheld exculpatory information by “not sharing

  with the prosecutor in their reports and probable cause affidavits the exculpatory

  physical evidence that they observed at the scene, as well as [Mr.] Charron’s

  protestation of innocence and complaint that he had been rear-ended, harassed, and

  terrorized by [Christopher] Moss and [Mr.] Pilvelait.” Id. He adds that the deputies

  failed to secure the Sunfire and that the deputies and Court Officer Vachon actively

  concealed it from the prosecutor and defense counsel. Id. at 20-21.

                            iii.   Defamation Claim

        Mr. Charron disagrees with the County Defendants on the truth element of his

  defamation claim.    He asserts that “repetition of a defamatory statement is a

  publication in itself, regardless whether the repeater names the source.” Id. at 21

  (quoting Olinger v. Am. Sav. & Loan Ass'n, 409 F.2d 142, 144 (D.C. Cir. 1969)).

  Rather, he says, a person who repeats a statement “must prove the truth of the

  defamatory charges which he has thus repeated.” Id. (quoting Restatement (Second)

  of Torts § 582, comment d (1938)). Mr. Charron adds that “the Maine Supreme



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  Judicial Court has recognized that true statements may meet the falsity requirement

  if they are incomplete and omit critical facts.” Id. (quoting JACK H. SIMMONS, DONALD

  N. ZILLMAN, & ROBERT H. FURBISH, MAINE TORT LAW § 13.10 (2018) (MAINE TORT

  LAW)).

           Here, Mr. Charron argues, the following omissions by Sheriff King and based

  on Deputy Horning’s report are critical and rise to meet the falsity requirement for

  defamation:

           (1)    [Christopher Moss’] mother called 911 to have her son removed;
           (2)    [Deputy] Horning “could see and smell” that [Christopher] Moss
           had been drinking;
           (3)    [Mr.] Charron complained twice to [Walter Moss] that
           [Christopher] Moss and [Mr.] Pilvelait were “laying rubber strips” in
           [Mr.] Charron’s driveway;
           (4)    [Walter Moss] picked up his son from that location at [Mr.]
           Charron’s request;
           (5)    [Mr.] Pilvelait was operating an unregistered motor vehicle and
           did not answer his door when police arrived to interview him, consistent
           with being OUI;
           (6)    in contrast, [Mr.] Charron sought out the deputies and told them
           that the Sunfire rear-ended his plow truck;
           (7)    the Sunfire was found at the end of Langley Shores Drive, a third
           of a mile away from [Mr.] Pilvelait’s driveway, where it appeared to have
           driven into a snowbank;
           (8)    the damage to the Sunfire was consistent with having rear-ended
           [Mr.] Charron’s plow truck and inconsistent having been struck by it
           head on as [Christopher] Moss alleged;
           (9)    [Christopher] Moss and [Mr.] Pilvelait’s witness statements
           contradicted [Christopher Moss’] oral account that the Sunfire was
           struck in [Mr.] Pilvelait’s driveway; and
           (10) the location and orientation of the Sunfire made [Christopher
           Moss’] oral allegation not only implausible, but impossible.

  Id. at 22. Mr. Charron does not address the other elements of a defamation per se

  claim.




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         Mr. Charron asserts that “[t]here is no discretionary function immunity for

  defamatory statements to the media.” Id. (citing Rippett v. Bemis, 672 A.2d 82, 88

  (Me. 1996)). He adds that the case for discretionary function immunity was stronger

  in Rippett, where it was denied, than here due to the internal impropriety being

  investigated in Rippett. Id. at 23.

                      b.     Discretionary Function Immunity

         Mr. Charron incorporates discussions of discretionary function immunity

  under the Maine Tort Claims Act into the above subsections. Id. at 19-23. He states

  in general that, under the Maine Tort Claims Act, “liability is the rule and immunity

  the exception for government employees,” while “immunity is the rule and liability the

  exception for government entities.” Id. at 19 (quoting Carroll v. City of Portland, 1999

  ME 131, ¶ 6 n.3).

                3.    Punitive Damages

         Mr. Charron claims that the individual County Defendants are exposed to

  punitive damages for false arrest, false imprisonment, malicious prosecution, and

  defamation per se. Id. at 23. For the first three claims, he argues that there is malice

  because “[a]n absence of probable cause may serve as evidence of malice,” id. (quoting

  Bickford v. Lantay, 394 A.2d 281, 285 (Me. 1978)), and “[t]he groundlessness of a suit

  may be so obvious as to allow the inference of malice.” Id. (quoting MAINE TORT LAW

  § 3.05).   For the defamation per se claim, he asserts that “[l]anguage imputing

  criminal conduct is actionable per se; malice in law is implied and no evidence of

  ‘malice in fact’ is necessary.” Id. (quoting Rippett, 672 A.2d at 89).



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          C.     The County Defendants’ Reply

          The County Defendants reply to four specific objections raised by Mr. Charron:

  probable cause for Mr. Charron’s arrest, Mr. Charron’s due process claim regarding

  the Sunfire, qualified immunity, and claims against York County.

                1.     Probable Cause for Mr. Charron’s Arrest

          The County Defendants assert that—contrary to Mr. Charron’s claims—

  Deputy Horning did make a probable cause determination with regard to the criminal

  threatening charge, as shown in her sworn testimony and not contradicted by her

  arrest report. Id. at 1 and 1 n.1. They point out that Mr. Charron “does not contest

  the information Deputy Horning received from Christopher and Walter Moss with

  regard to that charge,” which they allege reflects the necessary elements for criminal

  threatening and provides “ample probable cause . . ..” Id. at 1-2. Thus, they state,

  probable cause for the aggravated reckless conduct charge is not necessary and Mr.

  Charron’s arguments with regard to that charge do not eliminate probable cause. Id.

  at 2.

          The County Defendants then address Mr. Charron’s discussion of Acosta and

  B.C.R. Transport, arguing that the present case is much closer to Acosta.          Id.

  Specifically tackling Mr. Charron’s arguments, they assert that (1) Deputy Horning

  stated in her report that Christopher Moss did not appear drunk, (2) Walter Moss’

  oral statement confirmed much of Christopher Moss’ oral statement, including

  Walter Moss saying that Mr. Charron said “he had a plow truck and that he was going

  to take Mr. Pilvelait and Christopher into the ditch,” and (3) Deputy Horning’s



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  personal observations of a damaged vehicle with deployed airbags in a snowbank,

  vehicle parts and marks in the road, and a pickup truck with a plow in Mr. Charron’s

  driveway matched Christopher Moss’ and Walter Moss’ statements. Id. at 2-3. The

  County Defendants maintain that “Deputy Horning had ample information to

  convince a reasonable person that Mr. Charron had committed the two crimes for

  which he was charged.” Id. at 3.

        The County Defendants also address other parts of Mr. Charron’s response

  regarding probable cause. They state that “[t]he only relevant facts [to the question

  of probable cause] are those known to the officer,” so information Deputy Horning did

  not have when she made the probable cause determination, such as measurements

  and other witness testimony, is irrelevant. Id. (some alterations in original) (quoting

  Holder v. Town of Sandown, 585 F.3d 500, 504 (1st Cir. 2009)). They also assert that

  Mr. Charron’s claims of “conflicting” evidence are unsupported, such as the conflict

  regarding where the collision occurred, which was an ambiguity that Deputy Horning

  clarified during her deposition. Id. at 3-4. They add that, in any event, an actual

  conflict would not defeat probable cause because “the possibility that more than one

  conclusion could be drawn from information available to a police officer does not

  invalidate the officer’s assessment of probable cause.” Id. at 4 (citing Acosta, 386 F.3d

  at 9). According to the County Defendants, “probable cause does not require the level

  of certainty of criminal activity—including absolute consistency in all factual

  information—that Mr. Charron is advocating . . ..”        Id. (citing United States v.

  Winchenbach, 197 F.3d 548, 555-56 (1st Cir. 1999)). Finally, they maintain that



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  Deputy Horning did not need to follow up on any alleged exculpatory evidence before

  effecting Mr. Charron’s arrest because “the First Circuit, following Supreme Court

  precedent, has ‘disclaimed any unflagging duty on the part of law enforcement officers

  to investigate fully before making a probable cause determination.’”            Id. at 4-5

  (quoting Acosta, 386 F.3d at 11). Specifically, they assert, “[a] reasonable police

  officer is not required to credit a suspect’s story,” including declarations of innocence.

  Id. at 5 (quoting Cox v. Hainey, 391 F.3d 25, 32 n.2 (1st Cir. 2004)).

                2.     Mr. Charron’s Due Process Claim Regarding the Sunfire

         The County Defendants refute Mr. Charron’s “suggestion that the temporary

  inability to locate the Sunfire in this case constitutes a due process violation . . ..” Id.

  at 5. First, they assert that defendants do not have a liberty interest to be free from

  standard bail conditions such as “requiring a person to attend court proceedings,

  notify the court of any change in address, refrain from committing crimes, and forbear

  from consuming either controlled substances or excessive quantities of alcohol . . ..”

  Id. (citing Harrington v. City of Nashua, 610 F.3d 24, 32 (1st Cir. 2010)).

         Second, they argue that there is no evidence of intentional or deliberate failure

  to disclose or preserve evidence. Id. at 6. They explain that Deputy Horning took

  photographs of the Sunfire, provided the photographs to the prosecutor early in the

  criminal process, attempted to locate the Sunfire by contacting its owner, and

  conveyed the information she was provided.            Id.   While they do not concede

  negligence, they add that “[a]ny negligence in tracking down the vehicle . . . cannot

  support a due process claim.” Id. (citing Daniel v. Williams, 474 U.S. 327, 328 (1986)).



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        Third, they state that qualified immunity protects them because “Mr. Charron

  has not presented case law to suggest that the [County] Defendants’ alleged actions

  with regard to the vehicle violated clearly-established law.” Id. (citing Quintero de

  Quintero v. Aponte-Roque, 974 F.2d 226, 228 (1st Cir. 1992)).

               3.    Qualified Immunity

        The County Defendants maintain that qualified immunity protects them from

  the constitutional claims in this case. Id. They argue that “[t]here can be no doubt

  that a reasonable officer, possessing the specific information Deputy Horning had,

  could have believed that probable cause existed to arrest Mr. Charron for the two

  crimes with which he was charged” and therefore, “even if her assessment of that

  information was erroneous, Deputy Horning is protected by qualified immunity.” Id.

  at 6-7. They reiterate that Deputy Horning is the only deputy who made the probable

  cause determination. Id. at 7 n.4.

        The County Defendants also respond directly to Mr. Charron’s argument by

  calling his reliance on B.C.R. Transport “erroneous” because the Supreme Court has

  corrected the Ninth Circuit in a similar case by stating that “[i]mmunity ordinarily

  should be decided by the court long before trial,” not by the jury. Id. at 7 (quoting

  Hunter v. Bryant, 502 U.S. 224, 227-28 (1991)). They add that the First Circuit’s

  holding in Murphy is also inapplicable because “the officer in [Murphy] provided no

  details in support of his probable cause determination, whereas Deputy Horning has

  documented in both her report and in her sworn testimony the totality of




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  circumstances that supported her determination.” Id. at 7 (citing Murphy, 979 F.2d

  at 263).

               4.     Claims Against York County

        The County Defendants claim that Mr. Charron “has not demonstrated that

  the [County’s] approach was the moving force behind any constitutional violation.”

  Id. Thus, they argue, Mr. Charron “fails to demonstrate a viable Section 1983 claim

  against the County.” Id.

  IV.   LEGAL STANDARD

        A grant of summary judgment is proper when “the movant shows that there is

  no genuine dispute as to any material fact and the movant is entitled to judgment as

  a matter of law.” FED. R. CIV. P. 56(a). “Genuine issues of fact are those that a

  factfinder could resolve in favor of the nonmovant, while material facts are those

  whose ‘existence or nonexistence has the potential to change the outcome of the suit.’”

  Green Mountain Realty Corp. v. Leonard, 750 F.3d 30, 38 (1st Cir. 2014) (quoting

  Tropigas de P.R., 637 F.3d at 56).

        Once the moving party “has made a preliminary showing that there is no

  genuine issue of material fact, the nonmovant must ‘produce specific facts, in suitable

  evidentiary form, to . . . establish the presence of a trialworthy issue.’” McCarthy v.

  City of Newburyport, 252 Fed. App’x 328, 332 (1st Cir. 2007) (alteration in original)

  (quoting Triangle Trading Co. v. Robroy Indus., Inc., 200 F.3d 1, 2 (1st Cir. 1999)).

  The nonmoving party must show “‘enough competent evidence’ to enable a factfinder

  to decide in its favor on the disputed claims.” Carroll v. Xerox Corp., 294 F.3d 231,



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  237 (1st Cir. 2002) (quoting Goldman v. First Nat’l Bank of Bos., 985 F.2d 1113, 1116

  (1st Cir. 1993)). The Court then “views the facts and draws all reasonable inferences

  in favor of the nonmoving party,” Ophthalmic Surgeons, Ltd. v. Paychex, Inc., 632

  F.3d 31, 35 (1st Cir. 2011), while disregarding “[c]onclusory allegations, improbable

  inferences, acrimonious invective, or rank speculation.” Mancini, 909 F.3d at 38

  (quoting Ahern, 629 F.3d at 54).

  V.    DISCUSSION

        The County Defendants’ Motion for Summary Judgment turns on whether (1)

  Mr. Charron suffered a Fourth Amendment or due process violation under section

  1983 due to the actions of the County Defendants, (2) qualified immunity protects the

  County Defendants against Mr. Charron’s section 1983 claims, (3) York County and

  Sheriff King have governmental and supervisory liability, (4) Mr. Charron has met

  the required elements of any state law tort claims, and (5) discretionary function

  immunity protects the individual County Defendants against Mr. Charron’s state law

  tort claims. The Court addresses each question in turn. The Court also discusses

  whether Mr. Charron would be entitled to punitive damages.

        A.     Constitutional Violation Under 42 U.S.C. § 1983

        Section 1983 provides that

         [e]very person who, under color of [law], subjects, or causes to be
        subjected, any citizen of the United States or other person within the
        jurisdiction thereof to the deprivation of any rights, privileges, or
        immunities secured by the Constitution and laws, shall be liable to the
        party injured in an action at law, suit in equity, or other proper
        proceeding for redress . . ..




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  42 U.S.C. § 1983. The deprivation prong requires there to be a deprivation of a

  federally protected right, privilege, or immunity and a causal connection between the

  conduct complained of and the deprivation. See Gutierrez-Rodriguez, 882 F.2d at 559.

  As the County Defendants point out, section 1983 “is not itself a source of substantive

  rights, but merely provides a method for vindicating federal rights elsewhere

  conferred.” Defs.’ Mot. at 3 (quoting Graham, 490 U.S. at 389-94). Thus, Mr. Charron

  must point to specific federal rights, show deprivation of those rights, and show a

  causal connection to the County Defendants’ conduct.

               1.     Fourth Amendment Violations

        Mr. Charron makes two claims of violations of his Fourth Amendment rights:

  arrest without probable cause and malicious prosecution. Pl.’s Opp’n at 7-15. The

  Fourth Amendment protects “[t]he right of the people to be secure in their persons,

  houses, papers, and effects, against unreasonable searches and seizures . . ..” U.S.

  CONST. amend. IV.

                      a.    Arrest Without Probable Cause Claim

        Mr. Charron claims that his arrest on March 8 violated his Fourth Amendment

  rights because it was a seizure without probable cause. Pl.’s Opp’n at 1. He asserts

  this claim against the four deputies present during his arrest. Id.

                            i.     Existence of Probable Cause

        The First Circuit has explained that the “ultimate question for determining

  whether an arrest violates the Fourth Amendment is . . . whether there was probable

  cause to believe that the arrestee had committed or was committing a crime.” Wilson



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  v. City of Boston, 421 F.3d 45, 55 (1st Cir. 2005). “Probable cause for an arrest exists

  when the arresting officer, acting upon apparently trustworthy information,

  reasonably concludes that a crime has been (or is about to be) committed and that the

  putative arrestee likely is one of the perpetrators.” Acosta, 386 F.3d at 9 (citing Beck

  v. Ohio, 379 U.S. 89, 91 (1964)). As the County Defendants explain, Defs.’ Mot. at 4,

  a probable cause analysis uses an objective standard rather than looking at the

  officer’s state of mind, see Acosta, 386 F.3d at 9; Alexis, 67 F.3d at 349, and looks at

  the facts known to the arresting officer at the time of the arrest rather than in

  hindsight. See Roche, 81 F.3d at 254; see also Devenpeck v. Alford, 543 U.S. 146, 152

  (2004).

            “[T]hough probable cause requires more than mere suspicion, it does not

  require the same quantum of proof as is needed to convict.” Logue, 103 F.3d at 1044;

  see also Holder, 585 F.3d at 504 (“Probable cause requires only a probability that the

  defendant committed the crime”); Acosta, 386 F.3d at 9-10 (“The focus [for probable

  cause] is not on certitude, but, rather, on the likelihood of criminal activity”);

  Winchenbach, 197 F.3d at 555-56. “[P]robable cause determinations predicated on

  information furnished by a victim are generally considered to be reliable,” United

  States v. Barbosa, 896 F.3d 60, 70 (1st Cir. 2018) (quoting B.C.R. Transp., 727 F.2d

  at 10); see also Holder, 585 F.3d at 505 (quoting Acosta, 386 F.3d at 10), though

  exceptions apply. See B.C.R. Transp., 727 F.2d at 10 (holding that information from

  a disoriented and ranting victim who “might be on drugs” did not necessarily

  establish probable cause to obtain and execute search and arrest warrants for the



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  defendant as a matter of law). Moreover, law enforcement officers do not need to

  “investigate fully,” Acosta, 386 F.3d at 11, or credit a suspect’s “story” before making

  a probable cause determination. Cox, 391 F.3d at 32 n.2; see also Holder, 585 F.3d at

  505 (stating that a police officer does not have “a standing obligation to investigate

  potential defenses or resolve conflicting accounts prior to making an arrest”). Finally,

  “courts must apply these principles fluidly to the totality of the extant

  circumstances.” Acosta, 386 F.3d at 10 (citing Illinois v. Gates, 462 U.S. 213, 232 &

  n.7 (1983); Winchenbach, 197 F.3d at 555).

        In the present case, the Court looks to what Deputy Horning knew at the time

  of the arrest to determine if a reasonable person in her position could conclude that,

  based on this information, Mr. Charron likely committed a crime. In looking at Mr.

  Charron’s “likelihood of criminal activity,” see Acosta, 386 F.3d at 9-10, the Court

  analyzes the crimes of aggravated reckless conduct and criminal threatening because

  these are the two crimes for which Deputy Horning made a probable cause

  determination before arrest. See Defs.’ Mot. at 4-7; DSMF ¶ 48.

        A person commits aggravated reckless conduct when he “with terroristic intent

  engages in conduct that in fact creates a substantial risk of serious bodily injury to

  another person.” 17-A M.R.S. § 213(1). “Terroristic intent” is defined in the Maine

  Criminal Code to mean “the intent to do any of the following for the purpose of

  intimidating or coercing a civilian population or to affect the conduct of government:

  [c]ause serious bodily injury or death to multiple persons; [c]ause substantial damage

  to multiple structures; or [c]ause substantial damage to critical infrastructure.” 17-



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  A M.R.S. § 2(25). The Maine Criminal Code defines “serious bodily injury” as “bodily

  injury which creates a substantial risk of death or which causes serious, permanent

  disfigurement or loss or substantial impairment of the function of any bodily member

  or organ, or extended convalescence necessary for recovery of physical health.” 17-A

  M.R.S. § 2(23). An example of aggravated reckless conduct appears in Barnard v.

  Maine, where this Court noted that the plaintiff had been convicted of aggravated

  reckless conduct for threatening to shoot officers and blow up a camper, pointing and

  firing a rifle at an officer, and throwing a Molotov cocktail at officers. No. 1:16-cv-

  00276-JAW, 2018 WL 4101377, at *4 (D. Me. Aug. 28, 2018).

        A person commits criminal threatening when he “intentionally or knowingly

  places another person in fear of imminent bodily injury.” 17-A M.R.S. § 209(1).

  “Bodily injury” means “physical pain, physical illness or any impairment of physical

  condition.” 17-A M.R.S. § 2(5).

        Looking first at aggravated reckless conduct, the information Deputy Horning

  knew at the time of Mr. Charron’s arrest supports the conclusion that a reasonable

  person in her position would have probable cause to arrest. First, Deputy Horning

  heard from Christopher Moss that Mr. Charron had a long-standing feud with Mr.

  Pilvelait and that he peeled his tires and yelled threats from Mr. Pilvelait’s driveway.

  See DSMF ¶¶ 8-9. The anonymous call to the SRCC about a person peeling out their

  tires, yelling, and making threats on Langley Shores Drive corroborated Christopher

  Moss’ statements, see DSMF ¶ 5, as did Walter Moss’ oral statement to Deputy

  Horning that Mr. Charron called him twice that night and said “someone was going



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  to get hurt” because Christopher Moss and Mr. Pilvelait were laying rubber strips in

  Mr. Charron’s driveway and then that he was going to take them into a ditch with

  his plow truck. See DSMF ¶¶ 25-26. This evidence establishes a likelihood of Mr.

  Charron’s intent to intimidate Christopher Moss and Mr. Pilvelait by causing them

  serious bodily injury.

         Second, Deputy Horning heard from Christopher Moss that Mr. Charron drove

  at Christopher Moss and Mr. Pilvelait with his plow in the air and struck Mr.

  Pilvelait’s car hood with the plow, causing the airbags to deploy and Christopher Moss

  to hit his head.       See DSMF ¶¶ 10-12.             Deputy Horning took photographs of

  Christopher Moss’ alleged injuries. See DSMF ¶¶ 19-20. Christopher Moss also told

  Deputy Horning that Mr. Charron then pushed Mr. Pilvelait’s car with the plow into

  a snowbank. See DSMF ¶ 13; PSAMF ¶ 140. Deputy Horning heard from Walter

  Moss that he saw the Sunfire after it had been pushed. See DSMF ¶ 27. Deputy

  Horning herself saw the Sunfire front first in a snowbank with extensive damage and

  deployed airbags, vehicle parts and markings on the road, and a plow truck in Mr.

  Charron’s driveway. See PSAMF ¶ 141; DSMF ¶¶ 32-36. This information is enough

  to establish the likelihood that Mr. Charron engaged in conduct that created a

  substantial risk of serious bodily injury to Christopher Moss and Mr. Pilvelait.

         Turning to criminal threatening, 105 the information Deputy Horning knew at

  the time of Mr. Charron’s arrest supports a reasonable person finding probable cause


  105      Mr. Charron suggests that he was not charged with criminal threatening on the night of March
  8. See PRDSMF ¶ 45. Whether Deputy Horning later charged Mr. Charron with criminal threatening
  is irrelevant to the determination of whether she had probable cause to conclude that Mr. Charron
  committed the crime of criminal threatening.

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  to arrest based on this crime. First, the same information that supports terroristic

  intent, described above, supports the conclusion that Mr. Charron intended his

  actions to place Christopher Moss and Mr. Pilvelait in fear of imminent bodily injury.

  The evidence about the collision also shows likelihood of knowledge because a

  reasonable person would know that driving a plow truck into a car with passengers

  would cause those passengers to fear imminent bodily injury. Second, a reasonable

  person in Deputy Horning’s position could conclude that Christopher Moss actually

  did fear imminent bodily injury because he told Deputy Horning that night that he

  feared for his life, see DSMF ¶¶ 14, 18, and it would be objectively reasonable to fear

  imminent bodily injury before being hit by a plow truck.

        Mr. Charron argues that Deputy Horning had no probable cause to arrest Mr.

  Charron by drawing parallels between the present case and B.C.R. Transport. Pl.’s

  Opp’n at 7. In B.C.R. Transport, the First Circuit addressed an officer’s appeal of a

  jury verdict against him that found he acted without probable cause in obtaining

  search and arrest warrants against the plaintiffs. 727 F.2d at 8-9. The officer claimed

  that because he relied on the statements of a complainant-victim in obtaining the

  warrant, “probable cause to search, seize or arrest exists per se.” Id. at 9-10. The

  First Circuit rejected the officer’s per se rule, noting that even though an officer may

  have been acting on information provided by the alleged victim of a crime, “this fact

  did not preclude the jury from finding that probable cause did not exist in this case.”

  Id. at 10. The obverse of this principle, urged by Mr. Charron, does not follow: It is

  not true that because an officer relies on the statements of a complainant-victim in



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  making her probable cause determination, it must mean that she per se acted without

  probable cause. As discussed above, in United States v. Barbosa, the First Circuit

  wrote that “probable cause determinations predicated on information furnished by a

  victim are generally considered to be reliable.”             896 F.3d at 70 (quoting B.C.R.

  Transp., 727 F.2d at 10).

          Regardless, the facts here do not raise the same concerns as those in B.C.R.

  Transport that rebutted the general reliability of victim information. 106 In B.C.R.

  Transport, there was evidence that the complainant-victim was not acting rationally.

  The First Circuit described the complainant-victim as “yelling obscenities and

  repeating incoherent phrases” to the point where the officer wondered if the

  complainant-victim was affected by “some kind of mind-altering substance.” 727 F.2d

  at 9.

          Mr. Charron’s argument that Christopher Moss’ oral statement was unreliable

  because he was drunk, id., is unconvincing. Intoxicated people can be victims of a

  crime just as sober people can be. It is true that Deputy Horning said she “could see

  and smell that [Christopher Moss] had been drinking,” see PSAMF ¶ 133, but she did

  not say he seemed intoxicated. There is no evidence that Deputy Horning was aware

  at the time of the arrest of Walter Moss’ earlier impression that Christopher Moss

  was “drunk,” see PSAMF ¶ 113, if heard correctly by Mr. Lemay. Even if he was

  intoxicated, other witnesses and physical evidence corroborated his allegations, as


  106    Mr. Charron also argues that B.C.R. Transport places Christopher Moss in a different position
  for Deputy Horning’s probable cause determination because Christopher Moss was initially considered
  a suspect. Pl.’s Opp’n at 9-10. But the First Circuit does not mention that the complainant-victim in
  B.C.R. Transport was considered a suspect.

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  described above. Moreover, there is no evidence that he was disoriented or ranting

  in a way that confused his narrative, as in B.C.R. Transport. See 727 F.2d at 10.

  Since information gathered from a victim is normally “sufficiently reliable to support

  a finding of probable cause,” Holder, 585 F.3d at 505, and Mr. Charron has not

  demonstrated why it should not be here, the Court will not discount the evidence from

  Christopher Moss’ oral statement on this ground.

        Mr. Charron’s further contention that his statements at the time of his arrest

  obviated probable cause because Deputy Horning did not consider conflicting

  information from Mr. Charron or the physical evidence, see Pl.’s Opp’n at 9-10, also

  fails. While the Court does not view all the information Mr. Charron describes as

  necessarily conflicting with the view taken at the scene by Deputy Horning, this

  question need not be resolved because the First Circuit has clearly held that police

  officers do not need to credit a suspect’s “story” before making a probable cause

  determination, Cox, 391 F.3d at 32 n.2, and that an officer need not “investigate fully”

  before determining probable cause. Acosta, 386 F.3d at 11. Thus, that Mr. Charron’s

  statement of innocence, see PSAMF ¶ 188, and the existence of other information

  could be viewed in different ways or could lead to a different result does not invalidate

  the probable cause determination.

        Finally, Mr. Charron’s statement that “there was no determination of probable

  cause by any of the deputies” is both inaccurate, see DSMF ¶ 48, and irrelevant

  because the probable cause standard is objective. See Acosta, 386 F.3d at 9. On a

  related note, the claims against the three deputies other than Deputy Horning



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  necessarily fail because Deputy Horning alone made the probable cause

  determination. See DSMF ¶ 48. 107

                                 ii.     Issue of Law vs. Issue of Fact

         In support of his position, Mr. Charron quotes the First Circuit in B.C.R.

  Transport as stating that “whether or not probable cause exists in any given case

  invariably depends on the particular facts and circumstances of that case, a question

  to be resolved by the trier of fact.” Pl.’s Opp’n at 7 (quoting B.C.R. Transp., 727 F.2d

  at 10). Taken to an extreme, this language would mean that a civil action against a

  police officer alleging a lack of probable cause would always have to be decided by a

  jury. Since B.C.R. Transport, however, the First Circuit has explained that “when

  the underlying facts claimed to support probable cause are not in dispute, whether

  those ‘raw facts’ constitute probable cause is an issue of law” for the court to decide.

  Holder, 585 F.3d at 504 (quoting Bolton v. Taylor, 367 F.3d 5, 8 (1st. Cir. 2004)); see

  also Acosta, 386 F.3d at 8-9 (explaining that the language in Bolton is more relevant

  to probable cause determinations than the First Circuit’s ruling in B.C.R. Transport).

         In contrast, when “these facts are in reasonable dispute, the fact-finder must

  resolve the dispute.” Holder, 585 F.3d at 504. The First Circuit has held that “what

  the police knew at the moment of the arrest, the source of their knowledge, and the

  leads that they pursued or eschewed” are material facts that, if not in dispute,

  ordinarily make the probable cause to arrest question “amenable to summary



  107    As regards the use of a suspect’s silence to establish probable cause, an issue not raised by Mr.
  Charron, see United States v. Zarauskas, 814 F.3d 509, 515-16 (1st Cir. 2016) (citing Salinas v. Texas,
  570 U.S. 178, 182-83, 191 (2013)).

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  judgment.” Acosta, 386 F.3d at 9. The First Circuit in Acosta also limited its holding

  in B.C.R. Transport that “the issue of probable cause was for the jury” due to the

  particular facts and circumstances of the case, calling the holding “the exception, not

  the rule.” Id. at 8-9. Here, since none of the material facts is in dispute, the question

  of probable cause is “amenable to summary judgment.” Acosta, 286 F.3d at 9.

                      b.     Malicious Prosecution Claim

        Mr. Charron claims that the four deputies violated his Fourth Amendment

  rights under a malicious prosecution theory because his conditions of release

  constituted a seizure. Pl.’s Opp’n at 13-15; Additional Attachs. at 68 (ECF No. 67).

  For a plaintiff to bring a suit under section 1983 to redress “malicious prosecution,”

  under the Fourth Amendment, the plaintiff must establish that “the defendant (1)

  caused (2) a seizure of the plaintiff pursuant to legal process unsupported by probable

  cause, and (3) criminal proceedings terminated in plaintiff's favor.” Hernandez-

  Cuevas, 723 F.3d at 101 (quoting Evans v. Chalmers, 703 F.3d 636, 647 (4th Cir.

  2012)). When a plaintiff was arrested without a warrant, he must show “some post-

  arraignment deprivation of liberty, caused by the application of legal process, that

  approximates a Fourth Amendment seizure.” Nieves, 241 F.3d at 54.

        Here, the four deputies arrested Mr. Charron without a warrant and he was

  held in York County Jail for fourteen hours. Pl.’s Opp’n at 14 (citing PRDSMF ¶ 54).

  He was not held in custody again after this fourteen-hour period. DSMF ¶ 52. Mr.

  Charron’s initial appearance happened over a month later, on April 25, DSMF ¶ 54,




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  so his arrest and detention cannot constitute a Fourth Amendment seizure because

  they were not post-arraignment. See Nieves, 241 F.3d at 54.

        Mr. Charron was released on $3000 cash bail with conditions that included no

  use or possession of alcohol or weapons, the surrender of his firearms, and submission

  to searches of his person, vehicle, and residence “at any time without articulable

  suspicion or probable cause.” Pl.’s Opp’n at 14 (citing PRDSMF ¶ 52). The Court

  turns to whether these post-arrest conditions of release constituted a Fourth

  Amendment seizure.

        A Fourth Amendment seizure occurs “[o]nly when the officer, by means of

  physical force or show of authority, has in some way restrained the liberty of a

  citizen . . ..” Terry v. Ohio, 392 U.S. 1, 19 n.16 (1968). “[R]un-of-the-mill conditions

  of pretrial release,” such as orders to appear before the court, “do not fit comfortably

  within the recognized parameters of the term.” Nieves, 241 F.3d at 55. The First

  Circuit has found conditions requiring the plaintiff to notify the court of a change of

  address, refrain from committing crimes, and forebear from consuming either

  controlled substances or excessive quantities of alcohol, as well as loss of employment,

  reputational harm, and stress resulting from pending criminal charges, to fall within

  the category of “run-of-the-mill conditions.” Harrington, 610 F.3d at 32. The District

  of Maine has also held that having to hire a defense attorney is not enough to

  establish a malicious prosecution claim under the Fourth Amendment. Wellines,

  1999 WL 33117076, at *4. The First Circuit recently declined to consider whether

  other conditions constitute a seizure for this purpose.       See Jordan v. Town of



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  Waldoboro, 943 F.3d 532, 551 n.10 (1st Cir. 2019) (Barron, J., concurring) (“I also do

  not address whether the seizure that grounds this claim ended upon Jordan’s release

  on bail or instead only upon the termination of certain bail conditions that restricted

  his liberty”).

         As Mr. Charron points out, Pl.’s Opp’n at 14, other circuits have found that

  certain “restrictive conditions of release,” such as mandatory court appearances,

  reporting requirements, restrictions on travel, provision of financial and identifying

  information, and bond amounts, can constitute a seizure. See Murphy, 118 F.3d at

  946 (holding that imposing a condition not to leave the state and requiring eight court

  appearances during the year constituted a seizure); see also Evans, 168 F.3d at 861,

  abrogated on other grounds by Castellano v. Fragozo, 352 F.3d 939 (5th Cir. 2003)

  (holding that a “summons to appear in court, coupled with the requirements that [the

  plaintiff] obtain permission before leaving the state, report regularly to pretrial

  services, sign a personal recognizance bond, and provide federal officers with

  financial and identifying information,” constituted a seizure); Gallo, 161 F.3d at 222-

  25 (holding that conditions including mandatory court appearances and restricted

  travel constituted a seizure and placing special emphasis on the temporary seizure

  during a mandatory court appearance).

         For this determination, whether Mr. Charron’s release conditions constitute a

  seizure or whether the criminal proceedings terminated in Mr. Charron’s favor is

  immaterial because, as discussed above, the deputies had probable cause to arrest

  Mr. Charron.     Nonetheless, Mr. Charron cites no First Circuit authority that



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  considers the conditions of release to which he was subjected to constitute a seizure

  for a malicious prosecution claim.

        Moreover, only two of Mr. Charron’s conditions were discussed by the other

  circuits he cites. First, in Gallo, the Third Circuit mentioned that the plaintiff had

  to pay a $10,000 personal recognizance bond, but it did not focus on the bond when

  deciding a seizure had occurred. 161 F.3d at 222. Second, all three sister circuit

  decisions cited by Mr. Charron determined that mandatory court appearances, at

  least when coupled with other restrictions, constituted a seizure. In Nieves, the First

  Circuit held that “the view that an obligation to appear in court to face criminal

  charges constitutes a Fourth Amendment seizure is not the law.” 241 F.3d at 55. As

  Mr. Charron provides no authority from any circuit suggesting that Mr. Charron’s

  other specific conditions of release should constitute a seizure, the cases from the

  other circuits are not persuasive. Even if there were no probable cause, Mr. Charron’s

  argument would fail because his view of what constitutes a seizure is unsupported by

  First Circuit law.

               2.      Due Process Violation: Failure to Disclose or Preserve
                       Evidence Claim

        Mr. Charron claims that the four deputies violated his due process rights by

  failing to disclose and preserve evidence and actively concealing evidence, resulting

  in a deprivation of his liberty through his conditions of release without due process of

  law. Pl.’s Opp’n at 15-16. He states the exculpatory evidence at issue consists of the

  digital and measurement photos of the Sunfire and the Sunfire itself. Id. at 16.




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        “The due process guarantees of the Fourteenth Amendment forbid the State

  itself from depriving a person of life, liberty, or property, without due process of laws.”

  Rivera v. Rhode Island, 402 F.3d 27, 33 (1st Cir. 2005). “In order to establish a

  substantive due process claim, the plaintiff must first show a deprivation of a

  protected interest in life, liberty, or property.” Id. at 33-34. “Second, the plaintiff

  must show that the deprivation of this protected right was caused by governmental

  conduct.” Id. at 34.

        Mr. Charron’s claim fails on the first prong of this test. For the reasons

  discussed above, the Court declines to hold that Mr. Charron’s conditions of release

  deprived him of a protected liberty interest. See Nieves, 241 F.3d at 55; see also

  Terry, 392 U.S. at 19 n.16 (requiring restraint on liberty for a Fourth Amendment

  seizure). Since Mr. Charron bases his claim on a deprivation of liberty due to these

  conditions, see Pl.’s Opp’n at 15-16, his due process violation claim is not viable.

        Mr. Charron’s own argument separately suggests there was no deprivation of

  liberty regarding any failure to disclose. He quotes the Seventh Circuit in Armstrong:

  “Though the most common liberty deprivation cases are based on post-trial

  incarceration after a wrongful conviction, the essential elements of this constitutional

  claim are more general and not limited to wrongful convictions.” 786 F.3d at 551. In

  Armstrong, however, the Seventh Circuit distinguished the case—in which a

  prosecutor and state laboratory technicians destroyed evidence of a semen stain that

  did not match the defendant in a rape case—from cases in which the defendants

  violated Brady v. Maryland, 373 U.S. 83 (1963), in failing to disclose evidence.



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  Armstrong, 786 F.3d at 535, 551.        In the latter situation, the Seventh Circuit

  explained, “Brady does not require pretrial disclosure,” id. at 552 (quoting United

  States v. Grintjes, 237 F.3d 876, 880 (7th Cir. 2001); Buckley v. Fitzsimmons, 20 F.3d

  789, 797 (7th Cir.1994)), because “the constitutional violation is not even ripe if the

  prosecution can still meet its Brady obligation by disclosing the evidence in time for

  the defendant to use it.” Id.    Since the present case involves a failure to disclose

  claim and the prosecutor dismissed the criminal charges before trial, Mr. Charron’s

  due process violation claim based on the failure to disclose is not ripe.

        Mr. Charron also refers to his claim as a “failure to preserve” claim. Pl.’s Opp’n

  at 15. He contends that this failure to preserve evidence claim involves an extra

  element: that the defendant “destroyed exculpatory evidence in bad faith or engaged

  in other misconduct . . ..” Pl.’s Opp’n at 16 (quoting Armstrong, 786 F.3d at 551). Mr.

  Charron does not explain what exactly the County Defendants failed to preserve. Id.

  at 15-16. Viewing the evidence in the light most favorable to Mr. Charron, the County

  Defendants did not fail to preserve the digital and measurement photographs because

  they are present in the record. See DSMF ¶¶ 37-38; PSAMF ¶ 170.

        The Court assumes Mr. Charron is referring to the Sunfire itself. The Court

  is unclear how Mr. Charron can satisfy the added element since the County

  Defendants did not destroy the Sunfire. The record in this case does not establish

  that any of the deputies other than Deputy Horning were involved in the removal and

  storage of the Sunfire.




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          Deputy Horning’s involvement is minimal at best.                       The record does not

  establish that Deputy Horning selected Rankin Towing to tow the Sunfire or told

  Rankin Towing where to take the Sunfire. Upon request from a superior, Deputy

  Horning contacted Mr. Pilvelait, who told her that he did not want to pay the storage

  fees and had sold the Sunfire to the junkyard for salvage. DRPSAMF ¶ 165. Deputy

  Horning relayed this information through Court Officer Vachon 108 to ADA Myska.

  PSAMF ¶ 165. Deputy Horning’s only other involvement appears to be her belief,

  along with Sheriff King, that when Mr. Charron went onto Mr. Rankin’s property to

  search for the Sunfire, he was trespassing when he discovered it. PSAMF ¶ 169;

  DRPSAMF ¶ 169; PRDRPSAMF ¶ 169. Regardless of her belief, there is no evidence

  in this record that Deputy Horning took any actions to pursue a trespass charge

  against Mr. Charron. Even viewed in the light most favorable to Mr. Charron, Deputy

  Horning’s actions do not constitute “other misconduct.” If there was no destruction

  or other misconduct, it follows that there is no causation. For these reasons, Mr.

  Charron’s failure to disclose or preserve evidence claim is not viable.

          B.      Qualified Immunity

          Mr. Charron argues that qualified immunity does not protect the County

  Defendants from any of his claims. Pl.’s Opp’n at 12-13, 17. The County Defendants,

  on the other hand, argue that qualified immunity protects them against all of Mr.

  Charron’s constitutional claims. Defs.’ Mot. at 11-14.


  108      In his response, Mr. Charron clarifies that his claim against Court Officer Vachon is limited
  to the state law tort claim of malicious prosecution. Pl.’s Opp’n at 19 (“[Mr.] Charron’s [state] malicious
  prosecution claim is also asserted against the court officer, Wilfred Vachon”). Mr. Charron is not
  claiming that Court Officer Vachon played a role in the law enforcement investigation or his arrest.

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         “[T]he qualified immunity inquiry is a two-part test. A court must decide: (1)

   whether the facts alleged or shown by the plaintiff make out a violation of a

   constitutional right; and (2) if so, whether the right was ‘clearly established’ at the

   time of the defendant's alleged violation.” Maldonado v. Fontanes, 568 F.3d 263, 268-

   69 (1st Cir. 2009) (citing Pearson v. Callahan, 555 U.S. 223, 232 (2009)). “[T]he

   second, ‘clearly established’ step of the qualified immunity analysis . . ., in turn, has

   two aspects.” Id. at 269. First, “[t]he contours of the right must be sufficiently clear

   that a reasonable official would understand that what he is doing violates that right,”

   id. (alteration in original) (quoting Anderson v. Creighton, 483 U.S. 635, 640 (1987));

   second, the Court must ask “whether a reasonable defendant would have understood

   that his conduct violated the plaintiff[’s] constitutional rights.” Id. The Supreme

   Court has instructed that “this inquiry ‘must be undertaken in light of the specific

   context of the case, not as a broad general proposition.’” Brosseau, 543 U.S. at 198

   (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001), overruled on other grounds by

   Pearson, 555 U.S. 223). The First Circuit has held that “[w]hen a defendant moves

   for summary judgment on the basis of qualified immunity, it is the plaintiff’s burden

   to demonstrate the infringement of a federally assured right.” Quintero de Quintero,

   974 F.2d at 228.

         Since Mr. Charron has not stated any viable violations of his constitutional

   rights, he has not met the first prong of the test. Even if Deputy Horning made a

   mistake in determining that there was probable cause to arrest Mr. Charron, Mr.

   Charron has not pointed to any caselaw clearly establishing that finding probable



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   cause based on a victim’s statements corroborated by other witnesses and some

   physical evidence is actionable.    Mr. Charron points to B.C.R. Transport in his

   reasoning, stating that the First Circuit there found enough evidence of bad faith to

   make the qualified immunity inquiry a jury question because the officer contacted

   gypsy truck drivers for corroboration without exhausting readily available first-hand

   sources (including the alleged victim’s wife) and “‘saw fit to embellish’ with a

   ‘gratuitous statement’ that the alleged victim seemed ‘to be an upstanding citizen.’”

   Pl.’s Opp’n at 12-13 (quoting B.C.R. Transp., 727 F.2d at 10-11). He equates those

   facts to the present case, in which the four deputies “tried unsuccessfully to make

   contact with [Mr. Pilvelait]” and “showed no interest in what [Mr.] Charron had to

   say or in the exculpatory evidence in front of them,” and in which Deputy Horning

   used the word “irrelevant” to describe evidence that Mr. Charron alleges contradicted

   Christopher Moss’ allegations. Id. at 13; see DSMF ¶ 39; PSAMF ¶¶ 136, 143, 188.

         The Court does not see how trying to contact a witness shows bad faith.

   Further, as stated above, officers need not credit what a suspect says at the time of

   his arrest, see Cox, 391 F.3d at 32 n.2, or take a particular view of evidence that may

   lead to multiple conclusions. See Acosta, 386 F.3d at 11. None of these reasons

   provides evidence of bad faith or gives reason for Deputy Horning to understand that

   she was violating Mr. Charron’s rights.

         Mr. Charron does not address why qualified immunity does not apply to the

   malicious prosecution claim beyond the reasons it should apply to the arrest without

   probable cause claim. Thus, for the same reasons, the Court determines that the



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   qualified immunity analysis as applied to the malicious prosecution claim fails on

   both prongs.

          Concerning the failure to disclose or preserve evidence claim, Mr. Charron

   again does not provide any caselaw showing that Deputy Horning’s decision not to

   take the Sunfire into evidence and her inability to find the Sunfire later violated

   clearly-established law. He cites the logic in Armstrong, a Seventh Circuit case, to

   show that the four deputies’ conduct violated a clearly established constitutional right

   because “[n]o reasonable police officer ‘could have believed in 1980 that if he

   possessed exculpatory evidence, he had an obligation to disclose it . . . unless he

   deliberately destroyed it first.’” Pl.’s Opp’n at 17 (quoting Armstrong, 786 F.3d at

   550). This reference misses the mark for two reasons. First, the holding in Armstrong

   applied to a prosecutor defendant, not a police officer. See Armstrong, 786 F.3d at

   535.   Second, failing to preserve a car is markedly different than intentionally

   destroying evidence of a semen stain in a rape case. See id. Since the burden is on

   Mr. Charron to demonstrate the infringement, see Quintero de Quintero, 974 F.2d at

   228, and “this inquiry must be taken in light of the specific context of the case, not as

   a broad proposition,” Brosseau, 543 U.S. at 198, this claim also does not meet either

   prong of the qualified immunity test.

          C.      Governmental Liability Against York County and Supervisory
                  Liability Against Sheriff King

          Mr. Charron argues that York County and Sheriff King “are responsible for

   underlying constitutional violations in their own right” and thus are liable for the




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   violations of Mr. Charron’s constitutional rights under governmental liability and

   supervisory liability respectively. Pl.’s Opp’n at 17-19.

         To hold a governmental entity liable under section 1983, there must be an

   “underlying, identifiable constitutional violation[] attributable to official municipal

   policy . . ..” Kennedy, 617 F.3d at 531. An action by an employee (1) must be pursuant

   to an official policy and (2) must have “caused [the] constitutional tort.” Id. at 531-

   32 (emphasis omitted) (quoting Monell, 436 U.S. at 691).

         “Notice is a salient consideration in determining the existence of supervisory

   liability,” but “supervisory liability does not require a showing that the supervisor

   had actual knowledge of the offending behavior; [the supervisor] ‘may be liable for

   the foreseeable consequences of such conduct if he would have known of it but for his

   deliberate indifference or willful blindness.’”      Camilo-Robles, 151 F.3d at 7

   (quoting Maldonado-Denis v. Castillo–Rodriguez, 23 F.3d 576, 582 (1st Cir.1994)).

   The deliberate indifference standard has three elements: “(1) a grave risk of harm,

   (2) the defendant's actual or constructive knowledge of that risk, and (3) his failure

   to take easily available measures to address the risk.” Id. (citing Manarite v. City of

   Springfield, 957 F.2d 953, 956 (1st Cir.1992)).

         Supervisory liability can arise under section 1983 if the supervisor (1) is the

   “primary violator” or “direct participant in the rights-violating incident” or (2)

   “supervises, trains, or hires a subordinate with deliberate indifference toward the

   possibility that deficient performance of the task eventually may contribute to a civil




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   rights deprivation.” Sanchez, 590 F.3d at 49 (quoting Camilo-Robles, 175 F.3d at 44).

   The second method mirrors the elements for governmental liability.

         Mr. Charron specifically alleges that York County exhibited deliberate

   indifference in not reviewing allegations of misconduct or sharing them with Sheriff

   King unless there was an employee grievance. Pl.’s Opp’n at 18. He contends the

   harm of this policy is that “no correction or remedial action that would otherwise

   occur can occur.” Id. He does not elaborate further on the “grave risk of harm” and

   does not address whether York County had actual or constructive knowledge of that

   risk. The Court assumes that Mr. Charron intends to argue that reviewing all

   allegations of misconduct and sharing them with Sheriff King are easily available

   remedial measures, but Mr. Charron does not assert this argument himself or explain

   why these measures are easy. Mr. Charron has not met the burden of showing

   deliberate indifference here. For this reason, because York County’s employees did

   not commit an underlying constitutional violation, and because Mr. Charron’s

   interpretations of various policies are inaccurate, see Dep. of Zinser at 13:02-05,

   42:17-21; PSAMF ¶¶ 178, 180, 182, Mr. Charron does not establish governmental

   liability for York County.

         Mr. Charron also alleges that Sheriff King demonstrated deliberate

   indifference through a policy of “non-supervision, leaving his subordinates free to

   conduct themselves as they see fit—indeed, as they did in this case—without training

   or corrective action.” Pl.’s Opp’n at 18. He considers Deputy Horning’s decision not

   to take the Sunfire into evidence as pursuant to this policy and puts forward the grave



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   risk of losing exculpatory evidence. Id. As before, Mr. Charron leaves for the Court

   to guess how much Sheriff King knew about the risk and what remedial measures he

   could have taken. Even after viewing the contested facts in the light most favorable

   to Mr. Charron, his vague claim of deliberate indifference does not survive analysis,

   and the Court cannot fill in the gaps.       For this reason, because Sheriff King’s

   employees did not commit an underlying constitutional violation, and because the

   policies Mr. Charron alleges exist are inaccurate, see PSAMF ¶¶ 185-86, Mr. Charron

   does not establish supervisory liability for Sheriff King.

         D.     State Law Tort Claims

         Mr. Charron asserts four state law tort claims: false arrest, false

   imprisonment, malicious prosecution, and defamation. Pl.’s Opp’n at 19. In order to

   survive summary judgment, a plaintiff must “make a showing sufficient to establish

   the existence of an element essential to that party's case, and on which that party

   will bear the burden of proof at trial.” Noveletsky, 2013 WL 2945058, at *9 (quoting

   Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)). For the following reasons, the

   Court holds that none of these claims is viable.

                1.     False Arrest and False Imprisonment Claims

         Mr. Charron asserts false arrest and false imprisonment state law tort claims

   against the four deputies. Pl.’s Opp’n at 19. He does not explain the difference

   between these two claims and provides no caselaw to support a separate false arrest

   tort under Maine law, so the Court views the two claims together as a false

   imprisonment claim based on Mr. Charron’s arrest.



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            Under Maine law, false imprisonment “involves the unlawful detention or

   restraint of an individual against his will.” Nadeau, 395 A.2d at 116 (citing Palmer v.

   Me. Cent. R.R. Co., 92 Me. 399, 42 A. 800 (1899)). “To be actionable, the authority

   upon which the plaintiff is confined must be unlawful . . ..” Id. “The analysis of the

   state law [tort] claim[] of illegal arrest [also referred to as false imprisonment] . . . is

   the same as for the federal law claim[].” Blackstone, 309 F. Supp. 2d at 129 (quoting

   Richards v. Town of Eliot, 2001 ME 132, ¶ 31, 750 A.2d 281, 292). The federal false

   arrest claim requires the plaintiff to show “that an arresting officer lacked probable

   cause to believe that” the plaintiff had committed a crime. Jordan, 943 F.3d at 545.

          Both parties rely on their earlier arguments to establish the presence or

   absence of probable cause for Mr. Charron’s arrest. Defs.’ Mot. at 17-18; Pl.’s Opp’n

   at 19-21. For the reasons discussed above, the Court holds that probable cause

   existed and that Mr. Charron has not established an essential element of his false

   arrest and false imprisonment claims.

                 2.     Malicious Prosecution Claim

          Mr. Charron asserts a malicious prosecution state law tort claim against the

   four deputies and Court Officer Vachon. Pl.’s Opp’n at 19.

          Under Maine law, a plaintiff asserting a malicious prosecution claim must

   show by a preponderance of the evidence that: “(1) [t]he defendant initiated, procured

   or continued a criminal action without probable cause; (2) [t]he defendant acted with

   malice; and (3) [t]he plaintiff received a favorable termination of the proceedings.”

   Trask, 2002 ME 10, ¶ 11.



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         Both parties discuss only the presence or absence of probable cause, again

   relying on their earlier arguments. Defs.’ Mot. at 18; Pl.’s Opp’n at 19-20. Mr.

   Charron does not directly assert that there was an absence of probable cause in

   continuing the criminal action, so the Court’s earlier ruling on the probable cause to

   arrest is sufficient to determine that Mr. Charron has not established an essential

   element of the malicious prosecution claim. Regardless, Mr. Charron fails to meet

   his burden on the essential elements because he does not address the second and

   third elements of the tort at all.

                3.     Defamation Claim

         Mr. Charron asserts a defamation per se state law tort claim against Deputy

   Horning and Sheriff King concerning Sheriff King’s press release and a Facebook post

   about his arrest. Pl.’s Opp’n at 1, 21.

         Maine law has established four elements to a defamation claim: (1) “a false and

   defamatory statement concerning another”; (2) “an unprivileged publication to a third

   party”; (3) “fault amounting at least to negligence on the part of the publisher”; and

   (4) “either actionability of the statement irrespective of special harm or the existence

   of special harm caused by the publication.” Rice, 2002 ME 43, ¶ 19 (citing Lester v.

   Powers, 596 A.2d 65, 69 (Me. 1991)).         “Words that falsely charge a punishable

   offense . . . constitute slander per se.”   Rippett, 672 A.2d at 86 (citing Picard v.

   Brennan, 307 A.2d 833, 834 (Me. 1973)). “Recovery for slander per se requires no

   showing of special harm beyond the publication itself.”        Id. (citing Saunders v.

   VanPelt, 497 A.2d 1121, 1126 (Me. 1985)).



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         For the falsity requirement, if a statement describing a plaintiff’s arrest and

   indictment “accurately reflect[s] the nature of the case against the plaintiff,” then the

   statement is not false. Jordan, 2018 WL 4688724, at *24. However, “one who repeats

   a defamatory statement may be as liable as the original defamer” and cannot escape

   liability simply because the statement is an accurate repetition of the original

   statement. Franchini v. Bangor Publ’g Co., 383 F. Supp. 3d 50, 60 (D. Me. 2019)

   (quoting Pan Am. Sys. Inc. v. Atl. Ne. Rails & Ports, Inc., 804 F.3d 59, 64 (1st Cir.

   2015)).

         Sheriff King argues that he is entitled to summary judgment on the defamation

   claim because the “statements [in the press release and Facebook post] accurately

   reflect that Mr. Charron had been accused of using his plow truck to hit another

   vehicle and that he had been charged with crimes as a result.” Defs.’ Mot. at 18.

   Sheriff King quotes Jordan for the proposition that “quotations by law enforcement

   officers reported in the newspaper describing the allegations against a criminal

   defendant were not false because ‘they accurately reflected the nature of the case

   against the plaintiff, which was a matter of public interest.’” Id. at 18-19 (quoting

   Jordan, 2018 WL 4688724, at *24).

         Significantly, Mr. Charron does not claim that any of Sheriff King’s statements

   were false based on the information that Sheriff King had at the time. Pl.’s Opp’n at

   22. In fact, a comparison between Sheriff King’s statements and Deputy Horning’s

   incident report demonstrates that Sheriff King’s description of the events was




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   consistent with Deputy Horning’s description. Compare Horning Narrative at 1-2,

   with Dep. of King Exs. at 1.

          Instead, Mr. Charron alleges only that Sheriff King’s statements “omitted

   critical facts . . ..” 109 Pl.’s Opp’n at 22. As Mr. Charron correctly notes, id., under

   Maine law “there is no liability for a true statement,” but the Maine Supreme Judicial

   Court has allowed “true but incomplete statements to fulfill the falsity requirement,

   thus forming the basis for liability in a defamation action when those statements

   falsely impute criminal conduct to the plaintiff.” Schoff v. York Cty., 2000 ME 205,

   ¶ 10, 761 A.2d 869, 871. As the Maine Supreme Judicial Court noted, this type of

   defamation action is known as “implied defamation . . ..” Id. ¶ 11. Implicit in this

   subcategory of the law of defamation is that the publisher of the information “failed

   to tell the whole story . . ..” Id. ¶ 10. In other words, the publisher knew material

   facts but chose not to disclose them, resulting in a misleading impression. Id. ¶ 10.

          In Marston v. Newavom, for example, the defendants told others that the

   plaintiff had charged personal expenses to the company credit card without saying

   that this was an accepted practice so long as the employee promptly reimbursed the


   109     Mr. Charron lists ten omitted facts: (1) Christopher Moss’ mother called 911 to have her son
   removed, (2) Deputy Horning “could see and smell” that Christopher Moss had been drinking, (3) Mr.
   Charron complained twice to Walter Moss that Christopher Moss and Mr. Pilvelait were “laying rubber
   strips” in Mr. Charron’s driveway, (4) Walter Moss picked up his son from that location at Mr.
   Charron’s request, (5) Mr. Pilvelait was operating an unregistered motor vehicle and did not answer
   his door when the police arrived to interview him, consistent with OUI, (6) Mr. Charron sought out
   the deputies and told them that the Sunfire rear-ended his plow truck, (7) the Sunfire was found at
   the end of Langley Shores Drive, a third of a mile away from Mr. Pilvelait’s driveway, where it
   appeared to have driven into a snowbank, (8) the damage to the Sunfire was consistent with having
   rear-ended Mr. Charron’s plow truck and inconsistent with having been struck head-on as Christopher
   Moss alleged, (9) Christopher Moss’ and Mr. Pilvelait’s witness statements contradicted Christopher
   Moss’ oral account that the Sunfire was struck in Mr. Pilvelait’s driveway, and (10) the location and
   orientation of the Sunfire made Christopher Moss’ oral allegation “not only implausible, but
   impossible.” Pl.’s Opp’n at 22.

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   company. 629 A.2d 587, 589 (Me. 1993). Moreover, Memphis Publishing Co. v.

   Nichols, 569 S.W.2d 412 (Tenn. 1978), is described as “the quintessential modern case

   of defamation by implication . . ..” Toney v. WCCO Television, 85 F.3d 383, 387 (8th

   Cir. 1996). In Nichols, a newspaper truthfully reported that a woman, upon finding

   her husband at the plaintiff’s home, shot the plaintiff, but the article failed to mention

   that the plaintiff was hosting a social gathering at her home at the time, thereby

   implying that the plaintiff and the suspect’s husband were having an affair. 599

   S.W.2d at 414, 420. The defendant in Nichols knew or should have known from police

   reports at least some of the omitted facts that would have eliminated the implication

   of an affair. Id. at 414. But here there is no allegation that Sheriff King knew or in

   the exercise of reasonable care should have known the facts Mr. Charron claims he

   omitted.

         These omitted facts essentially reflect Mr. Charron’s view of the incident, his

   innocence, and the culpability of Christopher Moss and Mr. Pilvelait.           But Mr.

   Charron has failed to demonstrate that Sheriff King in his synoptic report to the

   public the day after the arrest knew or should have known what the whole story was

   and decided to publish only a “partial truth . . ..” Schoff, 2000 ME 205, ¶ 10. Sheriff

   King was not required to adopt the details of Mr. Charron’s later defense, especially

   since Mr. Charron had declined to speak to Deputy Horning and the Sheriff’s Office

   had not heard his side of the incident. Additionally, the Court notes that Sheriff King

   also omitted several facts that would have put Mr. Charron in a bad light, such as his

   high level of apparent intoxication and his alleged threat to kill both Christopher



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   Moss and Mr. Pilvelait. In other words, taking the King statement as a whole, the

   Court concludes that Mr. Charron fails to explain why it amounted either to

   defamation or implied defamation. Regarding Deputy Horning, Mr. Charron fails to

   establish that she published anything and that, to the extent she reviewed what

   Sheriff King published, the statements meet the elements of defamation or implied

   defamation.

         E.      Discretionary Function Immunity

         Mr. Charron concedes that the Maine Tort Claims Act provides immunity to

   York County against any state law tort claims because of the County’s status as a

   “government entity.”    Pl.’s Opp’n at 19.     He argues that the individual County

   Defendants are not immune.

         The Maine Tort Claims Act “applies a policy of broad liability to governmental

   employees, subject to the” enumerated exceptions. Carroll v. City of Portland, 1999

   ME 131, ¶ 6.    One such exception provides absolute immunity to employees of

   governmental entities “[p]erforming or failing to perform any discretionary function

   or duty, whether or not the discretion is abused . . ..” 14 M.R.S. § 8111(1)(C). The

   immunity applies to discretionary acts that are “reasonably encompassed by the

   duties of the governmental employee in action” and is available to “police officers who

   are required to exercise judgment or discretion in performing their official duties.”

   Carroll v. City of Portland, 1999 ME 131, ¶ 6. “[T]ort liability should not be imposed

   for conduct of a type for which the imposition of liability would substantially impair




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   the effective performance of a discretionary function.” Id. ¶ 6 n.4 (alteration in

   original) (quoting Grossman v. Richards, 1999 ME 9, ¶ 6, 722 A.2d 371, 373).

         When considering whether an act is discretionary, courts consider whether it

   “require[s] the exercise of basic policy evaluation, judgment, and expertise . . ..” Id.

   ¶ 7 (emphasis omitted). Making the decision to “effectuate a warrantless arrest” is a

   discretionary act. See, e.g., Hegarty v. Somerset Cty., 848 F. Supp. 257, 269 (D. Me.

   1994), aff’d in part, remanded in part on other grounds, 53 F.3d 1367 (1st Cir. 1995).

   The immunity protects police officers from civil liability for warrantless arrests even

   “in circumstances where the existence of probable cause is ambiguous.” Blackstone,

   309 F. Supp. 2d at 130 (holding that the use of excessive force during an arrest

   exceeded the scope of the officer’s discretion but the illegal arrest did not). Similarly,

   prosecution is generally viewed as discretionary, although a District of Maine court

   found an exception when officers “deliberately and unlawfully withheld clearly

   exculpatory information from prosecutors resulting in the continuation of criminal

   proceeding.” Trafton, 43 F. Supp. 2d at 61.

         Finally, in considering whether public statements constitute a discretionary

   function, courts should consider the four factors introduced in Darling v. Augusta

   Mental Health Institute, 535 A.2d 421, 426 (Me. 1987), including whether they are

   “essential to accomplish any basic governmental policy, program, or objective . . ..”

   Rippett, 672 A.2d at 88; see also Hilderbrand, 2011 ME 132, ¶ 12-22. The Maine

   Supreme Judicial Court requires “a strong link between the basic governmental

   objective and the means used to realize it.” Hilderbrand, 2011 ME 132, ¶ 14. It found



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   that a sheriff’s decision to “end cooperation with the [Maine Drug Enforcement

   Agency]” was “essential to the realization or accomplishment of [a] basic

   governmental objective of the department—transparency in governmental action.”

   Id.

         Mr. Charron’s position that the individual County Defendants do not have

   discretionary function immunity for his false arrest, false imprisonment, and

   malicious prosecution state law tort claims is unconvincing. Concerning the first two

   claims, even if probable cause were ambiguous here, which it was not, the decision to

   make a warrantless arrest falls under the protection of discretionary function

   immunity. See Blackstone, 309 F. Supp. 2d at 130. Mr. Charron’s attempt to parallel

   this case and the facts in Blackstone, where the officer used excessive force, is

   unpersuasive. Regarding the malicious prosecution claim, Mr. Charron did not argue

   why Deputy Horning’s actions in not recovering the Sunfire were deliberate, and they

   do not rise to the level of the facts in Trafton that overcame the general rule that

   prosecution is discretionary.

         Mr. Charron’s argument that Sheriff King’s public statements are closer to the

   situation in Rippett than that in Hilderbrand is similarly unconvincing. In Rippett,

   a sheriff’s office returned a firearm to Thomas Rippett, a convicted felon, and when

   the felon publicized this fact, the sheriff ordered an internal investigation. Rippett,

   672 A.2d at 84-85.     Detective Michael McAlevey conducted a cursory internal

   investigation and erroneously concluded that the deputy had handed the rifle over to

   Lola Rippett, the felon’s wife, not the felon. Id. at 85. Under public pressure to



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   explain why it had given a rifle to a felon, the sheriff insisted, contrary to office policy

   that prohibits the public revelation of the results of internal investigations, that

   Detective McAlevey participate in a public interview during which Detective

   McAlevey accused Lola Rippett of retrieving the firearm. Id. After the truth was

   revealed, Lola Rippett sued Detective McAlevey. Id.

          In Rippett, the Maine Supreme Judicial Court found no discretionary function

   immunity for public statements about the results of an internal investigation.

   Rejecting the defense of conditional immunity, the Rippett Court wrote:

          The evidence presented, that the York County Sheriff's Department
          policy prohibited public statements concerning             departmental
          investigations, is sufficient to sustain a finding that Detective
          McAlevey's statement was neither required nor permitted in the
          performance of his official duties. At the very least, a genuine issue of
          material fact exists as to whether Detective McAlevey enjoys a
          conditional privilege for his statement.

   Id. at 87. The Court turned to the issue of discretionary function immunity. Applying

   this same logic, the Law Court concluded:

          Detective McAlevey's investigation was a discretionary official act. His
          public statements concerning the results of that investigation, however,
          were not essential to accomplish any basic governmental policy,
          program, or objective and in fact violated a written policy of the York
          County Sheriff’s Department. His statements were not a discretionary
          function of his governmental employment, and the Maine Tort Claims
          Act thus does not shield Detective McAlevey from liability for publishing
          defamatory statements concerning Lola Rippett.

   Id. at 88.

          While Mr. Charron asserts that the case for discretionary function immunity

   was stronger in Rippett than here “given the internal impropriety that was being

   investigated there,” Pl.’s Opp’n at 23, the Court does not interpret Rippett as saying

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   that the revelation of the results of the internal investigation was discretionary. To

   the contrary, the Rippett Court concluded that in part because the revelation broke

   the Sheriff’s Office’s own rules against disclosure of the results of internal

   investigations, the revelation fell outside the discretionary function protections of the

   Maine Tort Claims Act.

         Here, by contrast, Sheriff King’s decision to post the information was

   consistent with his discretionary decision to make such posts in an effort to keep the

   public informed of the activities of the York County Sheriff’s Office in performing its

   law enforcement duties. Thus, Sheriff King’s posts were consistent with the exercise

   of his discretion within the scope of his office, whereas Detective McAlevey had

   violated the policies of the Sheriff’s Office and therefore stepped out from the

   discretionary function protection. This case, in the Court’s view, is much more like

   Hildebrand, where the Law Court found “a strong link between the basic

   governmental objective”—transparency—“and the means used to realize it.”

   Hilderbrand, 2011 ME 132, ¶ 14.

         F.     Punitive Damages

         Mr. Charron contends that the individual County Defendants are exposed to

   punitive damages for all his state law tort claims. Pl.’s Opp’n at 23. The short answer

   is that under Maine law, punitive damages are not a separate and distinct cause of

   action but a remedy. South Port Marine, LLC v. Gulf Oil Ltd. P’ship, 234 F.3d 58, 64

   (1st Cir. 2000); Redmond v. Yachting Solutions, LLC, No. 2:17-cv-292-GZS, 2018 WL

   1075030, at *2 (D. Me. Feb. 27, 2018). Once Mr. Charron’s underlying causes of



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   actions are found not to be viable, his claim for punitive damages, which is a remedy

   for those claims, must also be non-viable.

         G.     Summary

                1.    An Overview

         Late in the evening of March 8, 2016, Deputy Horning was called to a chaotic

   and volatile situation in Acton, Maine. She first responded to a call from a woman

   who wanted her son removed from her home. About the same time, she was advised

   by the dispatcher that an anonymous caller had complained of someone peeling car

   tires, yelling, and making threats in the same general area. Deputy Horning’s view

   of what happened was likely anchored by Christopher Moss’ description of a wild

   encounter with John Charron, stemming from a feud about vehicle sales and stolen

   tires. As Christopher Moss related it, Mr. Charron was the aggressor, coming to Eric

   Pilvelait’s driveway, peeling his tires, and yelling threats. Christopher Moss then

   claimed that Mr. Charron came at Mr. Pilvelait’s car with his snowplow up and struck

   the Sunfire, driving it down the road and into a snowbank. Christopher Moss said he

   thought Mr. Charron was capable of killing them and that he was in fear of his life.

         When Deputy Horning spoke with Walter Moss, Christopher Moss’ father, his

   account differed in that he said Mr. Charron had called him to complain that Mr.

   Pilvelait with Christopher Moss were peeling tires in front of Mr. Charron’s house.

   Significantly, however, Walter Moss said that Mr. Charron told him someone was

   going to get hurt and he was going to take them into the ditch. When Deputy Horning

   came to the scene of the incident, she found evidence generally consistent with what



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   Walter and Christopher Moss had related: vehicle debris on the road and the Sunfire

   in a snowbank. She took photographs of the scene to document what she had found.

   She tried to speak with Mr. Pilvelait, but no one answered the door.

          Her first contact with Mr. Charron was to hear him yelling at her fellow

   deputies. 110 As she approached him, she could see that he was intoxicated. Mr.

   Charron’s belligerence and intoxication were consistent with the Moss’ contention

   that he was the aggressor. As she placed him under arrest, he told her that she was

   arresting an innocent man. 111 Even though Mr. Charron was not required to speak

   with Deputy Horning, his decision not to do so at the jail left her with only the Moss’

   version of the incident.

          Police work of this sort is not an exact science. Once Mr. Charron told his side

   of the story, once the damage to the Sunfire was compared to design of the plow, once

   all the facts were shifted in the light of day and the sober reflection of the

   participants, based on the record before the Court, Mr. Charron’s version of these

   events is correct and Mr. Pilvelait and Christopher Moss were the aggressors, causing

   their own problems. It is true that Deputy Horning could have arrested no one, given

   the participants time to sober up, warned them not to contact each other, and allowed

   the civil justice system to ferret out the facts. It is also unarguable that Deputy

   Horning could have credited the evidence differently and reached a different



   110      Deputy Horning’s report indicates that Mr. Charron was swearing at the deputies, but this
   fact is not in the summary judgment record. See Horning Narrative at 2.
   111      Deputy Horning’s report also states that on his way to the police station, Mr. Charron said he
   would “[k]nock their fucking heads off” and that “[t]hose kids are fucking with me.” Horning Narrative
   at 2. Again, this is not in the summary judgment record, and it took place after Deputy Horning
   arrested him. Id.

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   conclusion regarding Mr. Charron’s actions that night. But the situation was volatile.

   People were angry and had been drinking. Threats had been made. Thus, the Court

   views Deputy Horning’s decision to arrest Mr. Charron in light of law enforcement’s

   overriding obligation to maintain the peace.       Under the law, her discretionary

   decision cannot form the basis for the imposition of civil liability against Deputy

   Horning or the other deputies.

         Perhaps it should. As it turns out, based on the record before the Court, Mr.

   Charron was the victim, not the perpetrator of the crimes.          Mr. Pilvelait and

   Christopher Moss, both under the influence of alcohol, had harassed him about a

   feud, screeched tires in his driveway, yelled hostilities at him, rammed his truck from

   behind, approached him to assault him, driven their car off the road into a snowbank

   only later to blame him, chased him into his house, and smashed the passenger

   window on his truck. Having endured a traumatic evening, Mr. Charron was then

   arrested for crimes he did not commit, was hauled off to the station, spent time in jail

   while being bailed, was indicted, and was vindicated when the prosecutor dismissed

   the charges.

         Giving full credit to Deputy Horning—and the difficulty she faced trying to

   make order out of chaos—it still seems a rather basic principle that law enforcement

   officers should not arrest and initiate charges against the victims of crime. In Irish

   v. Fowler, No. 1:15-cv-503-JAW, 2020 WL 535961 (D. Me. Feb. 3, 2020), the Court

   recently discussed its unease with the current state of qualified immunity law. Id. at

   *51 n.157. If the law recognized, for example, that even good deputies are bound to



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   make mistakes and those mistakes can have untoward consequences for the persons

   arrested and accused of crimes they did not commit, and if the law applied a

   negligence standard and imposed liability on deputies’ employers for good faith

   mistakes of judgment, Mr. Charron would at least have his day in court. Nor, it would

   seem, would the public object to paying Mr. Charron, perhaps with restrictions on

   recovery, some amount for the damages he sustained as a result of good faith but

   erroneous actions by public officials. But as things currently stand, the law simply

   does not allow such cases to proceed past the summary stage.

         The Court has a slightly different take on Sheriff King’s decision to publicize

   Mr. Charron’s arrest. None of these events is private. The public has a right to know

   the workings of its law enforcement agencies and specifically whether someone has

   been arrested and why. Sheriff King had the right and perhaps the duty to inform

   the public of what the deputies in his office have done to enforce the law. In addition,

   if the Sheriff publicizes similar arrests and it emerges over time that his deputies

   have engaged in a pattern of arresting innocent people, the public will have learned

   valuable information about law enforcement, information that would be unavailable

   if nothing was said publicly. At the same time, a certain percentage of arrested

   defendants will in fact be innocent of the crimes with which they have been charged

   and by publicizing the charge before the investigation is complete, the Sheriff runs

   the risk that the reputations of some citizens will be besmirched by the public posts.

   Sheriff King, as the chief law enforcement officer of York County, must balance these




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   countervailing principles and the fact that he struck the balance in favor of

   immediate public disclosure does not provide the basis for a civil action.

                2.     Conclusion

         The Court concludes that, on the record before it, taking all inferences

   reasonably supported by that record in favor of the non-moving party, Mr. Charron

   has not established any genuine issues of material fact regarding his constitutional

   or state tort law claims. Further, he has not established any viable constitutional or

   state law tort claims. The Court also concludes that, even if any genuine issues of

   material fact existed as to any viable claims, qualified immunity protects the County

   Defendants from the constitutional claims and discretionary function immunity

   protects them from the state law tort claims. Moreover, the Court concludes that

   York County does not have governmental liability and Sheriff King does not have

   supervisory liability for any of the claims. Finally, the Court concludes that punitive

   damages are not available under these claims.

   VI.   CONCLUSION

         The Court GRANTS the County Defendants’ Motion for Summary Judgment

   (ECF No. 68).

         SO ORDERED.

                                           /s/ John A. Woodcock, Jr.
                                           JOHN A. WOODCOCK, JR.
                                           UNITED STATES DISTRICT JUDGE

   Dated this 14th day of April, 2020




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